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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

NATIONAL WILDLIFE FEDERATION,               )
                                            )
                   Plaintiff,               )
                                            )
      v.                                    )     Civil Action No. 1:19-cv-02416 (TSC)
                                            )
LOHR, et al.,                               )
                                            )
                   Defendants.              )
____________________________________________)



                  JOINT APPENDIX OF ADMINISTRATIVE RECORD

                                      VOLUME 1
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 U.S.D.A.                                       SCS-CPA-026           1. Name and Address of Person                                2. Date of Request
 Soil Conservation Service                              (June 91)


                                                                                                                                   3. County
     HIGHLY ERODIBLE LAND AND WETLAND
        CONSERVATION DETERMINATION
 1. Name of USDA Agency or Person Requesting Determination                                        4. Farm No. and Tract No.


                                                               SECTION I - HIGHLY ERODIBLE LAND
                                                                                                                                      FIELD NO.(s)         TOTAL ACRES
 6. Is soil survey now available for making a highly erodible land determination?     Yes MI            No •
 7. Are there highly erodible soil map units on this farm?      Yes •            No •
 8. List highly erodible fields that, according to ASCS records, were used to produce an agricultural commodity in any
   crop year during 1981-1985.
 9. List highly erodible fields that have been or will be converted for the production of agricultural commodities and,
   according to ASCS records, were not used for this purpose in any crop year during 1981-1985; and were not
   enrolled in a USDA set-aside or diversion program.
 10. This Highly Erodible Land determination was completed in the:           Office •         Field M
                                                                       SECTION II. WETLAND
                                                                                                                                      FIELD NO(s)       TOTAL ACRES
 11. Are there hydric soils on this farm?       Yes •               No •
12. Wetlands (W), including abandoned wetlands, or Farmed Wetlands (FW) or Farmed Wetlands Pasture (FWP).
    Wetlands may be farmed under natural conditions. Farmed Wetlands and Farmed Wetlands Pasture may be
    farmed and maintained in the same manner as they were prior to December 23, 1985, as long as they are not
    abandoned.
13. Prior Converted Cropland (PC). Wetlands that were converted prior to December 23, 1985. The use, management,
   drainage, and alteration of prior converted cropland (PC) are not subject to the wetland conservation provisions unless
   the area reverts to wetland as a result of abandonment.
14. Artificial Wetlands (AW). Artificial wetlands includes irrigation-induced wetlands. These wetlands are not subject
    to the wetland conservation provisions.
15. Minimal Effect Wetlands (MW). These wetlands are to be farmed according to the minimal-effect agreement signed
   at the time the minimal-effect determination was made.
16. Mitigation Wetlands (MIW). Wetlands on which a person is actively mitigating a frequently cropped area or a wetland
   converted between December 23, 1985 and November 28, 1990.
17. Restoration with Violation (RVW-year). A restored wetland that was in violation as a result of conversion after
   November 28, 1990, or the planting of an agricultural commodity or forage crop.
18. Restoration without Violation (RSW). A restored wetland converted between December 23, 1985 and
    November 28, 1990, on which an agricultural commodity has not been planted.
19. Replacement Wetlands (RPW). Wetlands which are converted for purposes other than to increase production,
   where the wetland values are being replaced at a second site.
20. Good-Faitti Wetlands (GFW+year). Wetlands on which ASCS has determined a violation to be in good faith and the
    wetland has been restored.
21. Converted Wetlands (CW). Wetlands converted after December 23, 1985 and prior to November 28, 1990. In any
   year that an agricultural commodity is planted on these Converted Wetlands, you will be ineligible for USDA benefits.
22. Converted Wetland (CW+year). Wetlands converted after November 28, 1990. You will be ineligible for USDA
    program benefits until this wetland is restored.
23. Converted Wetland Non-Agricultural use (CWNA). Wetlands that are converted for trees, fish production, shrubs,
   cranberries, vineyards or building and road construction.
24. Converted Wetland Technical Error (CWTE). Wetlands that were converted as a result of incorrect determination
    by SCS.
25. The olanned alteration measures on wetlands in fields                                                         are considered maintenance and are in compliance
    with FSA.
26. The planned alteration measures on wetlands in fields                                                    are not considered to be maintenance and if
    installed will cause the area to become a Converted Wetland (CW). See item 22 for information on CW+year.
27. The wetland determination was completed in the office 0 field 0 and was delivered 0 mailed0 to the person on
28. Remarks.   •




29. I certify that the above determination is correct and adequate for use in determining 30. Signature of SCS District Conservationist        131. Date
   eligibility for USDA program benefits, and that wetland hydrology, hydric soils, and
   hydrophytic vegetation Uhder normal circumstances exist on alt areas outlined as
   Wetlands, Farmed Wetlands, and Farmed Wetlands Pasture.
Assistance and programs of the Soil Conservation Service available without regard to race, religion, color, sex, age, or handicap.
                                                                                 Person Copy
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  Appeals                                                                                                                                000235


  The conservation provisions of the Food Security Act of 1985 place responsibility on U.S. Department of Agriculture (USDA) agencies for
  making determinations which may have significant economic impact on farm operations. These determinations are made as accurately as
  possible. However, there will be situations when persons believe the rules have not been properly applied in their case resulting in the
  denial of USDA program benefit.

 Each agency—the Agricultural Stabilization and Conservation Service (ASCS), Farmers Home Administration (FmHA), Federal Crop Insurance
 Corporation (FCIC), and Soil Conservation Service (SCS)—has an appeals procedure for the purpose of allowing producers to furnish
 evidence to support their claims that the rules have not been properly applied.

  Items                    ASCS is responsible for determining:
  Appealed                 • whether a person is a producer on a field;
  To ASCS                  • establishment of field boundaries;
                           • whether land was planted to an agricultural commodity any of the years 1981 through 1985;
                           • whether land was set aside, diverted, or otherwise not cultivated under a program administered by the Secretary of
                             Agriculture;
                           • whether the production of an agricultural commodity on highly erodible land or converted wetland by a tenant is
                             required under terms and conditions of the agreement between the landlord and tenant;
                           • whether the agricultural commodity planted on a field was planted before December 23, 1985, or during any crop
                             year which began before December 23, 1985; and
                           • whether the conversion of a particular wetland was commenced before December 23, 1985, or converted since
                             December 23, 1985 by third party.

 Items                     FmHA is responsible for determining whether the proceeds of any loan made, insured, or guaranteed under any
 Appealed                  provision of law administered by FmHA will be used for a purpose that will contribute to excessive erosion of
 To FmHA                   highly erodible land or to the conversion of wetland.

 Items                    FCIC is responsible for determining if insured producers or those applying for crop insurance are in compliance
 Appealed                 with the Food Security Act of 1985.
 To FCIC

 Items                    SCS is responsible for appeals regarding:
 Appealed                 A. Highly erodible land determinations:
 To SCS                      e determination of the land capability classification of a field or a portion of a field;
                             e determination of a predicted average annual rate of erosion for a field or a portion of a field;
                             e determination of the potential average annual rate of erosion for a field or a portion of a field.
                             e determination by a conservation district, or by a designated conservationist in those areas where no conservation
                                district exists, that a conservation system or a conservation plan should not be approved.
                          B. Wetland determinations:
                             e determination that certain land is a "wetland" as defined by the act;
                             e determination that certain land is a "converted wetland" as defined by the act;
                             e determination of whether the conversion of wetland for the production of an agricultural commodity on such
                                converted wetland will have minimal effect on the hydrological and biological aspects of wetland.
                             e determination of whether wetlands are exempted as result of being prior converted, artificial, or irrigation-
                                induced wetlands, or wetlands farmed under natural conditions.
                          C. Whether SCS followed its policies and procedures.

 How To                   You should request reconsideration by the person or committee of the agency making the initial determination
 Appeal                   within 15 days (30 days for FmHA, and 45 days for SCS) of the mailing of the determination.

                          Appeals of adverse decisions may be made to the next level of appeal within 15 days (30 for FmHA, and 45 days for
                          SCS) of the mailing of the decision. Decisions by the highest listed authority in each agency are final and there are no
                          further administrative appeal rights. The succession of levels for appeal following reconsideration by the person or
                          committee making the initial determination are:

                         For ASCS                                                                     For FmHA:
                         1st — County ASC Committee                                                   1st —County Supervisor
                         2nd — State ASCS Committee                                                   2nd — District Director
                         3rd — Deputy Administrator for State and County Operations                   3rd — State Director
                                                                                                      4th — Administrator

                         For FCIC:*                                                                   For SCS:
                         1st —Field Operations                                                        1st — District Conservationist
                         2nd — Kansas City Appeals                                                    2nd — Area Conservationist
                               Board: Claims Division                                                 3rd — State Conservationist
                         3rd — Assistant Manager, FCIC Washington, DC                                 4th — Deputy Chief for Programs
                  *Companies reinsured by FCIC will utilize their own appeal process.

This sheet provides general information on the appeals procedure of the Food Security Act of 1985. Published rules and regulations
are available at local USDA offices.

All USDA programs and services•are available without regard to race, color, national origin, religion, sex, age, marital status, or handicap,
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                         Environmental
  United States
  Department of
  Agriculture
  April 1991

                         Assessment
                         Selected Provisions of the
                         Conservation Program
                         Improvements Act of 1990
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   Progress
   In the five years since the passage of the PSA, the SCS and the Agricultural Conservation and Stabilization Service
   (ASCS) have dealt with the procedural logistics and policy implications of the Act. The conservation provisions of
   the Act, to achieve a substantial reduction in soil erosion and to prevent the loss of additional valued wetlands, have
   been addressed in the SCS's efforts to complete conservation plans on 1.8 million farms and to identify wetland
   areas covered by the provisions of the Act.

   To date, the SCS has assisted in developing plans for 1.27 million farms covering 135 million acres of highly
   erodible land. Nearly one-third of these plans have already been implemented. When all plans are implemented,
   erosion on highly erodible lands will be reduced-by about 50 percent annually. The plans call for installing more
   than 215,000 miles of terraces, 1.3-million acres of grassed waterways, 4,700 miles of diversions, 25 million acres
   of contouring, and more than 100 million acres of conservation tillage. 'Fewer than 450 producers have had
   program benefits denied because of conservation compliance violations More important than the actual number of
   program benefit denials, however, is the fact that producers are aware that the provisions will,be enforced. As a
   result, they will be less likely to bring new highly erodible land into production.
                                                                                      °
   Implementation of the Swampbuster provision has slowed the rate of wetland conversion. •To date, just under
   million acres of wetlands have been, identified and classified on farms Determinations for legal classification of
   wetlands have been made for about one-half the acreage.
                                                                      4-    t 4.   I   ; ;••                   •,, ,

   The areas classified so far include about 91,000 acres of recentirconverted!1vetlands.',Mininial effects exemptions'
   have been granted for about 4,000 of these acres. Presumably,sanyProductrt Who are using these lands to produce
   agricultural Commodities have decided to forego USDA.programitteaefits in order to use their convened lands
   Less than 3 percent of farmers for whom wetland classification detonninations have been made have officially
   appealed USDA certifications

   It is believed, however, that there are cases of unreported conversions If so; some Would be cases of Minor
   conversions where the severity of the potential penalties have hampered administration, enforcement, and
   compliance.
                                                                                                                             '
   Conversions to non-agricultural uses continue, as do other kinds of wAtlandr, tosses. - An example is the major losses'
   of wetland in the Mississippi Delia caused by coastal delta subsidenco,andbyoxidation of coastal wetland soils due
   to salinity from coastal waterways.

   Nearly 34 million acres of land-have been enrolled in nine CRP signups. It is estimated that withdrawing these
   acres from production and establishing cover on them will reduce erosion by 655 million tons annually. This is a
   significant reduction in erosion and water quality degradation, since these fragile lands contribute a disproportionate
   share of total erosion when .untreated. More than 2.1 million acres of this land have been planted or scheduled for
   planting to trees. CRP plans for filter strips will protect over 6,100 miles of streams and water bodies from
   sediment and other nonpoint source pollutants.

   Implementation Problems
   These accomplishments notwithstanding, implementation of the program has underscored a number of procedural
   and policy issues which need to be resolved and has identified new opportunities for enhancing conservation
   through new legislation. Some examples follow:

   • The FSA put a tenant in jeopardy of losing benefits if the landowner refused to allow implementation of an
    acceptable conservation plan.
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 [FR Doc No: 94-1311]


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 _______________________________________________________________________

 Part IV




 Environmental Protection Agency




 _______________________________________________________________________




 Department of Agriculture




 Soil Conservation Service
 _______________________________________________________________________




 Department of Defense




 Corps of Engineers, Department of the Army
 _______________________________________________________________________




https://www.govinfo.gov/content/pkg/FR-1994-01-19/html/94-1311.htm                 10/3/2019
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 Department of the Interior




 Fish and Wildlife Service
 _______________________________________________________________________



 Memorandum of Agreement Concerning Wetlands Determinations on
 Agricultural Lands; Notice
 ENVIRONMENTAL PROTECTION AGENCY

 DEPARTMENT OF AGRICULTURE

 Soil Conservation Service

 DEPARTMENT OF DEFENSE

 Corps of Engineers, Department of the Army

 DEPARTMENT OF THE INTERIOR

 Fish and Wildlife Service



 Interagency Memorandum of Agreement Concerning Wetlands
 Determinations for Purposes of Section 404 of the Clean Water Act and
 Subtitle B of the Food Security Act

 AGENCIES: Environmental Protection Agency; Soil Conservation Service,
 USDA; Army Corps of Engineers, DoD; Fish and Wildlife Service, DoI.

 ACTION: Notice.

 -----------------------------------------------------------------------

 SUMMARY: On January 6, 1994, the Departments of the Army, Agriculture,
 the Interior, and the Environmental Protection Agency signed a
 Memorandum of Agreement (MOA) that recognizes the Soil Conservation
 Service (SCS) as the lead Federal agency for wetlands delineations on
 agricultural lands. Specifically, the MOA articulates the policy and
 procedures to be used in the determination of wetlands jurisdiction for
 purposes of both Section 404 of the Clean Water Act and Subtitle B of
 the Food Security Act (also known as the Swampbuster program). The MOA,
 which establishes minimum training requirements and requires the use of
 standard interagency approved methods, will improve the quality and
 consistency of wetlands determinations on agricultural lands. The
 actual text of the MOA is published as part of this notice.

 DATES: The effective date of this MOA is January 6, 1994.

 ADDRESSES: Copies of this MOA are available from:

 EPA Wetlands Hotline, (800) 832-7828.
 U.S. Soil Conservation Service Conservation Planning Division,
 Washington, DC 20013.




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 U.S. Army Corps of Engineers CECW-OR, 20 Massachusetts Ave., NW,
 Washington, DC 20314-1000.
 U.S. Fish and Wildlife Service Division of Habitat Conservation
 (400ARLSQ), 1849 C. St., NW, Washington, DC 20240

 FOR FURTHER INFORMATION CONTACT: The EPA Wetlands Hotline, (800) 832-
 7828; Gregory Peck of the Environmental Protection Agency, 202/260-
 8794; Michael Davis of the Office of the Assistant Secretary of the
 Army (Civil Works), 703/695-1376; Warren Lee of the Soil Conservation
 Service, 202/720-1845; or Stephen Forsythe of the Fish and Wildlife
 Service, (703) 358-2161.

 SUPPLEMENTARY INFORMATION: On August 24, 1993, the Clinton
 Administration announced a comprehensive package of wetlands policy
 reforms that will improve the protection of wetlands and make wetlands
 programs more fair and flexible for landowners. The MOA signed on
 January 6, 1994, implements one of the more than 40 initiatives in the
 Administrations's Wetlands Plan. The MOA signatory agencies recognize
 the important contribution of agricultural producers to society, our
 economy, and our environment. The agencies are committed to ensuring
 that Federal wetlands programs are administered in a manner that
 minimizes the impacts on affected landowners to the extent possible
 consistent with the important goal of protecting wetlands. The MOA was
 developed in response to concerns that previous practices may have led
 to confusion and inconsistent application of Federal wetlands programs
 and policies on agricultural lands.

     The MOA will minimize duplication and inconsistencies between
 Swampbuster and the Clean Water Act wetlands programs and articulate
 clearly the procedures by which the Nation's farmers can rely on SCS
 wetlands jurisdictional determinations on agricultural land for
 purposes of both the Clean Water Act and Swampbuster programs. The MOA
 includes provisions to ensure that agency personnel are properly
 trained, that standard agreed-upon methods are utilized in making
 wetlands determinations, and that appropriate monitoring and oversight
 is undertaken. The MOA also places emphasis on local cooperation
 between the signatory agencies and the improvement of analytical
 methods for making wetland determinations.
     While the MOA became effective on January 6, 1994, full
 implementation will vary from state to state depending on the level of
 training required and the development of state wetlands mapping
 conventions. The signatory agencies will take appropriate action to
 expedite implementation of the MOA consistent with such prerequisites.
     The full text of the MOA follows.

     Dated: January 7, 1994.

     Approved:
 James R. Lyons,
 Assistant Secretary for Natural Resources and Environment, Department
 of Agriculture.
     Dated: January 12, 1994.

     Approved:
 Robert Perciasepe,
 Assistant Administrator for Water Environmental Protection Agency.
     Dated: January 7, 1994.

     Approved:
 G. Edward Dickey,




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 Acting Assistant Secretary of the Army for Civil Works, Department of
 the Army.
     Dated: January 7, 1994.

     Approved:
 George T. Frampton, Jr.,
 Assistant Secretary for Fish and Wildlife and Parks, Department of the
 Interior.
     Memorandum of Agreement Among the Department of Agriculture, the
 Environmental Protection Agency, the Department of the Interior, and
 the Department of the Army Concerning the Delineation of Wetlands for
 Purposes of Section 404 of the Clean Water Act and Subtitle B of the
 Food Security Act.

 I. Background

     The Departments of the Army, Agriculture, and the Interior, and the
 Environmental Protection Agency (EPA) recognize fully that the
 protection of the Nation's remaining wetlands is an important objective
 that will be supported through the implementation of the Wetland
 Conservation (Swampbuster) provision of the Food Security Act (FSA) and
 Section 404 of the Clean Water Act (CWA). The agencies further
 recognize and value the important contribution of agricultural
 producers to our society, our economy, and our environment. We are
 committed to ensuring that Federal wetlands programs are administered
 in a manner that minimizes the impacts on affected landowners to the
 fullest possible extent consistent with the important goal of
 protecting wetlands. We are also committed to minimizing duplication
 and inconsistencies between Swampbuster and the CWA Section 404
 program. On August 24, 1993, the Administration announced a
 comprehensive package of reforms that will improve both the protection
 of wetlands and make wetlands programs more fair and flexible for
 landowners, including the Nations's agriculture producers. This
 Memorandum of Agreement (MOA) implements one of over 40 components of
 the Administration's Wetland Plan.

 II. Purpose and Applicability

 A. Purpose

     The purpose of this MOA is to specify the manner in which wetland
 delineations and certain other determinations of waters of the United
 States made by the U.S. Department of Agriculture (USDA) under the FSA
 will be relied upon for purposes of CWA Section 404. While this MOA
 will promote consistency between CWA and FSA wetlands programs, it is
 not intended in any way to diminish the protection of these important
 aquatic resources. In this regard, all signatory agencies to this MOA
 will ensure that wetlands programs are administered in a manner
 consistent with the objectives and requirements of applicable laws,
 implementing regulations, and guidance.

 B. Applicability

     1. The Administrator of EPA has the ultimate authority to determine
 the geographic scope of waters of the United States subject to
 jurisdiction under the CWA, including the Section 404 regulatory
 program. Consistent with a current MOA between EPA and the Department
 of the Army, the Army Corps of Engineers (Corps) conducts
 jurisdictional delineations associated with the day-to-day
 administration of the Section 404 program.




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     2. The Secretary of the USDA, acting through the Chief of the Soil
 Conservation Service (SCS), has the ultimate authority to determine the
 geographic scope of wetlands for FSA purposes and to make delineations
 relative to the FSA, in consultation with the Department of the
 Interior, Fish and Wildlife Service (FWS).

 III. Definition of Agricultural Lands

     For the purposes of this MOA, the term ``agricultural lands'' means
 those lands intensively used and managed for the production of food or
 fiber to the extent that the natural vegetation has been removed and
 cannot be used to determine whether the area meets applicable
 hydrophytic vegetation criteria in making a wetland delineation.
     A. Areas that meet the above definition may include intensively
 used and managed cropland, hayland, pasture land, orchards, vineyards,
 and areas which support wetland crops (e.g., cranberries, taro,
 watercress, rice). For example, lands intensively used and managed for
 pasture or hayland where the natural vegetation has been removed and
 replaced with planted grasses or legumes such as ryegrass, bluegrass,
 or alfalfa, are considered agricultural lands for the purposes of this
 MOA.
     B. ``Agricultural lands'' do not include range lands, forest lands,
 wood lots, or tree farms. Further, lands where the natural vegetation
 has not been removed, even though that vegetation may be regularly
 grazed or mowed and collected as forage or fodder (e.g., uncultivated
 meadows and prairies, salt hay), are not considered agricultural lands
 for the purposes of this MOA.
     Other definitions for the purposes of this MOA are listed below in
 section VI.

 IV. Allocation of Responsibility

     A. In accordance with the terms and procedures of this MOA, wetland
 delineations made by SCS on agricultural lands, in consultation with
 FWS, will be accepted by EPA and the Corps for the purposes of
 determining Section 404 wetland jurisdiction. In addition, EPA and the
 Corps will accept SCS wetland delineations on non-agricultural lands
 that are either narrow bands immediately adjacent to, or small pockets
 interspersed among, agricultural lands. SCS is responsible for making
 wetland delineations for agricultural lands whether or not the person
 who owns, manages, or operates the land is a participant in USDA
 programs.
     B. Lands owned or operated by a USDA program participant that are
 not agricultural lands and for which a USDA program participant
 requests a wetland delineation, will be delineated by SCS in
 coordination with the Corps, or EPA as appropriate, and in consultation
 with FWS. Final wetland delineations conducted by SCS pursuant to the
 requirements of this paragraph shall not be revised by SCS except where
 an opportunity for coordination and consultation is provided to the
 other signatory agencies.
     C. SCS may conduct delineations of other waters for the purposes of
 Section 404 of the CWA, such as lakes, ponds, and streams, in
 coordination with the Corps, or EPA as appropriate, on lands on which
 SCS is otherwise engaged in wetland delineations pursuant to paragraphs
 IV.A or IV.B of this MOA. Delineations of ``other waters'' will not be
 made until the interagency oversight team convened pursuant to Section
 V.B.2 has agreed on appropriate local procedures and guidance for
 making such delineations.
     D. For agricultural lands, the signatory agencies will use the
 procedures for delineating wetlands as described in the National Food




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 Security Act Manual, Third Edition (NFSAM). For areas that are not
 agricultural lands, SCS will use the 1987 Corps Wetland Delineation
 Manual, with current national Corps guidance, to make wetland
 delineations applicable to Section 404.
     E. Delineations on ``agricultural lands'' must be performed by
 personnel who are trained in the use of the NFSAM. Delineations on
 other lands and waters must be performed by personnel who are trained
 in the use of the 1987 Corps Wetland Delineation Manual. This MOA
 includes provisions for the appropriate interagency delineation
 training below in Section V.E.
     F. In the spirit of the agencies' commitment to develop agreed upon
 methods for use in making wetland delineations, subsequent revisions or
 amendments to the Corps 1987 manual or portions of the NFSAM affecting
 the wetland delineation procedures upon which this agreement is based
 will require the concurrence of the four signatory agencies.
     G. A final written wetland delineation made by SCS pursuant to the
 terms of this MOA will be adhered to by all the signatory agencies and
 will be effective for a period of five years from the date the
 delineation is made final, unless new information warrants revision of
 the delineation before the expiration date. Such new information may
 include, for example, data on landscape changes caused by a major
 flood, or a landowner's notification of intent to abandon agricultural
 use and the return of wetland conditions on a prior converted cropland.
 In accordance with Section 1222 of the FSA, SCS will update wetland
 delineations on this five-year cycle. Circumstances under which SCS
 wetland delineations made prior to the effective date of this agreement
 will be considered as final for Section 404 purposes are addressed in
 Paragraph V.C.
     H. Within the course of administering their Swampbuster
 responsibilities, SCS and FWS will provide landowners/operators general
 written information (i.e., EPA/Corps fact sheets) regarding the CWA
 Section 404 program permit requirements, general permits, and
 exemptions. The SCS and FWS will not, however, provide opinions
 regarding the applicability of CWA Section 404 permit requirements or
 exemptions.
     I. USDA will maintain documentation of all final written SCS
 wetland delineations and record the appropriate label and boundary
 information on an official wetland delineation map. USDA will make this
 information available to the signatory agencies upon request.
     J. In pursuing enforcement activities, the signatory agencies will
 rely upon delineations made by the lead agency, as clarified below,
 providing a single Federal delineation for potential violations of
 Section 404 or Swampbuster. Nothing in this MOA will diminish, modify,
 or otherwise affect existing EPA and Corps enforcement authorities
 under the CWA and clarified in the 1989 ``EPA/Army MOA Concerning
 Federal Enforcement for the Section 404 Program of the Clean Water
 Act.'' EPA, the Corps, and SCS may gather information based on site
 visits or other means to provide additional evidentiary support for a
 wetland delineation which is the subject of a potential or ongoing CWA
 Section 404 or Swampbuster enforcement action.
     K. For those lands where SCS has not made a final written wetland
 delineation, and where the Corps or EPA is pursuing, a potential CWA
 violation, the lead agency for the CWA enforcement action will conduct
 a jurisdictional delineation for the purposes of Section 404 and such
 delineations will be used by SCS for determining Swampbuster
 jurisdiction and potential Swampbuster violations. For those lands
 where the Corps has not made a final written wetland delineation, and
 where SCS is pursuing a potential Swampbuster violation, SCS will make
 a final written wetland delineation consistent with Sections IV.A,
 IV.B, and IV.C of this MOA and provide copies to the Corps and EPA.




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 Such delineations will be used by the Corps and EPA for the purpose of
 determining potential violations of the CWA. In circumstances in which
 either the Corps or EPA is pursuing a potential CWA violation on land
 that is subject to an ongoing SCS appeal, a wetland delineation will be
 conducted by the Corps or EPA in consultation with SCS and FWS.
     L. In making wetland delineations, the agencies recognize that
 discharges of dredged or fill material that are not authorized under
 Section 404 cannot eliminate Section 404 jurisdiction, and that
 wetlands that were converted as a result of unauthorized discharges
 remain subject to Section 404 regulation.

 V. Procedures

     Accurate and consistent wetland delineations are critical to the
 success of this MOA. For this reason, the signatory agencies will work
 cooperatively at the field level to:
     (1) Achieve interagency concurrence on mapping conventions used by
 SCS for wetland delineations on agricultural lands, (2) provide EPA and
 Corps programmatic review of SCS delineations, and (3) certify wetland
 delineations in accordance with Section 1222(a)(2) of the FSA, as
 amended. The following sections describe the procedures that will be
 followed to accomplish these objectives.

 A. Mapping Conventions

     1. Each SCS State Conservationist will take the lead in convening
 representatives of the Corps, EPA, FWS, and SCS to obtain the written
 concurrence of each of the signatory agencies, within 120 calendar days
 of the effective date of this MOA, on a set of mapping conventions for
 use in making wetland delineations. Only mapping conventions concurred
 upon by all signatory agencies will be used by SCS for wetland
 delineations.
     2. If interagency consensus on mapping conventions is not reached
 within 120 days of the date of this MOA, the State Conservationist will
 refer documentation of the unresolved issues to the Chief of SCS. The
 Chief of SCS will immediately forward copies of the State
 Conservationist's documentation of unresolved issues to the Corps
 Director of Civil Works; the EPA Director of the Office of Wetlands,
 Oceans, and Watersheds; and the FWS Director. Immediately thereafter,
 the Chief of SCS or an appropriate designee will lead necessary
 discussions to achieve interagency concurrence on resolution of
 outstanding issues, and will forward documentation of the resolution to
 the State Conservationist and the appropriate Headquarters offices of
 the signatory agencies.
     3. Once interagency concurrence on mapping conventions is obtained,
 such mapping conventions will be used immediately in place of the
 earlier mapping conventions.
     4. Agreed-upon mapping conventions developed at the state level
 will be documented and submitted, for each state, through the Chief of
 SCS to the Headquarters of each of the signatory agencies. State-level
 agreements will be reviewed by the Headquarters of the signatory
 agencies for the purpose of ensuring national consistency.

 B. Delineation Process Review and Oversight

     1. This MOA emphasizes the need to ensure consistency in the manner
 in which wetlands are identified for CWA and FSA purposes, and provides
 a number of mechanisms to increase meaningful interagency coordination
 and consultation in order for the agencies to work toward meeting this
 goal. In this regard, the agencies believe it is critical that efforts




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 for achieving consistency be carefully monitored and evaluated.
 Consequently, this MOA establishes a monitoring and review process that
 will be used to provide for continuous improvement in the wetland
 delineation process specified in this MOA.
     2. EPA will lead the signatory agencies in establishing interagency
 oversight teams at the state level to conduct periodic review of
 wetland delineations conducted under the provisions of this MOA. These
 reviews will include delineations done by SCS pursuant to Sections
 IV.A, IV.B, and IV.C of this MOA and delineations done by EPA or the
 Corps pursuant to Section IV.K. of this MOA. These reviews also will
 include changes to wetland delineations resulting from the SCS appeals
 process, as well as disagreements regarding allocation of
 responsibility. These reviews will occur, at a minimum, on a quarterly
 basis for the first year, on a semi-annual basis for the second year,
 and annually thereafter. In addition, a review will be initiated
 whenever one or more of the signatory agencies believes a significant
 issue needs to be addressed. The purpose of each review will be to
 evaluate the accuracy of an appropriate sample of wetland delineations.
 When feasible, this will include actual field verifications of wetland
 delineations. Should the interagency oversight team identify issues
 regarding implementation of this MOA or wetland delineations conducted
 under the provisions of this MOA, the team will work to resolve those
 issues and reach agreement on any necessary corrective actions. Each
 review, and any necessary corrective action, will be documented in a
 report to be distributed to the signatory agencies' appropriate field
 and Headquarters offices.
     3. In situations in which the interagency oversight team identifies
 and reports unresolved issues concerning wetland delineations conducted
 under the provisions of this MOA, including changes to wetland
 delineations resulting from the SCS appeals process, the Headquarters
 offices of the signatory agencies will informally review the issue and
 work to reach agreement on any necessary corrective actions. This
 informal process notwithstanding, the EPA Regional Administrator or the
 Corps District Engineer may, at any time, propose to designate a
 geographic area as a ``special case''.
     4. Similar to the terms of the current Memorandum of Agreement
 between the Department of the Army and the EPA Concerning the
 Determination of the Geographic Jurisdiction of the Section 404 Program
 and the Application of the Exemptions under Section 404(f) of the CWA,
 the EPA Regional Administrator or the Corps District Engineer may
 propose to designate a geographic area, or a particular wetland type
 within a designated geographic area, as a special case. A special case
 may be designated only after the interagency oversight team (EPA,
 Corps, SCS, and FWS) has reviewed the relevant issues and been unable
 to reach a consensus on an appropriate resolution. Special cases will
 be designated by an easily identifiable political or geographic
 subdivision, such as a township, county, parish, state, EPA Region, or
 Corps division or district, and will be marked on maps or using some
 other clear format and provided to the appropriate EPA, Corps, FWS, and
 SCS field offices. Proposed designations of special cases will not be
 effective until approved by EPA or Corps Headquarters, as appropriate.
     5. Upon proposing a special case, the EPA Regional Administrator or
 Corps District Engineer, as appropriate, will notify the appropriate
 SCS State Conservationist in writing. Following notification of the
 proposed designation, SCS will not make wetland delineations for the
 purposes of CWA jurisdiction within the proposed special case for a
 period of 20 working days from the date of the notification. SCS may
 proceed to make wetland delineations for CWA purposes in the proposed
 special case after the 20-day period if the SCS State Conservationist
 has not been notified by the EPA Regional Administrator or Corps




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 District Engineer of approval of the proposed special case designation
 by EPA Headquarters or the Corps Director of Civil Works, as
 appropriate.
     6. Following approval of the proposed special case, the Corps, or
 EPA as appropriate, will make final CWA wetland delineations in the
 special case area, rather than SCS. In addition, the referring field
 office (i.e., either the EPA Regional Administrator or Corps District
 Engineer) will develop draft guidance relevant to the specific issues
 raised by the special case and forward the draft guidance to its
 Headquarters office. The Headquarters office of the agency which
 designated the special case will develop final guidance after
 consulting with the signatory agencies' Headquarters offices. EPA
 concurrence will be required for final guidance for any special case
 designated by the Corps. Special cases remain in effect until final
 guidance is issued by the Headquarters office of the agency which
 designated the special case or the designation is withdrawn by the EPA
 Regional Administrator or Corps District Engineer, as appropriate.

 C. Reliance on Previous SCS Wetland Delineations for CWA Purposes

     1. Section 1222 of the FSA, as amended by the Food Agriculture
 Conservation and Trade Act, provides that SCS will certify SCS wetland
 delineations made prior to November 28, 1990. The intent of this
 process is to ensure the accuracy of wetland delineations conducted
 prior to November 28, 1990, for the purposes of the FSA. This
 certification process also will provide a useful basis for establishing
 reliance on wetland delineations for CWA purposes. All certifications
 done after the effective date of this MOA that are done using mapping
 conventions will use the agreed-upon mapping conventions pursuant to
 Section V.A of this MOA.
     2. Written SCS wetland delineations for lands identified in section
 IV.A of his MOA conducted prior to the effective date of this MOA will
 be used for purposes of establishing CWA jurisdiction, subject to the
 provisions of section V.C.3 below. If such SCS wetland delineations are
 subsequently modified or revised through updated certification, these
 modifications or revisions will supersede the previous delineations for
 purposes of establishing CWA jurisdiction. Written SCS wetland
 delineations for lands identified in sections IV.B and IV.C of this MOA
 conducted prior to the effective date of this MOA will require
 coordination with the Corps, or EPA as appropriate, before being used
 for purposes of determining CWA jurisdiction.
     3. As part of the certification effort, SCS will establish
 priorities to certify SCS wetland delineations. In addition to
 responding to requests from individual landowners who feel their
 original wetland determinations were made in error, SCS will give
 priority to certifying those wetland delineations where at least two of
 the four signatory agencies represented on the interagency oversight
 team convened pursuant to section V.B.2 of this MOA agree that SCS
 wetland delineations in a particular area, or a generic class of SCS
 wetland delineations in a particular area, raise issues regarding their
 accuracy based on current guidance. These priority areas will be
 identified only after mapping conventions are agreed upon pursuant to
 section V.A of this MOA. Identification of these high priority
 certification needs shall be made at the level of the SCS State
 Conservationist, FWS Regional Director, EPA Regional Administrator, and
 the Corps District Engineer. Following identification of these high
 priority certification needs, the SCS State Conservationist will
 immediately notify the affected landowner(s), by letter, that the
 relevant SCS wetland delineations have been identified as a high
 priority for being certified under Section 1222 of the FSA. In




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 addition, the notification will inform the landowner that while
 previous wetland delineations remain valid for purposes of the FSA
 until certification or certification update is completed, the landowner
 will need to contact the Corps before proceeding with discharges of
 dredged or fill material. This communication by the landowner will
 enable the Corps to review the wetland delineation to establish whether
 it can be used for purposes of CWA jurisdiction. The SCS State
 Conservationist will initiate, within 30 calendar days of landowner
 notification, corrective measures to resolve the wetland delineation
 accuracy problem.

 D. Appeals

     Landowners for whom SCS makes wetland delineations for either
 Swampbuster or Section 404 will be afforded the opportunity to appeal
 such wetland delineations through the SCS appeals process. In
 circumstances where an appeal is made and the State Conservationist is
 considering a change in the original delineation, the State
 Conservationist will notify the Corps District Engineer and the EPA
 Regional Administrator to provide the opportunity for their
 participation and input on the appeal. FWS also will be consulted
 consistent with the requirements of current regulations. The Corps and
 EPA reserve the right, on a case-by-case basis, to determine that a
 revised delineation resulting from an appeal is not valid for purposes
 of Section 404 jurisdiction.

 E. Training

     1. SCS, in addition to FWS and EPA, will continue to participate in
 the interagency wetland delineation training sponsored by the Corps,
 which is based on the most current manual used to delineate wetlands
 for purposes of Section 404. Completion of this training will be a
 prerequisite for field staff of all signatory agencies who delineate
 wetlands on non-agricultural lands using the 1987 Corps Wetland
 Delineation Manual.
     2. The interagency wetland delineation training will address agency
 wetland delineation responsibilities as defined by this MOA, including
 SCS NFSAM wetland delineation procedures.
     3. Field offices of the signatory agencies are encouraged to
 provide supplemental interagency wetland delineation training (i.e., in
 addition to that required in paragraph IV.E), as necessary, to prepare
 SCS field staff for making Section 404 wetland delineations. For
 training on the use of the 1987 Corps Wetland Delineation Manual, such
 supplemental training will rely on the training materials used for the
 Corps delineation training program and will provide an equivalent level
 of instruction.

 VI. Definitions

     A. Coordination means that SCS will contact the Corps, or EPA as
 appropriate, and provide an opportunity for review, comment, and
 approval of the findings of SCS prior to making a final delineation.
 The Corps, or EPA as appropriate, will review the proposed delineation
 and respond to SCS regarding its acceptability for CWA Section 404
 purposes within 45 days of receipt of all necessary information. SCS
 will not issue a final delineation until agreement is reached between
 SCS and the Corps or EPA, as appropriate.
     B. Consultation means that SCS, consistent with current provisions
 of the FSA, will provide FWS opportunity for full participation in the
 action being taken and for timely review and comment on the findings of




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 SCS prior to a final wetland delineation pursuant to the requirements
 of the FSA.
     C. A wetland delineation is any determination of the presence of
 wetlands and their boundaries.
     D. A special case for the purposes of this MOA refers to those
 geographic areas or wetland types where the Corps or EPA will make
 final CWA wetland delineations.
     E. Signatory agencies means the EPA and the Departments of Army
 (acting through the Corps), Agriculture (acting through SCS), and
 Interior (acting through FWS).
     F. USDA program participant means individual landowners/operators
 eligible to receive USDA program benefits covered under Title XII of
 the Food Security Act of 1985, as amended by the Food, Agriculture,
 Conservation and Trade Act of 1990.

 VII. General

     A. The policy and procedures contained within this MOA do not
 create any rights, either substantive or procedural, enforceable by any
 party regarding an enforcement action brought by the United States.
 Deviation or variance from the administrative procedures included in
 this MOA will not constitute a defense for violators or others
 concerned with any Section 404 enforcement action.
     B. Nothing in this MOA is intended to diminish, modify, or
 otherwise affect statutory or regulatory authorities of any of the
 signatory agencies. All formal guidance interpreting this MOA and
 background materials upon which this MOA is based will be issued
 jointly by the agencies.
     C. Nothing in this MOA will be construed as indicating a financial
 commitment by SCS, the Corps, EPA, or FWS for the expenditure of funds
 except as authorized in specific appropriations.
     D. This MOA will take effect on the date of the last signature
 below and will continue in effect until modified or revoked by
 agreement of all signatory agencies, or revoked by any of the signatory
 agencies alone upon 90 days written notice. Modifications to this MOA
 may be made by mutual agreement and Headquarters level approval by all
 the signatory agencies. Such modifications will take effect upon
 signature of the modified document by all the signatory agencies.
     E. The signatory agencies will refer delineation requests to the
 appropriate agency pursuant to this MOA.

     Dated: January 6, 1994.
 James R. Lyons,
 Assistant Secretary for Natural Resources and Environment, Department
 of Agriculture.
 Robert Perciasepe,
 Assistant Administrator for Water, Environmental Protection Agency.
 G. Edward Dickey,
 Acting Assistant Secretary of the Army for Civil Works, Department of
 the Army.
 George T. Frampton, Jr.,
 Assistant Secretary for Fish, Wildlife and Parks, Department of the
 Interior.

 [FR Doc. 94-1311 Filed 1-18-94; 8:45 am]
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                                                                             II




     104TH CONGRESS
        1ST SESSION
                                S. 275
     To establish a temporary moratorium on the Interagency Memorandum of
         Agreement Concerning Wetlands Determinations until enactment of a
         law that is the successor to the Food, Agriculture, Conservation, and
         Trade Act of 1990, and for other purposes.




          IN THE SENATE OF THE UNITED STATES
                    JANUARY 25 (legislative day, JANUARY 10), 1995
     Mr. GRASSLEY (for himself, Mr. BOND, Mr. BURNS, Mr. HELMS, Mr. MCCON-
         NELL, Mr. PRESSLER, and Mr. NICKLES) introduced the following bill;
         which was read twice and referred to the Committee on Agriculture, Nu-
         trition, and Forestry




                               A BILL
     To establish a temporary moratorium on the Interagency
        Memorandum of Agreement Concerning Wetlands Deter-
        minations until enactment of a law that is the successor
        to the Food, Agriculture, Conservation, and Trade Act
        of 1990, and for other purposes.

      1        Be it enacted by the Senate and House of Representa-
      2 tives of the United States of America in Congress assembled,
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                                      2
      1   SECTION 1. TEMPORARY MORATORIUM ON THE INTER-

      2                   AGENCY   MEMORANDUM       OF   AGREEMENT

      3                   CONCERNING WETLANDS DETERMINATIONS.

      4       (a) IN GENERAL.—Notwithstanding any other provi-
      5 sion of law, during the period beginning on the date of
      6 enactment of this Act and ending on the date of enactment
      7 of a law that is the successor to the Food, Agriculture,
      8 Conservation, and Trade Act of 1990 (Public Law 101–
      9 624), the Secretary of Agriculture, the Secretary of the
     10 Army, the Secretary of the Interior, and the Administrator
     11 of the Environmental Protection Agency may not carry
     12 out—
     13                (1) the Interagency Memorandum of Agreement
     14       Concerning Wetlands Determinations for Purposes
     15       of Section 404 of the Clean Water Act and Subtitle
     16       B of the Food Security Act (59 Fed. Reg. 2920) (re-
     17       ferred to in this section as the ‘‘Memorandum of
     18       Agreement’’); or
     19                (2) any method of delineating wetlands based
     20       on the Memorandum of Agreement for purposes of
     21       carrying out subtitle C of title XII of the Food Secu-
     22       rity Act of 1985 (16 U.S.C. 3821 et seq.) or section
     23       404 of the Federal Water Pollution Control Act (33
     24       U.S.C. 1344).
     25       (b) SAVINGS PROVISION.—Wetlands may be delin-
     26 eated based on a policy or practice in effect prior to the
           •S 275 IS
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                                   3
      1 proposed effective date of the Memorandum of Agreement.
      2 This Act shall not constitute acceptance or approval of the
      3 policy or practice.
                                   Æ




           •S 275 IS
S 1702                       CONGRESSIONAL RECORD — SENATE                             January 27, 1995
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                                agencies want him to do in regard to friendly relationship between the 000397
as Governor from 1954 through 1958, and                                                                 soil
accompanied him to Washington dur-          wetlands on his personal property and        conservation people who are educating
ing his service as a United States Sen-     how that confounds him in making             farmers to be better caretakers of our
ator from 1962 through 1966 after he        business decisions on the operation of       natural resources and the farmer want-
won an election to complete the             his farm.                                    ing to do that and learning from that
unexpired term of the late Senator            Those four agencies last year entered      process.
Keith Thomson, during which the elder       into a memorandum of agreement con-            That sort of consultation has pro-
Senator Simpson was diagnosed with          cerning wetlands delineation on agri-        moted more benefit to the environment
Parkinson’s disease, forcing his retire-    cultural land. Although the memoran-         than any other one process I know
ment from the Senate.                       dum of agreement was intended to             from the U.S. Department of Agri-
  On once being nominated ‘‘Wyoming         streamline the regulatory process, and       culture. In this current process, it has
Woman of the Year,’’ Mrs. Simpson           it was meant to clarify the role of each     not been the usual close relationship,
said, ‘‘The Bible does say, ‘Let your       agency, it has, however, increased the       but it is in the back rooms, or in the
light so shine before men that may see      level of confusion and the level of frus-    laboratories around the individual
your good works, and glorify your Fa-       tration among the farmers affected by
                                                                                         States, where bureaucrats are going
ther which is in Heaven.’ ’’                it. It has not made their life any easier.
                                                                                         over these soil maps with this aerial
  Certainly, Lorna Kooi Simpson car-        It may have well been the intention of
                                                                                         photography to find other wetlands.
ried with her throughout her life a bril-   the faceless bureaucrat, through that
liant, far-reaching light. She was a        agreement, to make life easier, but it       And then send out a new map to the in-
genuine ‘‘Renaissance Lady.’’ To re-        has not.                                     dividual farmers with additional delin-
flect on her life is to marvel at the ca-     The delineation of wetlands on agri-       eation of wetlands on it. At that point,
pacity of some men and women to live        cultural land has been, for a long pe-       you have wetlands whether you think
selflessly and abundantly beyond the        riod of time, a confusing proposition.       they are wetlands or not and it is your
imaginations of most of us, and we are      On the other hand, the consequences of       job, as an individual farmer, then, at
all diminished by the death of this         the delineations are very clear. The         the appeals process to show that these
great Wyoming lady, as we are dimin-        farmer, for instance, might alter a wet-     really are not wetlands. And the bur-
ished by the death of any great person.     land without authorization from the          den of proof is on the back of the farm-
  I trust that Senator SIMPSON, whom        Federal Government, and could poten-         er.
we admire, and for whom we have great       tially face civil penalties, criminal ac-      This is kind of a way of saying, ‘‘You
affection, will find a rich and             tion, and loss of farm program benefits.     are guilty of having something that
undiminishing solace in the memories        Because the stakes are so very high, I       you did not even know you had,’’ par-
of Mrs. Simpson, and in the assurance       think we have a responsibility in this       ticularly if you have been farming this
of the love of God that so infused and      Congress, as representatives of the peo-     very land for a long period of time.
defined her life. To be sure, Lorna Kooi    ple, representing a major industry in          Well, we ought to inform the farmer
Simpson was, and is, a genuine reflec-      America, because the food and fiber          of this process. The bureaucracy has
tion of the workmanship of a Loving         chain, from producer to consumer, is 20      not informed the farmer of the process.
Heavenly Father, and she is now at rest     percent of our gross national product,       In fact, in my State, in Story County,
in an Eternal Home, not made with           and considering the importance of this       IA, there was a meeting to discuss this
hands, in our Father’s house, near at       industry and the millions of family          whole process, but it was by invitation
hand to the Lord whom she so dearly         farmers, independent entrepreneurs           only.
served throughout her life with every       that make their living this way, be-           Although it may be legitimate to
talent with which He had entrusted          cause of all these reasons, we must en-      have some further determination, it
her.                                        sure that the delineation process is ac-     ought to involve the farmer and it
  My wife, Erma, and I extend our sym-      curate and that it is reasonable.            ought to require that the bureaucrat
pathy and our condolences to ALAN             As I speak, Mr. President, new wet-        making that determination at least
SIMPSON and all of his family in this       lands delineation are being conducted
                                                                                         visit the area and see with their own
hour of trial.                              in the State of Iowa pursuant to the
                                                                                         eyes what the situation might be. This
  Mr. President, I yield the floor.         memorandum of agreement. It is just
                                                                                         would reinforce the close relationship
                                            starting in the State of Iowa, but is
                                            going to cover every other State af-         we have had for six or seven decades
  MORATORIUM ON NEW WETLAND                 fected by agricultural wetlands. So          between the soil conservation consult-
             DELINEATIONS                   even though it is of immediate impact        ant, engineer, and the individual fam-
  Mr. GRASSLEY. Mr. President, I in-        in my State, in just a few months, this      ily farmer. I am talking about the fam-
troduced this week, with 10 cosponsors,     process will be going on throughout the      ily farm, not the big corporate farmer
a bill to safeguard the property rights     country.                                     with the absentee landownership and
of our Nation’s farmers. The bill will        This is a process whereby these peo-       some foreign manager taking care of
establish a moratorium on new wetland       ple, unknown to the individual farm-         the land.
delineations, until Congress has time       ers, take the individual soil survey           This process is currently going on, so
to enact a new farm bill and to con-        maps and aerial photos of vegetation         that farmers will soon be deprived of
sider the wetlands issue on agricultural    topography. From these they attempt          the right to farm their land or improve
land in conjunction with that bill. This    to find, in areas where they have not        their property because a Federal bu-
corresponds with the policy set here by     already said there are wetlands, some        reaucrat decides that such activity
this body in 1985 when we passed the        other little bit of evidence of wetlands,    interferes with a protected wetland.
antisodbusting and antiswampbusting         in order to get more farmers under the         Remember, we went through this
provisions that are on the books and        regulatory umbrella and get more land        process     after    we    passed    the
are generally good pieces of legisla-       within each farm under that umbrella         antiswampbusting and antisodbusting
tion—now being abused, though, by           of wetlands? Because the more wet-           legislation in the 1985 farm bill. I do
faceless bureaucrats, who are trying to     lands determinations and the more of         not, for the most part—not completely,
redetermine additional wetlands. Even       an opportunity for the bureaucrats to        but for the most part—I do not hear
though the prior determinations have        have some jurisdiction over private          any individual farmers complain about
fit into the farming patterns of individ-   property they would not otherwise            that determination or the regulations
ual farmers around the United States.       have jurisdiction over.                      that have followed that determination.
  As you know, Mr. President, no less         This is being done not with on-site        That is because there was an open ef-
than four Federal agencies claim juris-     farm inspections, not with the individ-      fort on the part of the bureaucracy to
diction over the regulation of wetlands.    ual farmer right alongside the soil con-     work with the farmers, to understand
Just think of how impossible it is for      servation personnel—remember, his-           what the process is, to have input. But
the family farmer of America to try to      torically, for 60 or 70 years, there has     not now. The meetings in my State are
understand what four different Federal      been a very close relationship and           by invitation only.
January 27, 1995             CONGRESSIONAL RECORD — SENATE                                              S 1703
           Case 1:19-cv-02416-TSC    Document 35-1 Filed 06/18/21
                                farm bill. That is just 6 months. Surely
  Now, I suppose it sounds like we are
                                                                                Page 52 of 211                000398
                                                                         One example is federal housing policy. We
opposed to protecting valuable wet-         there is nothing wrong with that.                     thought that if we gave people housing, we
lands. Well, I think the litmus test of     Nothing is going to happen in the next                would give them opportunity. Begun during
                                                                                                  the New Deal, most federal housing pro-
that     is    our     vote     for   the   6 months that is going to be cata-
                                                                                                  grams were meant to provide short-term
antiswampbusting, antisodbusting pro-       strophic to this whole process. I think               shelter for people temporarily out of work.
visions in the 1985 farm bill. There were   that it is a commonsense approach.                    But a series of complicated rules and bou-
no efforts to repeal those provisions. In     So this bill stops the Government                   tique programs has rewarded the wrong kind
fact, even in the 1990 farm bill, there     from finding new wetlands on farms                    of behavior and made housing projects Zip
was some expansion in this area.            until this reform can be put in place.                codes of pathology. Few residents can find
  But I think we ought to be cognizant        Mr. President, I yield the floor.                   work. Crime and substance abuse are high.
of the fact that it is not good for agri-                                                            Some blame the victim. Some identify
culture, it is not good for our general                                                           with the victim. But Democrat’s addition to
                                                       MORNING BUSINESS                           other people’s misery does not solve their
economy, and it surely is not condu-
                                                                                                  problems or substitute for national policy.
cive to the family farmer. He should                                                              While we must acknowledge the pain of the
not be expected to confront a faceless                                                            impoverished, we must also require them to
bureaucrat every so often, with                    DEMOCRATS, GET REAL
                                                                                                  take charge of their own lives. We must find
changes in the rules every few years, so      Mrs. MURRAY. Mr. President, I am                    ways to reward those who work or get into a
that farmers can never be certain if        pleased today to bring to the attention               program for self-sufficiency.
their conduct is allowed under the cur-     of my colleagues a thoughtful opinion                    We must ensure that welfare rules do not
rent regulatory scheme.                     piece by our colleague, the Senator                   destroy the family. Democrats should stand
                                                                                                  up for the family—and that includes men. We
  I am also opposed to the promulga-        from Maryland, which appeared in the
                                                                                                  need to end the ‘‘get the man out of the
tion of a memorandum of agreement by        Washington Post on Sunday, January                    house’’ rule, which has pushed men out of
four Federal agencies that will signifi-    22. She presents a road map that I be-                the house so a family can qualify for public
cantly affect the ability of private        lieve can help all Senators, on both                  benefits. Shortsighted intentions have cre-
property owners to improve their land       sides of the aisle, as we develop our pri-            ated rules that dismantle families, emas-
without the benefit of input from the       orities in this new Congress. I ask                   culate men and deny their children a full-
people affected by the agreement.           unanimous consent that Senator MI-                    time father. Being a dad is more than writ-
  My bill basically accomplishes two        KULSKI’s column be printed in the                     ing a child-support check.
                                                                                                     We’ve heard a lot about angry voters. Ac-
things. First, it will allow those prop-    RECORD at this point.
                                                                                                  tually, I think voters’ anger stems from be-
erty owners affected by the memoran-          There being no objection, the column                wilderment and disillusionment. This bewil-
dum of agreement to have some input         was ordered to be printed in the                      derment and disillusionment is based on the
through congressional hearings on the       RECORD, as follows:                                   fact that their personal experience does not
wetlands policy. At the very least, Con-       [From the Washington Post, Jan. 22, 1995           reflect what statistics tell them. People are
gress should ensure that the concerns                     DEMOCRATS, GET REAL                     told that they are fortunate to live in an
of the private owners are heard before                  (By Barbara A. Mikulski)                  economy of low unemployment, low inflation
they are deprived of the use of their                                                             and rapid growth. Yet, people are one
                                               Democrats need a new attitude and action           downsizing away from unemployment, their
land.                                       plan to focus on solving real problems. This          friends have been laid off, and their standard
  The second purpose of the bill is to      attitude and plan must promote a shared na-           of living continues to decline. At the same
stop the bureaucracy from acting based      tional vision to create good jobs and give            time, people feel less secure in their homes,
upon the flawed memorandum of agree-        help to those who work hard, play by the              neighborhoods and workplaces Children are
ment. It is my sincere hope that this       rules and practice self-help. We need to cre-         killing children with guns carried around in
                                            ate a new state of mind that—as Ameri-                school backpacks.
Congress will reform Federal wetlands
                                            cans—we can solve our nation’s problems to-              America’s future deserves more thought
policy. This policy should be based         gether.
upon sound science, recognize the con-                                                            and effort than partisan bidding wars over
                                               Democrats must stop being angst-addicted.          tax cuts. It deserves more than the pursuit of
stitutionally protected right of private    We have too often substituted agonizing for           ‘‘faddish’’ ideas floated by think tanks.
property, and, above all, institute a       action, and it has paralyzed us. To connect           Americans deserve real solutions to the com-
large dose of common sense into the         with middle-class Americans, we must think            plex problems of an increasingly complex
program.                                    clearly and act decisively. Democrats must            world.
  And where a real opportunity to in-       focus on the day-to-day needs of everyday                Democrats must join together to create
                                            Americans—their jobs, families and opportu-           this new attitude, both within the Demo-
still common sense into this program
                                            nities. We also need to look at our country’s         cratic Party and within the country—to re-
was missed by the bureaucracy, is           long-term needs. We need to generate jobs
when the agreement was not promul-                                                                ward hard work, family stability and playing
                                            with pay worth the effort and education. We           by the rules. Together, we can begin to ad-
gated under the Administrative Proce-       need to create a national readiness that is           dress the very valid concerns Americans
dures Act. That process allows the pub-     based on competence and character.                    have about their futures, the futures of their
lishing of whatever the bureaucrat             Democrats must focus on being politically          families and the future of their country.
wants to regulate, but it institutes        effective, not necessarily politically correct.
upon them a discipline and a hearing        We cannot use words from a dated vocabu-
                                            lary. Political labels such as ‘‘right,’’ ‘‘left,’’
process to make sure that there is
                                            ‘‘liberal’’ and ‘‘conservative’’ have become          AUSCHWITZ IS SYNONYMOUS WITH
input from all segments of the regu-        cliches. Labels and stereotypes that go with
lated community.                                                                                                   EVIL
                                            them have little meaning.
  Now, in my State, we do not try to           Being politically effective means helping            Ms. MIKULSKI. Mr. President, per-
sneak things over on the people. This       those who are middle class stay there or do           haps more than any other word, Ausch-
process of ignoring public input is for-    better. Being politically effective means             witz is synonymous with evil.
eign to the thinking of the common-         helping those who are not middle class get              Fifty years ago today, Russian sol-
sense approach of mid-Americans who         there through hard work and practicing self-          diers liberated Auschwitz.
                                            help. Worn-out sound bites about the econ-
are law-abiding citizens, who want to                                                               The horrors of Auschwitz are incom-
                                            omy and crime weaken our credibility and
work with their Government, who want        play into the hands of those who demonize             prehensible and undescribable.
to keep the economy or the environ-         our ideas by blaming the victim, the govern-            Over 1 million people lost their lives
ment sound.                                 ment or both.                                         at Auschwitz—the largest of the Nazi
  And so I beg for 6 months to slow the        Democrats must figure out what works. We           death camps. Ninety percent were
process down, to alert the family farm-     must be advocates for people and not auto-            Jews. Hundreds of thousands were chil-
ers of America to what is going on.         matically defend every government program.            dren.
That it is affecting their right to farm,   Let’s look at the mission of these programs.            Auschwitz represented the German’s
                                            When they serve their mission and help peo-
and to do it in a businesslike fashion,                                                           campaign to exterminate a people—the
                                            ple, great. When they don’t, let’s get rid of
and to allow the Agriculture Commit-        them. We cannot be a rescue squad for every           Jews. They almost succeeded—killing
tee, under the extremely capable lead-      line item. Often, the good intentions of good         two out of three Jews in Europe.
ership of Senator LUGAR, to review this     people have gone astray. Tinker Toy reforms             As a Polish-American, I carry the im-
whole process and to work it into the       ultimately created other problems.                    ages of Auschwitz in my heart.
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                                                                                 I




     104TH CONGRESS
        1ST SESSION
                             H. R. 1220
     To establish a temporary moratorium on the delineation of new wetlands
         until enactment of a law that is the successor to the Food, Agriculture,
         Conservation, and Trade Act of 1990, and for other purposes.




             IN THE HOUSE OF REPRESENTATIVES
                                    MARCH 13, 1995
     Mr. LATHAM introduced the following bill; which was referred to the Commit-
         tee on Agriculture, and in addition to the Committee on Transportation
         and Infrastructure, for a period to be subsequently determined by the
         Speaker, in each case for consideration of such provisions as fall within
         the jurisdiction of the committee concerned




                                A BILL
     To establish a temporary moratorium on the delineation of
        new wetlands until enactment of a law that is the succes-
        sor to the Food, Agriculture, Conservation, and Trade
        Act of 1990, and for other purposes.

      1         Be it enacted by the Senate and House of Representa-
      2 tives of the United States of America in Congress assembled,
      3   SECTION 1. TEMPORARY MORATORIUM ON THE DELINEA-

      4                   TION OF NEW WETLANDS.

      5         Notwithstanding any other provision of law, during
      6 the period beginning on the date of the enactment of this
      7 Act and ending on the date of the enactment of a law
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                                  2
      1 that is the successor to the Food, Agriculture, Conserva-
      2 tion, and Trade Act of 1990, the Secretary of Agriculture,
      3 the Secretary of the Army, and the Administrator of the
      4 Environmental Protection Agency may not delineate wet-
      5 lands for purposes of carrying out subtitle C of title XII
      6 of the Food Security Act of 1985 (16 U.S.C. 3821 et seq.)
      7 and section 404 of the Federal Water Pollution Control
      8 Act (33 U.S.C. 1344).
                                  Æ




           •HR 1220 IH
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                                                    Jim Petterson     (202) 720-4623
                                                       Warren Lee     (202) 690-4614

 USDA TO HAKE WETLANDS DELINEATIONS AND CERTIFICATIONS ONLY ON REQUEST

       WASHINGTON, April 6, 1995 -- Secretary of Agriculture Dan Glickman today
 announced the U.S. Department of Agriculture will make agricultural wetlands
 delineations and certifications only on request until the Congress completes
 action on the 1995 farm bill and the National Academy of Science completes
 work on a wetlands study.

       "President Clinton has directed all federal agencies to review and
 change regulations so that they are focused on results, not rules, and .
 eliminate all unnecessary intrusion into the lives of ordinary Americans,"
 Glickman said. "This change is good for farmers and it supports the
 president's policy.

      "It is our intent to work with Congress to get the wetlands issues in
agriculture resolved in the 1995 Farm Bill. We want to avoid causing farmers
the confusion and uncertainty that would occur if USDA made a delineation now
with the possibility of having to be back in the field next year with a new
delineation."

      "Current wetlands determinations by USDA's Natural Resources
Conservation Service (NRCS) are still valid," said Jim Lyons, under secretary
for natural resoufces and environment. "Any new delineations also will be
valid. What we're saying is that we are not going to make delineations in
advance until we and Congress have had a chance to review and, if appropriate,
revise current policy."

      The National Academy of Science has been conducting for more than a year
a study of wetlands and wetlands delineations. Their report is expected in
the next few months. The delay in certifications and advance delineations
announced today will give the administration and Congress the opportunity to
review this study and its findings before changes are made to the Swampbuster
program in the 1995 farm bill.

      Under a memorandum of agreement, NRCS, the U.S. Environmental Protection
Agency, the U.S. Fish and Wildlife Service, and the U.S. Army Corps of
Engineers are cooperating to streamline and simplify wetlands regulations.

      Under that agreement, NRCS is responsible for making wetlands
delineations on agricultural land for both agricultural programs and for
Section 404 permits required by the Clean Water Act. The decision to place
advance delineations on hold does not affect these responsibilities or the
interagency agreement.

      "We are still committed to helping people understand the unique
functions and values of wetlands and working cooperatively to protect and
restore them, " Glickman said.
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Case 1:19-cv-02416-TSC   Document 35-1   Filed 06/18/21   Page 58 of 211   000407
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         104TH CONGRESS                                                 REPORT
                        "      HOUSE OF REPRESENTATIVES             !
            2d Session                                                  104–494




           FEDERAL AGRICULTURE IMPROVEMENT AND
                    REFORM ACT OF 1996




                             CONFERENCE REPORT
                                       TO ACCOMPANY


                                       H.R. 2854




                            MARCH 25, 1996.—Ordered to be printed
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                                                  5
        Sec. 384. Repeal of report requirement.
        Sec. 385. Flood risk reduction.
        Sec. 386. Conservation of private grazing land.
        Sec. 387. Wildlife habitat incentives program.
        Sec. 388. Farmland protection program.
        Sec. 389. Interim moratorium on bypass flows.
        Sec. 390. Everglades ecosystem restoration.
        Sec. 391. Agricultural air quality research oversight.
                             TITLE IV—NUTRITION ASSISTANCE
        Sec. 401. Food stamp program.
        Sec. 402. Commodity distribution program; commodity supplemental food program.
        Sec. 403. Emergency food assistance program.
        Sec. 404. Soup kitchen and food bank program.
        Sec. 405. National commodity processing.
                            TITLE V—AGRICULTURAL PROMOTION
                      Subtitle A—Commodity Promotion and Evaluation
        Sec. 501. Commodity promotion and evaluation.
         Subtitle B—Issuance of Orders for Promotion, Research, and Information Activities
                                Regarding Agricultural Commodities
        Sec. 511. Short title.
        Sec. 512. Findings and purpose.
        Sec. 513. Definitions.
        Sec. 514. Issuance of orders.
        Sec. 515. Required terms in orders.
        Sec. 516. Permissive terms in orders.
        Sec. 517. Assessments.
        Sec. 518. Referenda.
        Sec. 519. Petition and review of orders.
        Sec. 520. Enforcement.
        Sec. 521. Investigations and power to subpoena.
        Sec. 522. Suspension or termination.
        Sec. 523. Amendments to orders.
        Sec. 524. Effect on other laws.
        Sec. 525. Regulations.
        Sec. 526. Authorization of appropriations.
                                  Subtitle C—Canola and Rapeseed
        Sec. 531. Short title.
        Sec. 532. Findings and declaration of policy.
        Sec. 533. Definitions.
        Sec. 534. Issuance and amendment of orders.
        Sec. 535. Required terms in orders.
        Sec. 536. Assessments.
        Sec. 537. Referenda.
        Sec. 538. Petition and review.
        Sec. 539. Enforcement.
        Sec. 540. Investigations and power to subpoena.
        Sec. 541. Suspension or termination.
        Sec. 542. Regulations.
        Sec. 543. Authorization of appropriations.
                                       Subtitle D—Kiwifruit
        Sec. 551. Short title.
        Sec. 552. Findings and purposes.
        Sec. 553. Definitions.
        Sec. 554. Issuance of orders.
        Sec. 555. National Kiwifruit Board.
        Sec. 556. Required terms in order.
        Sec. 557. Permissive terms in order.
        Sec. 558. Petition and review.
        Sec. 559. Enforcement.
        Sec. 560. Investigations and power to subpoena.
        Sec. 561. Referenda.
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            PUBLIC LAW 104–127—APR. 4, 1996




   FEDERAL AGRICULTURE IMPROVEMENT AND
            REFORM ACT OF 1996
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               PUBLIC LAW 104–127—APR. 4, 1996                            110 STAT. 987

      Transition Act, the Commodity Credit Corporation Charter Act
      (15 U.S.C. 714 et seq.), or any other Act.
            ‘‘(2) A loan made or guaranteed under the Consolidated
      Farm and Rural Development Act (7 U.S.C. 1921 et seq.) or
      any other provision of law administered by the Consolidated
      Farm Service Agency, if the Secretary determines that the
      proceeds of the loan will be used for a purpose that will contrib-
      ute to conversion of a wetland (other than as provided in
      this subtitle) to produce an agricultural commodity.
            ‘‘(3) During the crop year:
                  ‘‘(A) A payment made pursuant to a contract entered
            into under the environmental quality incentives program
            under chapter 4 of subtitle D.
                  ‘‘(B) A payment under any other provision of subtitle
            D.
                  ‘‘(C) A payment under section 401 or 402 of the Agricul-
            tural Credit Act of 1978 (16 U.S.C. 2201 and 2202).
                  ‘‘(D) A payment, loan, or other assistance under section
            3 or 8 of the Watershed Protection and Flood Prevention
            Act (16 U.S.C. 1003 and 1006a).’’.
      (b) CONFORMING AMENDMENTS.—
            (1) Section 1221(c) of the Food Security Act of 1985 (as
      redesignated by subsection (a)(1)) is amended—                           16 USC 3821.
                  (A) by striking ‘‘Except’’ and inserting ‘‘WETLAND
            CONVERSION.—Except’’;
                  (B) by striking ‘‘subsequent to the date of enactment
            of the Food, Agriculture, Conservation, and Trade Act of
            1990’’ and inserting ‘‘beginning after November 28, 1990,’’;
            and
                  (C) by striking ‘‘subsections (a) (1) through (3)’’ and
            inserting ‘‘subsection (b)’’.
            (2) Section 1221 of the Food Security Act of 1985 (as
      amended by subsection (a)) is amended by adding at the end
      the following:
      ‘‘(d) PRIOR LOANS.—This section shall not apply to a loan
  described in subsection (b) made before December 23, 1985.’’.
  SEC. 322. DELINEATION OF WETLANDS; EXEMPTIONS TO PROGRAM
              INELIGIBILITY.
       (a) DELINEATION OF WETLANDS.—Section 1222 of the Food Secu-
  rity Act of 1985 (16 U.S.C. 3822) is amended by striking subsection
  (a) and inserting the following:
       ‘‘(a) DELINEATION BY THE SECRETARY.—
             ‘‘(1) IN GENERAL.—Subject to subsection (b) and paragraph
       (6), the Secretary shall delineate, determine, and certify all
       wetlands located on subject land on a farm.
             ‘‘(2) WETLAND DELINEATION MAPS.—The Secretary shall
       delineate wetlands on wetland delineation maps. On the request
       of a person, the Secretary shall make a reasonable effort to
       make an on-site wetland determination prior to delineation.
             ‘‘(3) CERTIFICATION.—On providing notice to affected per-
       sons, the Secretary shall—
                   ‘‘(A) certify whether a map is sufficient for the purpose
             of making a determination of ineligibility for program bene-
             fits under section 1221; and
                   ‘‘(B) provide an opportunity to appeal the certification
             prior to the certification becoming final.
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  110 STAT. 988            PUBLIC LAW 104–127—APR. 4, 1996

                        ‘‘(4) DURATION OF CERTIFICATION.—A final certification
                  made under paragraph (3) shall remain valid and in effect
                  as long as the area is devoted to an agricultural use or until
                  such time as the person affected by the certification requests
                  review of the certification by the Secretary.
                        ‘‘(5) REVIEW OF MAPPING ON APPEAL.—In the case of an
                  appeal of the Secretary’s certification, the Secretary shall
                  review and certify the accuracy of the mapping of all land
                  subject to the appeal to ensure that the subject land has been
                  accurately delineated. Prior to rendering a decision on the
                  appeal, the Secretary shall conduct an on-site inspection of
                  the subject land on a farm.
                        ‘‘(6) RELIANCE ON PRIOR CERTIFIED DELINEATION.—No per-
                  son shall be adversely affected because of having taken an
                  action based on a previous certified wetland delineation by
                  the Secretary. The delineation shall not be subject to a subse-
                  quent wetland certification or delineation by the Secretary,
                  unless requested by the person under paragraph (4).’’.
                  (b) EXEMPTIONS.—Section 1222 of the Food Security Act of
              1985 (16 U.S.C. 3822) is amended by striking subsection (b) and
              inserting the following:
                  ‘‘(b) EXEMPTIONS.—No person shall become ineligible under sec-
              tion 1221 for program loans or payments under the following cir-
              cumstances:
                        ‘‘(1) As the result of the production of an agricultural
                  commodity on the following lands:
                              ‘‘(A) A converted wetland if the conversion of the wet-
                        land was commenced before December 23, 1985.
                              ‘‘(B) Land that is a nontidal drainage or irrigation
                        ditch excavated in upland.
                              ‘‘(C) A wet area created by a water delivery system,
                        irrigation, irrigation system, or application of water for
                        irrigation.
                              ‘‘(D) A wetland on which the owner or operator of
                        a farm or ranch uses normal cropping or ranching practices
                        to produce an agricultural commodity in a manner that
                        is consistent for the area where the production is possible
                        as a result of a natural condition, such as drought, and
                        is without action by the producer that destroys a natural
                        wetland characteristic.
                              ‘‘(E) Land that is an artificial lake or pond created
                        by excavating or diking land (that is not a wetland) to
                        collect and retain water and that is used primarily for
                        livestock watering, fish production, irrigation, wildlife, fire
                        control, flood control, cranberry growing, or rice production,
                        or as a settling pond.
                              ‘‘(F) A wetland that is temporarily or incidentally cre-
                        ated as a result of adjacent development activity.
                              ‘‘(G) A converted wetland if the original conversion
                        of the wetland was commenced before December 23, 1985,
                        and the Secretary determines the wetland characteristics
                        returned after that date as a result of—
                                    ‘‘(i) the lack of maintenance of drainage, dikes,
                              levees, or similar structures;
                                    ‘‘(ii) a lack of management of the lands containing
                              the wetland; or
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  110 STAT. 992               PUBLIC LAW 104–127—APR. 4, 1996

                      (i) MITIGATION BANKING.—Section 1222 of the Food Security
                 Act of 1985 (16 U.S.C. 3822) is amended by adding at the end
                 the following:
                      ‘‘(k) MITIGATION BANKING PROGRAM.—Using authorities avail-
                 able to the Secretary, the Secretary may operate a pilot program
                 for mitigation banking of wetlands to assist persons to increase
                 the efficiency of agricultural operations while protecting wetland
                 functions and values. Subsection (f)(2)(C) shall not apply to this
                 subsection.’’.
                 SEC. 323. CONSULTATION AND COOPERATION REQUIREMENTS.
                      Section 1223 of the Food Security Act of 1985 (16 U.S.C. 3823)
                 is repealed.
                 SEC. 324. APPLICATION OF PROGRAM INELIGIBILITY TO AFFILIATED
                              PERSONS.
                      The Food Security Act of 1985 (as amended by section 323)
                 is amended by inserting after section 1222 (16 U.S.C. 3822) the
                 following:
  16 USC 3823.   ‘‘SEC. 1223. AFFILIATED PERSONS.
                     ‘‘If a person is affected by a reduction in benefits under section
                 1221 and the affected person is affiliated with other persons for
                 the purpose of receiving the benefits, the benefits of each affiliated
                 person shall be reduced under section 1221 in proportion to the
                 interest held by the affiliated person.’’.
                 SEC. 325. CLARIFICATION OF DEFINITION OF AGRICULTURAL LANDS
                              IN MEMORANDUM OF AGREEMENT.
                      (a) AGRICULTURAL LANDS.—For purposes of implementing the
                 memorandum of agreement entered into between the Department
                 of Agriculture, the Environmental Protection Agency, the Depart-
                 ment of the Interior, and the Department of the Army on January
                 6, 1994, relating to the delineation of wetlands, the term ‘‘agricul-
                 tural lands’’ shall include—
                           (1) native pasture, rangelands, and other lands used to
                      produce or support the production of livestock; and
                           (2) tree farms.
                      (b) WETLAND CONSERVATION.—Subsection (a) shall not apply
                 with respect to the delineation of wetlands under subtitle C of
                 title XII of the Food Security Act of 1985 (16 U.S.C. 3821 et
                 seq.) or to the enforcement of the subtitle.
                      (c) SUCCESSOR MEMORANDUM.—Subsection (a) shall apply to
                 any amendment to or successor of the memorandum of agreement
                 described in subsection (a).
  16 USC 3821    SEC. 326. EFFECTIVE DATE.
  note.
                     This subtitle and the amendments made by this subtitle shall
                 become effective 90 days after the date of enactment of this Act.

                  Subtitle D—Environmental Conservation
                          Acreage Reserve Program
                 SEC. 331. ENVIRONMENTAL CONSERVATION ACREAGE RESERVE PRO-
                              GRAM.
                     Section 1230 of the Food Security Act of 1985 (16 U.S.C. 3830)
                 is amended to read as follows:
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                     Highly Erodible Lands Conservation
                     Compliance and Wetlands
                     Conservation Provisions - 1996


                     Supplement to the Environmental
                     Assessment: Highly Erodible Lands
                     Conservation Compliance and Wetlands
                     Conservation Provisions of the
                     Conservation Program Improvements Act
                     of 1990


                     June 4, 1996
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• Stipulates that wetland conversion activities, authorized by a permit issued under Section 404
  of the Clean Water Act, which make agricultural production possible, will be accepted for
  farm bill purposes if they were adequately mitigated.

• Revises the concept of "abandonment" to ensure that as long as land is used for agriculture, a
  certified Prior Converted (PC) cropland designation remains in effect. When done under an
  approved plan, landowners with Farmed Wetlands (FW) and Farmed Wetlands Pasture
  (FWP) may allow an area to revert to wetland status, and convert it back to an FW or FWP
  for agricultural purposes without violating the Swampbuster provision.

• Requires wetland determinations to be certified by NRCS. Previous wetland determinations
  will be certified to verify their accuracy. A certified wetland determination will remain in
  effect as long as the land is used for agricultural purposes or until the owner or operator
  requests a review from the Secretary.

• Provides the Secretary with the discretion to waive penalties for ineligibility and to grant
  time to restore converted wetlands.

• Provides the Secretary with authority to identify for individual producers which programs are
  affected by Swampbuster violations and how much the penalty is.

• Establishes a pilot program for wetland mitigation banking in order to allow USDA to assess
  how well mitigation banking works for agriculture.

III. Reconsideration of Concerns and Alternatives

The Department published the National Program for Soil and Water Conservation, 1982 Final
Program Report and Environmental Impact Statement, in compliance with Section 6 of the Soil
and Water Resources Conservation Act of 1977 (RCA) (Public Law 95-192). This report was
the first level of the National Environmental Policy Act (NEPA) compliance under "tiering".
Tiering refers to the coverage of general matters in broader environmental impact statements,
such as national program or policy statements, with narrower statements or environmental
analyses concentrating on specific issues.

The Food Security Act (FSA) of 1985 made programmatic changes that were important enough
for USDA to reevaluate portions of the National Conservation Priorities established by the 1982
report. Accordingly, USDA undertook a second level of tiering. Between January 1986 and July
1987, USDA conducted three environmental assessments evaluating the changes brought about
by the new Conservation Title. These assessments led to Findings of No Significant Impact
(FONSI), which were made available when final rules and regulations were published for
implementation of the Conservation Title. Likewise, Environmental Assessments leading to
FONSI's were prepared to evaluate changes made by Title XIV, the Conservation Program
Improvements Act (CPIA) of 1990. This assessment then, prepared to assess changes made by
Title XII - Conservation - The Food Security Act of 1985 As Amended by the Federal


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                                                                                              Friday, September 6, 1996



This section of the FEDERAL REGISTER            SUPPLEMENTARY INFORMATION:                    Executive Order 12788
contains regulatory documents having general
                                                Executive Order 12866                            This interim final rule has been
applicability and legal effect, most of which
are keyed to and codified in the Code of                                                      reviewed in accordance with Executive
Federal Regulations, which is published under
                                                   This rule has been determined to be        Order 12778. The provisions of this
50 titles pursuant to 44 U.S.C. 1510.           significant and was reviewed by the           interim final rule are not retroactive
                                                Office of Management and Budget               except for § 12.5(b)(4)–(8) in relation to
The Code of Federal Regulations is sold by      (OMB) under Executive Order 12866.            certain actions or determinations that
the Superintendent of Documents. Prices of      Pursuant to § 6(a)(3) of Executive Order      occurred after December 23, 1985,
new books are listed in the first FEDERAL       12866, CCC and NRCS have conducted            relative to the conversion of wetlands or
REGISTER issue of each week.                    an economic analysis of the potential         the production of an agricultural
                                                impacts associated with this interim          commodity upon a converted wetland.
                                                final rule. The economic analysis             Furthermore, the provisions of this final
DEPARTMENT OF AGRICULTURE                       concluded that the past ten years of          interim rule preempt State and local
Office of the Secretary                         experience in implementing these              laws to the extent such laws are
                                                provisions demonstrates that the              inconsistent with this interim final rule.
7 CFR Part 12                                   provisions are an effective incentive to      Before an action may be brought in a
                                                implementing conservation practices.          Federal court of competent jurisdiction,
RIN 0578–AA17                                   Changes in the 1985 Act and the               the administrative appeal rights
                                                implementing regulations will help to         afforded persons at CFR parts
Highly Erodible Land and Wetland                increase that incentive by making             11,614,780 and 1900 Subpart B of this
Conservation                                    compliance achievable by more                 title, as appropriate, must be exercised
AGENCY: Office of the Secretary, USDA.          producers, providing more liberal             and exhausted.
                                                technical assistance, and increasing
ACTION: Interim final rule with request                                                       Unfunded Mandates Reform Act of
                                                flexibility in farm operations that
for comments.                                                                                 1995
                                                deterred some producers from
SUMMARY: The United States Department           participation in USDA programs in the           Pursuant to Title II of the unfunded
of Agriculture (USDA) is issuing an             past. A copy of this cost-benefit analysis    Mandates Reform Act of 1995, Pub. L.
interim final rule for the Highly               is available upon request from Sandra         104–4, the effects of this rulemaking
Erodible Land and Wetland                       N. Penn, Conservation Ecosystems              action on State, local, and tribal
Conservation provisions of the Food             Assistance Division, Natural Resources        governments, and the public have been
Security Act of 1985, as amended. This          Conservation Service, P.O. Box 1890,          assessed. This action does not compel
interim final rule incorporates specific        Washington, D.C. 20013–1890.                  the expenditure of $100 million or more
changes required by the Federal                                                               by any State, local, or tribal
                                                Regulatory Flexibility Act                    governments, or anyone in the private
Agriculture Improvement and Reform
Act of 1996 and makes other changes to            The Regulatory Flexibility Act is not       sector; therefore a statement under § 202
improve the administration of these             applicable to this rule because USDA is       of the Unfunded Mandates Reform Act
provisions. USDA is seeking comments            not required by 5 U.S.C. 533 or any           of 1995 is not required.
from the public which will be                   other provisions of law to publish a          Discussion of Provisions
considered prior to issuing a final rule.       notice of proposed rulemaking with
                                                                                                Title XII of the Food Security Act of
DATES: Effective Dates: September 6,            respect to the subject matter of this rule.
                                                                                              1985, as amended (the 1985 Act),
1996.                                           Environmental Evaluation                      encourages participants in United States
  Comments must be received by                                                                Department of Agriculture (USDA)
November 5, 1996.                                  It has been determined through an          programs to adopt land management
ADDRESSES: All comments concerning              environmental assessment that the             measures by linking eligibility for USDA
this interim final rule should be               issuance of this interim final rule will      program benefits to farming practices on
addressed to Lloyd E. Wright, Director,         not have a significant impact upon the        highly erodible land and converted
Conservation Ecosystems Assistance              human environment. Copies of the              wetlands. In particular, the highly
Division, Natural Resources                     environmental assessment may be               erodible land provisions (HEL) of the
Conservation service, P.O. Box 2890,            obtained from Sandra N. Penn,                 1985 Act provide that after December
Washington, D.C. 20013–2890.                    Conservation Ecosystems Assistance            23, 1985, a program participant is
Attention: HELWC. Fax: 202–720–1838.            Division, Natural Resources                   ineligible for certain USDA program
This rule may also be accessed, and             Conservation Service, P.O. Box 2890,          benefits for the production of an
comments submitted, via Internet. Users         Washington, D.C. 20013–2890.                  agricultural commodity on a field in
can access the NRCS Federal Register                                                          which highly erodible land is
                                                Paperwork Reduction Act
homepage and submit comments at                                                               predominant. Additionally, the wetland
http:/astro.itc.nrcs.usda.gov:6500.                No substantive changes have been           conservation (WC) provisions of the
FOR FURTHER INFORMATION CONTACT:                made in this interim final rule that          1985 Act provide that after December
Sandra N. Penn, Conservation                    affect the recordkeeping requirements         23, 1985, a program participant is
Ecosystems Assistance Division, Natural         and estimated burdens previously              ineligible for certain USDA program
Resources Conservation Service, 202–            reviewed and approved under OMB               benefits for the production of an
720–1845.                                       control number 0560–0004.                     agricultural commodity on a converted
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wetland, or after November 28, 1990, for      for some producers. Wherever possible,       cause the person undue economic
the conversion of a wetland that makes        USDA helps individual program                hardship.
the production of an agriculture              participants address their unique               • Requires that an employee of USDA
commodity possible. The 1985 Act,             resources concerns in a manner that          who notices a conservation compliance
however, affords relief to program            meets the requirements of the HEL and        deficiency on a person’s farm while
participants who meet certain                 WC provisions. The Federal Agriculture       providing technical assistance on other
conditions identified under the 1985          Improvement and Reform Act (the 1996         land inform the person of the deficiency
Act by exempting such actions from the        Act), enacted April 4, 1996, made            and actions necessary to come into
ineligibility provisions.                     several modifications to the HEL and         compliance, and allow up to 1 year for
   The USDA issued a final rule               WC provisions which will increase            the person to fully implement corrective
implementing the HEL and WC                   USDA’s ability to meet these individual      action before reporting the observation
provisions of the 1985 Act on                 situations in a more flexible manner.        as a compliance violation.
September 17, 1987. These regulations,                                                        • Requires that highly erodible land
found at 7 CFR part 12, provided the          The Federal Agriculture Improvement
                                                                                           exiting the Conservation Reserve
terms of program ineligibility, described     and Reform Act
                                                                                           Program not be held to a higher
the several exemptions from                      The 1996 Act amendments to the HEL        conservation compliance standard than
ineligibility, outlined the                   and WC provisions became effective 90        similar cropland in the same area.
responsibilities of the several USDA          days after the date of enactment, i.e.,         • Permits a person to cease using
agencies involved in implementing the         July 3, 1996. Accordingly, delaying          farmed wetlands, or farmed-wetland
provisions, and generally established         implementation of this rule would be         pastures, as identified by NRCS, for
the framework for administration of the       contrary to the public interest and it has   cropping or forage production, and
provisions.                                   been determined that this rule should,       allows the lands to return to wetland
   The Food, Agriculture, Conservation,       therefore, be effective when issued but      conditions, and subsequently bring
and Trade Act of 1990 (the 1990 Act),         subject to further review based on           these lands back into agricultural
amended the 1985 Act and made some            comments submitted in response to this       production after any length of time
significant modifications to the HEL and      interim final rule.                          without loss of eligibility for USDA
WC conservation provisions. These                The 1996 Act made the following           program benefits, given certain
statutory changes were incorporated           changes to the implementation of the         conditions.
into part 12 through amendments issued        HEL and WC provisions:                          • Allows flexibility in determining
April 23, 1991, and May 23, 1991.                • Adds new programs to the list of
   The implementing regulations mirror                                                     the programs for which a person who
                                              USDA program benefits covered.               violates wetland conservation
the 1985 Act’s structure by listing the
                                                 • Deletes some programs from the list     provisions will become ineligible.
activities that will cause a person to lose
program benefits, the program benefits        of USDA program benefits covered.               • Ensures that persons the right to
that are at risk, and the conditions             • Under certain conditions, allows a      request and appeal a certified wetland
under which these activities can occur        person who is determined to be               determination.
without losing program eligibility. The       ineligible for USDA program benefits            • Provides that a certified wetland
current regulations are divided into          because of failure to apply a                delineation will remain in effect until
three subparts. Subpart A describes the       conservation system up to 1 year to          the person requests a new determination
terms of ineligibility, USDA programs         implement the necessary practices            and certification.
encompassed by its terms, the list of         without loss of benefits.                       • Ensures that wetlands that were
exemptions from ineligibility, the               • Provides for expedited variances        certified as prior-converted cropland
agency responsibilities, and the appeal       related to weather, pest, and disease        will continue to be considered prior-
provisions for persons adversely              problems and establishes a time period       converted cropland even if wetland
affected by an agency determination.          to render a decision on whether to grant     characteristics return as a result of lack
Subpart B describes in greater detail the     those variances.                             of maintenance of the land or other
technical aspects of the highly erodible         • Requires a measurement of soil          circumstances beyond the person’s
land provisions, including the criteria       erosion on a highly erodible field prior     control provided the prior-converted
for identification of highly erodible         to the implementation of a conservation      cropland continues to be used for
lands, criteria for highly erodible field     system, based on estimated average           agricultural purposes.
determinations, and requirements for          annual soil erosion rates.                      • Requires USDA to identify on a
the development of conservation plans            • Provides for self-certification of      regional basis which categories of
and conservation systems. Subpart C           compliance for HEL and authorizes the        activities constitute a minimal effect on
describes in greater detail the technical     Natural Resources Conservation Service       wetland functions and values.
aspects of the wetland conservation           (NRCS) to exclude that person from              • Provides persons who convert a
provisions, including the criteria for        status review on the basis of that           wetland greater flexibility to mitigate
determining a wetland, the criteria for       certification of compliance.                 the loss of wetland functions and values
determining a converted wetland, and             • Provides for revision or                through restoration, enhancement, or
the uses of wetlands and converted            modification of a conservation plan by       creation of wetlands.
wetlands that can be made without             a person if the same level of treatment         • Allows the Farm Service Agency
losing program eligibility.                   is maintained.                               (FSA) to waive a person’s ineligibility
   Since December 23, 1985, program              • Permits a person to use, on a field-    for benefits if FSA believes the person
participants have farmed in a more            trial basis, conservation practices other    acted in good faith and without intent
sustainable manner, resulting in more         than those currently approved if NRCS        to violate the wetland provisions.
soil remaining on the field and more          determines in advance that the practices        • Provides for a pilot program for
wetlands remaining available to wildlife      have a reasonable likelihood of success.     wetland mitigation banking.
and migratory fowl. Meeting the                  • Provides for a review, and relief to       • Repeals the requirements for
objectives of the HEL and WC                  a person, by the local county committee      consultation with the Fish and Wildlife
provisions, however, has been difficult       if applying a conservation system would      Service (FWS).
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   • Provides that benefits of affiliates of   mitigation always be in the same              discussed in greater detail below, NRCS
a business enterprise who violate HEL          watershed; that mitigation should place       is dedicated to continued coordination
or WC provisions will be reduced in            priority on restoration or enhancement        with the other Federal agencies with
proportion to the interest held by the         rather than creation of wetlands; that        wetland responsibilities. Currently, the
affiliate in the business enterprise.          mitigation should be flexible; and, that      MOA provides a useful and available
   • Defines ‘‘agricultural lands’’ for the    mitigation should meet the                    framework for this coordination.
purpose of implementing the January 6,         requirements of the WC provision.
1994, interagency memorandum of                Section 12.5(b)(4) sets forth procedures      Description of Amendments
agreement on Federal wetland                   to be used for wetland mitigation, and           As the summary of the forum
delineations on agricultural lands.            adds that the State Conservationist may       comments indicates, the statutory
                                               determine that mitigation for certain         changes affect provisions throughout 7
Public Listing Forums
                                               types or classes of wetlands will not be      CFR part 12. Because of these numerous
   In April 1996, USDA held nine               considered because it is not possible to      changes, USDA will republish part 12 in
forums to provide opportunities for            achieve equivalent replacement of             its entirety to help the public form
public comment in advance of this              wetland functions and values within a         opinions and offer comments. When
rulemaking action. These forums were           reasonable time frame. USDA received          USDA reviews the comments received
held at Sacramento, California;                another 28 comments related to                from the public, those comments
Longmont, Colorado; Columbus,                  mitigation banking.                           concerning new regulatory provisions
Georgia; Springfield, Illinois;                   USDA received 68 comments related          will receive greater consideration.
Wyomissing, Pennsylvania; Sioux Falls,         to certification of wetland                      In addition to revisions necessary to
South Dakota; Abilene, Texas, Spokane,         determinations. Some commenters               accommodate changes in the Act, USDA
Washington; and, Washington, D.C.              favored reviewing all wetland                 makes several changes to interpret,
More than 850 people, including 206            determinations and correcting errors;         clarify, or specify procedures followed
speakers, attended these forums. In            other commenters favored not reviewing        in the implementation for the HEL and
addition, USDA accepted written                existing wetland determinations. Some         WC provisions. USDA invites public
comments. The USDA considered the              commenters suggested that landowners          comment on these changes.
public comments provided at these              should be formally notified of the
forums in the preparation of this interim      certification of wetland determinations.      Amendments to the HEL Provisions
final rule. The documents relating to          Some commenters suggested that NRCS              USDA finds that the following
these forums are available for public          should be the lead agency for wetland         regulatory changes will improve the
inspection at Room 6029 South                  determinations. Section 12.30(c)              quality of implementation of the HEL
Building, USDA, 14th and                       describes the proposed approach to            provisions of the 1985 Act:
Independence Ave. SW, Washington,              certification of wetland determinations.         • Section 12.5(a)(6)(ii) is amended to
D.C. The following discussion is a brief       It also specifies that a certified wetland    list factors that NRCS will consider
3summary of how USDA responded to              determination will remain valid and in        when a landowner requests a variance
the issues generated by the comments:          effect until the person affected by the       related to weather, pest, or disease
   USDA received seven comments                certification requests review of the          problems.
related to the granting of variance for        certification by NRCS.                           • Section 12.22(c) is added to clarify
persons who fail to meet the highly               USDA received 17 comments related          that when fields are combined, the part
erodible land conservation                     to the role of FWS in carrying out the        of the new field that was previously a
requirements. Section 12.5(a)(6)(ii)           wetland conservation provisions. Of           highly erodible field shall continue to
addresses procedures for granting              these, four commenters expressed              be subject to the highly erodible land
variances for weather, pest, and disease       support for FWS involvement and eight         requirements.
problems, and the factors that NRCS            commenters favored decreasing the role           • Section 12.23(a) is amended to
will consider in granting those                of the FWS. Five commenters made no           clarify that the adequacy of a
variances.                                     specific recommendation. The 1996 Act         conservation system will be evaluated
   USDA received three comments                removed the requirement for                   according to whether it conforms to the
related to procedures for determining          consultation with FWS, and that               NRCS field office technical guide in use
whether a conservation system results          requirement has been removed from the         at the time that the plan or system is
in a substantial reduction in erosion.         rule. In addition, § 12.30 defines the role   developed or revised.
Section 12.23 addresses procedures for         of the FWS in carrying out the wetland           • Section 12.23(b) is added to clarify
evaluating conservation systems for            conservation provisions.                      procedures to be used to evaluate the
land with and without cropping history.           USDA received 36 comments related          adequacy of conservation systems for
   USDA received 25 comments related           to prior-converted cropland issues and        achieving substantial reduction in soil
to policies regarding when a violation is      abandonment of wetlands. Of these, 19         erosion on land with and without
in good faith. Sections 12.5(a)(5) and         commenters expressed support for the          cropping history.
(b)(5) address procedures for                  ‘‘once a PC, always a PC’’ change made           • Section 12.23(c) is added to specify
determining when a violation is in good        by the 1996 Act; three commenters             that conservation field trials included in
faith.                                         expressed concern over that change.           a person’s conservation plan must have
   USDA received 16 comments related           Section 12.33 incorporates changes            prior approval by NRCS and must be
to procedures for conducting status            made by the 1996 Act amendments.              documented in the person’s
reviews. Although procedures for                  USDA received four comments stating        conservation plan specifying the limited
conducting status reviews are not              that NRCS should withdraw from the            time period during which the field trial
addressed in the rule, the NRCS will           Interagency Memorandum of Agreement           is in effect.
consider these comments in preparing           on Wetlands (MOA) with FWS,                      • Section 12.23(j) sets forth the
its internal operating procedures.             Environmental Protection Agency               factors to be considered by the FSA
   USDA received 46 comments related           (EPA), and the U.S. Army Corps of             State Committee in determining
to procedures on wetland mitigation;           Engineers (Corps). This comment is            whether to grant a person’s request for
these included the suggestion that             outside the scope of this rule, but as        relief based on undue economic
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hardship in implementing a                    rule ‘‘do not supersede the wetland          agreements between persons and NRCS,
conservation system.                          protection authorities and                   the re-establishment of agriculture use
                                              responsibilities of the Environmental        on abandoned farmed wetlands and
Amendments to the WC Provisions
                                              Protection Agency [EPA] or the Corps of      farmed-wetland pasture, conversions
   USDA finds that the following              Engineers [the Corps] under Section 404      due to NRCS wetland determination
changes will improve the                      of the Clean Water Act.’’ This rule is       errors, and drainage maintenance. As
implementation of the WC provisions of        promulgated under the authority of the       part of this effort, the Corps intends to
the 1985 Act (WC provisions):                 1985 Act, as amended, and therefore          develop a new Clean Water Act
   Identification of wetland types: The       does not affect the obligations of any       nationwide permit that addresses NRCS
WC provisions clearly limit the               person under other Federal statutes, or      minimal effects determinations, NRCS
conversion of wetlands and the planting       the legal authorities of any other Federal   mitigation requirements, and modify the
of an agricultural commodity on a             agency including, for example, EPA’s         existing nationwide permit that
converted wetland, yet the technical          authority to determine the geographic        addresses voluntary wetland restoration
identification of when these provisions       scope of Clean Water Act jurisdiction.       (See 61 FR part VII (June 17, 1996)).
are triggered can prove complex. Even         Nonetheless, NRCS, the Corps, and EPA           In the MOA, the agencies agreed to
though the 1985 Act implicitly                place a high priority on adopting            follow certain guidelines for delineating
identifies three distinct land types          procedures and policies that minimize        wetlands. The MOA agencies currently
(wetlands, converted wetlands, and            duplication and inconsistencies              use the 1987 Corps of Engineers
non-wetlands), the inherent complexity        between the wetland conservation             Wetland Delineation Manual (1987
of natural systems and the diversity of       provisions of the 1985 Act and the           Corps Manual) for delineating wetlands
land management methods available to          Clean Water Act section 404 programs.        on areas where the native vegetation is
an agricultural producer require that         To help achieve these important policy       intact (i.e., non-agricultural lands) and
greater sophistication be used in             objectives, on January 6, 1994, four         use the National Food Security Act
application of broad national standards       Federal agencies with wetland                Manual, Third ed. (NFSAM), for
to local conditions. Some areas of land       responsibilities (USDA, EPA, the             delineating wetlands on areas where the
have been planted to an agricultural          Department of the Interior, the              native vegetation has been removed due
commodity but still exhibit the               Department of the Army) entered into a       to ongoing agricultural activities (i.e.,
characteristic of a natural wetland if        Memorandum of Agreement (MOA),               agricultural lands).
cropping ceases for even a short period       regarding the delineation of wetlands           Copies of the NFSAM and the MOA
of time. Likewise, areas managed for hay      for purposes of section 404 of the Clean     are available from the NRCS, P.O. Box
or pasture can exhibit the characteristics    Water Act and the WC provisions. This        2890, Washington, D.C., 20013. Copies
of a natural wetland if the management        MOA provides a framework for                 of the 1987 Corps Manual are available
of the area ceases. Some activities can       continuing coordination between the          from the National Technical Information
permanently remove most of the water          Federal agencies regarding the               Service (NTIS), 5285 Port Royal Road,
from an area without making the               administration of Federal wetland laws.      Attn: Order Department, Springfield,
production of an agricultural                 Consistent with the objectives of the        Virginia, 22171. Copies of the
commodity possible while natural              MOA, the NRCS will continue to               Supplemental guidance issued by the
events can make the production of an          coordinate with the other Federal            Corps concerning use of the 1987
agricultural commodity possible               agencies in the development of its           Manual (i.e., the October 7, 1991,
without permanently removing water            policies and procedures related to the       Questions and Answers, and the March
from an area.                                 implementation of these regulations.         6, 1992, Clarification and Interpretation
   Since 1987, USDA has identified in           More specifically, the agencies will       Memorandum) may be obtained by
policy the threshold characteristics that     coordinate to develop policies and           contacting the Regulatory Branch of the
define when: a wetland has been               procedures for evaluating the accuracy       local Corps district, the EPA Wetlands
manipulated sufficiently to make the          of existing non-certified wetland            Hotline at (800) 832–7828, or the
production of an agricultural                 determinations made by NRCS. The             Regulatory Branch of Corps
commodity possible; a wetland is              necessary first step in these procedures     headquarters (Office of the Chief of
‘‘converted;’’ conditions meet a              will be to make an assessment of the         Engineers) at (202) 272–0199. NRCS will
particular exemption identified under         quality of previous determinations.          publish notice in the Federal Register
the 1985 Act; and a producer has              After completing the quality assessment,     concerning a change in the Federal
expanded the drainage system beyond           in order to provide certainty for the        wetland delineation criteria that may be
what existed prior to December 23,            agricultural community, the Federal          used in implementation of the WC
1985. The USDA is adding definitions to       agencies will complete the process of        provisions.
§ 12.2 to state more precisely the variety    validating prior determinations in an           This interim final rule, however, only
of wetland types found in the                 expeditious manner.                          applies to administration of Title XII of
agricultural landscape. Section 12.5 and        It is also the goal of the agencies to     the 1985 Act. As discussed earlier, the
§§ 12.30–12.33 are amended to describe        minimize duplication and                     four agencies have identified a need to
how these wetland types relate to             inconsistencies between the WC               expand and revise the MOA to assure
particular exemptions from ineligibility.     provisions and the Clean Water Act. The      consistency and fairness in the
In this manner, agricultural producers        agencies will coordinate to develop          implementation of these acts. The
are provided the maximum flexibility to       policies and procedures to minimize          current MOA will remain in effect until
manage their lands in a manner that will      duplication and inconsistencies              it is amended or rescinded by the four
not trigger the ineligibility provisions of   between the WC provisions and the            agencies.
the 1985 Act.                                 Clean Water Act programs regarding              A goal of the Administration’s 1993
   Coordination with other Federal            other issues; in particular, conversion      Wetlands Plan is to harmonize the WC
agencies: Consistent with the intent          for non-agricultural use, minimal effects    provisions and the Clean Water Act to
expressed in the Manager’s Report             determinations (including categorical        the extent practicable. These regulations
accompanying the 1996 Act                     minimal effects exemptions), mitigation      are modified in several ways to further
amendments, the changes made in this          determination, or other written              the President’s Wetlands Plan. In
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particular, § 12.5(b)(5) provides that        Other provisions of the rule have been       the problem is not corrected, the
when a person requests relief on the          amended, including § 12.5 and                ineligibility provisions of § 12.4 will
basis that an action was conducted in         §§ 12.31–.33, to incorporate these new       apply. Section 12.5(a)(6) grants an
good faith, USDA may consider whether         definitions where applicable.                automatic variance if within 30 days
the person has a record of violating the         The 1996 Act amendments provide           NRCS fails to respond to a persons
wetland provisions of these regulations       that a person who converts a wetland         request for a variance because of
or other Federal, State, or local wetland     may remain eligible for USDA program         weather, pest, or disease. It describes
provisions.                                   benefits if the loss of wetland functions    criteria that NRCS will consider when
   Additionally, § 12.6(e) is added to        and values are mitigated through the         determining whether to grant a variance
state that NRCS may accept the                restoration, enhancement, or creation of     for a natural disaster such as weather,
assistance of other Federal agencies to       a wetland. Therefore, definitions for        pest, or disease. NRCS is especially
carry out the wetland responsibilities of     ‘‘creation’’, ‘‘enhancement’’, and           soliciting comments on how these
these regulations. Sections 12.30(a) and      ‘‘restoration’’, have been added to          criteria may be specified to ensure that
(b) provide that NRCS will consult with       clarify this new flexibility.                variances are granted where
FWS at the State level to develop a              Section 12.3: This interim final rule     appropriate.
process for implementation of the WC          applies to all actions taken after July 3,     Under § 12.5(b), the exemptions from
provisions.                                   1996, and to determinations made after,      ineligibility relative to wetland
   Section 12.30(c) describes the             or pending on, July 3, 1996, the date on     conservation, there exists a new
procedure for certification of wetland        which the HEL and WC statutory               exemption for land that was certified as
determinations and specifies that             amendments become effective. This            having been converted prior to
certified wetland determinations will         section is amended to reflect the passage    December 23, 1985, (prior-converted
meet current Federal mapping                  of the 1996 Act and the scope of these       croplands), but had returned to wetland
conventions.                                  new provisions.                              characteristics after that date. This
   A certified wetland determination             Section 12.4: Section 12.4 describes      exemption provides that if certain
will remain in effect unless the person       the actions that will cause a person to      requirements are met, a prior-converted
affected by the certification requests a      lose eligibility for USDA program            cropland will not be considered
review under certain circumstances or         benefits and the program benefits that       abandoned for purposes of
the wetland characteristics are changed       are subject to reduction or loss. The        implementation of these regulations.
as a result of human activities.              1996 Act treats HEL and WC differently       Likewise, there exists another new
   Section 12.31(b)(3) is amended to          regarding the programs encompassed by        exemption for areas that NRCS
provide that the determination of             each provision and the extent of the         determined were manipulated but were
prevalence of hydrophytic vegetation          sanctions if the provisions are violated.    not completely converted prior to
will be made in accordance with the           Section 12.4 deletes applicability to        December 23, 1985, (farmed wetlands
current Federal wetland delineation           some programs, such as crop insurance        and farmed-wetland pastures), but may
methodology in use at the time of the         and obsolete programs. A person who          revert to wetland status through a
determination. This change assures that       violates the WC provisions may lose all      voluntary restoration, enhancement, or
the four agencies will utilize consistent     or only a portion of certain USDA            creation action. This exemption
and up-to-date technical standards and        benefits, but a person who violates HEL      provides that if certain requirements are
criteria.                                     could lose all of of these same benefits     met, the area will not be considered
                                              and additional program benefits.             abandoned for purposes of
Summary of Rule Modifications                 Sections 12.4(c) is amended to include       implementation of these regulations.
  Based on the changes in the 1996 Act        an interpretation of which crop year’s         These exemptions do not address how
and the other considerations set forth        benefits are affected by a violation         the Corps may treat these wetland types
above, the changes to 7 CFR part 12           decision, and sets forth the factors that    for purposes of section 404 of the Clean
adopted in this notice are as follows:        FSA will consider in determining the         Water Act. The Corps has a notice in 61
                                              extent of benefits to be lost based on the   FR part VII (June 17, 1996) to issue,
Subpart A                                     seriousness of the violation.                reissue, and modify the nationwide
   This interim final rule adds several          Section 12.5: The 1996 Act                permits for section 404 of the Clean
new definitions to § 12.2. The                amendments modify the provisions of          Water Act that addresses these issues.
Department of Agriculture                     § 12.5 regarding the exemptions from           The 1996 Act provides that certain
Reorganization Act of 1994 abolished          ineligibility for USDA program benefits.     wetland conversion activities that were
several agencies and established new          Section 12.5(a) addresses the                conducted pursuant to a permit issued
agencies to assume Department                 exemptions that apply to HEL and             under section 404 of the Clean Water
responsibilities. Therefore, § 12.2 is        § 12.5(b) addresses the exemptions that      Act may be exempt from ineligibility
amended to reflect the new agencies           apply to WC.                                 under the WC provisions, if the
with responsibilities for implementation         Section 12.5(a)(5) specifies that HEL     conversion activity was adequately
of these regulations.                         violations that are determined to have       mitigated for purposes of these
   Section 12.2: This interim final rule      been made in good-faith are eligible for     provisions. This rule provides that a
adds new definitions for ‘‘conservation       graduated sanctions if they were on land     person who received an individual
plan,’’ ‘‘conservation system,’’ and          that was converted from native               permit under section 404 of the Clean
‘‘field’’ as stated in the statute. It also   vegetation, i.e., rangeland or woodland,     Water Act after December 23, 1985, and
adds several new definitions related to       to crop production after December 23,        met certain sequencing requirements, is
types of wetlands and management              1985. For good faith violations on land      exempt from the ineligibility provisions
actions related to wetlands that have         that was converted from native               of these regulations.
previously only been identified in            vegetation, i.e., rangeland or woodland,       This rule, however, provides that a
policy. Definitions for ‘‘prior-converted     to crop production before December 23,       person whose conversion activity is
cropland,’’ ‘‘farmed wetland,’’ ‘‘farmed-     1985, the person will be allowed up to       encompassed by a nationwide or
wetland pasture,’’ and ‘‘commenced-           one year to correct the problem before       regional general permit issued pursuant
conversion wetland’’ have been added.         being found ineligible. After one year, if   to section 404 of the Clean Water Act
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may not be exempt under these                  The 1996 Act provides that USDA           in a plan or measurement of residue
regulations. USDA will evaluate             may expend Federal funds for the             required by a plan.
whether any mitigation was required,        establishment of a pilot program for            Section 12.8: Section 12.8 is amended
and whether the wetland functions and       mitigation banking. USDA has not yet         to revise the definition of affiliated
values lost by the conversion activity      decided whether it will establish such a     persons for the purpose of determining
were adequately replaced before USDA        pilot program or what the particulars of     whose benefits may be affected by a
decides whether the conversion activity     such a program would be. During the          decision and to what extent. In
is exempt from ineligibility under these    public comment period, USDA is               particular, § 12.8(b) is amended to
regulations.                                especially soliciting comments from the      provide that spouses who provide
   The regulations that existed prior to    public regarding this subject.               sufficient evidence of separate
this interim final rule described a            The 1996 Act removes the                  operations shall not be considered
detailed procedure by which a person        requirement for graduated sanctions if       affiliates, and partnerships, trusts, and
could receive a commenced conversion        the FSA determines that a wetland            joint ventures are not considered
determination from FSA. Persons who         violation was committed in good faith.       affiliates if the interest is held indirectly
believed that they qualified for such a     Central to the determination about           through another business enterprise.
determination had to request one from       whether a person acted in good faith is      Section 12.8(d) limits the reduction in
FSA by September 19, 1988. The              the knowledge available to the person        payments for partnerships, joint
purpose of the determination was to         concerning the existence of a wetland        ventures, trust, or other enterprises to
minimize any unnecessary economic           on the subject land. This knowledge can      the extent of interest held by the person
hardship to someone who had incurred        either be direct, such as information        responsible for the violation. Section
substantial financial obligations related   received from NRCS in the form of a          12.8(e) states that limitations on
to the conversion of a wetland prior to     wetland determination, or can be             affiliations if action has been taken to
December 23, 1985, but had not actually     inferred from a person’s past experience     avoid payment reductions for
converted the wetland by that date. Any     with violating wetland laws or               partnerships, joint ventures, trusts, or
person who received a commenced-            regulations. This interim final rule         the application of the sanctions
conversion wetland determination had        provides that if a person is considered      provided for in the regulations.
to complete the conversion activity by      to have acted in good faith and the
January 1, 1995, to retain the exemption                                                 Subpart B
                                            person agrees to implement a mitigation
status. Because the commenced               plan, then USDA may waive applying             Section 12.21: Section 12.21 is
conversion determination had to be          the ineligibility provisions of § 12.4.      amended to include a reference to
received by 1988 and the conversion                                                      publication of soil loss equations at 7
                                               Section 12.6: Section 12.6 concerns
had to be completed by the end of 1994,                                                  CFR part 610.
                                            the respective responsibilities of USDA
the references in the rule related to the                                                  Section 12.22: Section 12.22 is
                                            agencies; the new responsibilities
process to obtain a determination have                                                   amended to allow combining HEL and
                                            created by the 1996 Act have been
been removed. If a person completed                                                      non-HEL fields, but the requirements of
                                            added. Section 12.6(b) is amended to
conversion activity by January 1, 1995,                                                  these regulations continue to apply to
                                            specify that FSA is responsible for
the land will qualify for the same                                                       the previous HEL portion only.
                                            determining the extent of reduction in         Section 12.23: Section 12.23 is
exemptions from ineligibility as prior-
                                            benefits for wetland violations based on     amended to specify that: conservation
converted cropland. If, however, a
person did not complete the conversion      the seriousness of the violation, and for    systems shall be technically and
activity by that date, the land will be     determining whether a person should          economically feasible (based on local
subject to the same requirements under      receive relief because application of a      resource conditions and available
this rule as farmed wetlands.               conservation system would result in          technology), cost effective, and shall not
   The 1996 Act provides that a person      undue economic hardship. Section             cause undue economic hardship; the
may remain eligible for an action           12.6(c) is amended to reflect that NRCS      standard for determining whether a plan
resulting in the conversion of a wetland    is responsible for providing information     provides a substantial reduction in
if the wetland functions and values are     to FSA relating to the seriousness of a      erosion is the estimated annual level of
adequately mitigated through the            violation.                                   erosion compared to the level before the
restoration of a converted wetland, the        In response to the need to coordinate     system is applied; for new land brought
enhancement of an existing wetland, or      with the MOA agencies regarding              into production, in no case will the
the creation of a new wetland. Section      wetland determinations, a new                required conservation system permit a
12.5(b)(4) provides that this exemption     paragraph has been added to § 12.6 New       substantial increase in erosion;
applies if the mitigation is completed in   paragraph (f) provides that NRCS may         procedures for conducting field trials as
accordance with several requirements,       accept the assistance of the MOA             on-farm reseach; and procedures and
including that the person implement a       agencies in implementing these               criteria used by FSA when a person
mitigation plan approved by NRCS. The       regulations. This paragraph also             requests relief based on undue
mitigation plan may be a single             confirms that NRCS will continue to          economic hardship.
document or it may be a component of        seek the coordination of the other
a larger conservation plan created          agencies on wetland matters to increase      Subpart C
voluntarily by the program participant.     the public’s understanding of the              Subpart C addresses the technical
The requirements for this exemption are     importance of wetland functions and          responsibilities of NRCS and the
similar to the requirements for             values and the objectives of the WC          technical criteria used to make the
restoration of a converted wetland          provisions and the Clean Water Act.          necessary determinations for wetland
under the current regulations, such as         Section 12.7: Section 12.7 addresses      conservation under these regulations.
the granting of an easement to USDA,        certification by a program participant         Section 12.30: Section 12.30 is
recording an easement on the public         that such participant is in compliance       amended to reflect that NRCS will
land records, and that such mitigation      with the HEL and WC provisions.              continue to work with the Corps, EPA,
not be at the expense of the Federal        Section 12.7 is amended to allow a           and FWS to improve the quality of
government.                                 person to certify application of practices   wetland determinations and other
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processes that affect the implementation     especially seeking comments regarding        PART 12—HIGHLY ERODIBLE LAND
of the WC provisions.                        implementation of this process.              AND WETLAND CONSERVATION
   The 1996 Act repealed the                    Section 12.31; Section 12.31 is
requirement for consultation with FWS,       amended to reflect that NRCS will            Subpart A—General Provisions
thus allowing the Secretary to determine     utilize the 1987 Corps Manual for            Sec.
under what circumstances FWS should          determining the prevalence of                12.1 General.
be utilized in the implementation of the     hydrophytic vegetation. Section 12.31 is     12.2 Definitions.
WC provisions. Section 12.30 is              also amended to add the criteria for         12.3 Applicability.
amended to reflect that NRCS will            determining ‘‘categorical minimal effect     12.4 Determination of ineligibility.
                                                                                          12.5 Exemptions.
develop a process at the State level, in     exemptions.’’ If NRCS identifies any
                                                                                          12.6 Administration.
coordination with FWS, for                   categories of conversion activities and      12.7 Certification of compliance.
implementing the WC provisions and           conditions which would only have a           12.8 Affiliated persons.
review such implementation on an             minimal effect on wetland functions          12.9 Landlords and tenants.
annual basis. The technical expertise of     and values, then such activities and         12.10 Scheme or device.
FWS may be utilized whenever NRCS            conditions will be placed on a list of       12.11 Action based upon advice or action of
determines that such expertise is            ‘‘categorical minimal effect exemptions’’         USDA.
needed to address adequately the             and such conversion activities and           12.12 Appeals.
requirements of the WC provisions or to      conditions will be considered exempt         Subpart B—Highly Erodible Land
enhance the quality of implementation.       from the ineligibility provisions of these   Conservation
   Under the new mitigation flexibility      regulations. NRCS will incorporate such      12.20 NRCS responsibilities regarding
provided by the 1996 Act, the expertise      activities and conditions in the                 highly erodible land.
of FWS will be valuable for conducting       provisions of these regulations USDA is      12.21 Identification of highly erodible lands
wetland functional assessments               especially seeking comments regarding            criteria.
associated with minimal effects              implementation of this new exemption.        12.22 Highly erodible field determination
determinations and formulation of            For purposes of the Clean Water Act, the         criteria.
mitigation plans. The State-level process    Corps intends to address this provision      12.23 Conservation plans and conservation
is intended, in part, to identify any        as part of its reissuance of the Clean           systems.
geographic or programmatic areas where       Water Act section 404 nationwide             Subpart C—Wetland Conservation
NRCS may need additional technical           permits (See 61 FR part VII (June 17,        12.30 NRCS responsibilities regarding
expertise to assess biological impacts of    1996)).                                          wetlands.
proposed wetland conversions.                   Sections 12.32 and 12.33: Sections        12.31 Onn-site wetland identification
   Section 12.30 is also amended to          12.32 and 12.33 have been amended to             criteria.
address the process for certification of     incorporate the definitions for farmed       12.32 Converted wetland identification
wetland determinations for the               wetland, farmed-wetland pasture,                 criteria.
implementation of the WC provisions of       commenced-conversion wetland, and            12.33 Use of wetland and converted
the 1985 Act. If NRCS certified a            prior-converted cropland, where                  wetland.
wetland determination prior to July 3,                                                    12.34 Paperwork Reduction Act assigned
                                             appropriate.
1996, the certification will remain valid.                                                    number.
                                                Section 12.33: Section 12.33 has also
Upon request, a person may obtain            been amended to modify the conditions          Authority: 16 U.S.C. 3801 et seq.
certification of a wetland determination.    under which NRCS will consider a
A certified wetland determination                                                         Subpart A—General Provisions
                                             particular site to be abandoned for
means that the determination is of           purposes of these regulations. A person      § 12.1 General.
sufficient quality to make a                 who wishes to allow a particular site to       (a) Scope. This part sets forth the
determination of ineligibility for           revert to wetland conditions should          terms and conditions under which a
program benefits under these                 contact NRCS to ascertain what               person who produces an agricultural
regulations. As indicated above, NRCS        documentation is necessary to prevent        commodity on highly erodible land or
will continue to work with the other         such land from being considered
MOA agencies to coordinate the                                                            designates such land for conservation
                                             abandoned for purposes of the WC             use, plants an agricultural commodity
identification and certification of          provisions of these regulations. For
wetlands for the purposes of these                                                        on a converted wetland, or converts a
                                             purposes of the Clean Water Act, the         wetland shall be determined to be
regulations and for the Clean Water Act.     Corps intends to address this provision
The agencies recognize the importance                                                     ineligible for certain benefits provided
                                             as part of its re-issuance of the Clean      by the United States Department of
of providing certainty for the               Water Act section 404 nationwide
agricultural community as to the status                                                   Agriculture (USDA) and agencies and
                                             permits (See 61 FR part VII (June 17,        instrumentalities of USDA.
of their wetland determinations which        1996)).
have not been certified. The Federal                                                        (b) Purpose. The purpose of the
                                                The amendments to part 12 do not
agencies are therefore considering                                                        provisions of this part are to remove
                                             affect the recordkeeping requirements
establishing a specific time frame for                                                    certain incentives for persons to
                                             and estimated burdens previously
completing the evaluation of existing                                                     produce agricultural commodities on
                                             reviewed and approved under Office of
wetland determinations. During this                                                       highly erodible land or converted
                                             Management and Budget control
time frame, an evaluation would be                                                        wetland and to thereby—
                                             number 0560–0004.
made as to the accuracy of wetland                                                          (1) Reduce soil loss due to wind and
determinations within a given                List of Subjects in 7 CFR Part 12            water erosion;
geographic area or of a specific type of       Administrative practices and                 (2) Protect the Nation’s long-term
wetland. Based on the evaluation,            procedures, Soil Conservation,               capability to produce food and fiber;
landowners would be notified whether         Wetlands.                                      (3) Reduce sedimentation and
their current wetland determinations are       Accordingly, Title 7 of the Code of        improve water quality; and
acceptable for both the WC provisions        Federal Regulations is amended by              (4) Assist in preserving the functions
and the Clean Water Act. USDA is             revising Part 12 as follows:                 and values of the Nation’s wetlands.
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§ 12.2 Definitions.                          conservation or other non-crop                     Landlord means a person who rents or
   (a) General. The following definitions    production uses.                                leases farmland to another person.
shall be applicable for the purposes of         Creation of a wetland means the                 Local FSA office means the county
this part:                                   development of the hydrologic,                  office of the Farm Service Agency
   Agricultural commodity means any          geochemical, and biological components          serving the county or a combination of
crop planted and produced by annual          necessary to support and maintain a             counties in the area in which a person’s
tilling of the soil, including tilling by    wetland where a wetland did not                 land is located for administrative
one-trip planters, or sugarcane.             previously exist. Any wetland                   purposes.
   CCC means the Commodity Credit            established on a non-hydric soil will be           NRCS means the Natural Resources
Corporation, wholly-owned government         considered a created wetland.                   Conservation Service, an agency within
corporation within USDA organized               CSREES means the Cooperative State           USDA which is generally responsible
under the provisions of 15 U.S.C. 714 et     Research, Education, and Extension              for providing technical assistance in
seq.                                         Service, an agency of USDA which is             matters of natural resources
   Conservation District (CD) means a        generally responsible for coordinating          conservation and for administering
subdivision of a State or local              the information and educational                 certain conservation programs of USDA.
government organized pursuant to the         programs of USDA.                                  Operator means the person who is in
applicable law to develop and                   Department means the United States           general control of the farming
implement soil and water conservation        Department of Agriculture (USDA).               operations on the farm during the crop
activities or programs.                         Enhancement of a wetland means the           year.
                                             alteration of an existing wetland to               Owner means a person who is
   Conservation plan means the
                                             increase its specific functions and             determined to have legal ownership of
document that—
                                             values. Enhancement actions include             farmland and shall include a person
   (1) Applies to highly erodible
                                             new capabilities, management options,           who is purchasing farmland under
cropland;
                                             structures, or other actions to influence       contract.
   (2) Describes the conservation system                                                        Person means an individual,
applicable to the highly erodible            one or several functions and values.
                                                                                             partnership, association, corporation,
cropland and describes the decisions of         Erodibility index means a numerical
                                                                                             cooperative, estate, trust, joint venture,
the person with respect to location, land    value that expresses the potential
                                                                                             joint operation, or other business
use, tillage systems, and conservation       erodibility of a soil in relation to its soil
                                                                                             enterprise or other legal entity and,
treatment measures and schedules; and        loss tolerance value without
                                                                                             whenever applicable, a State, a political
   (3) Is approved by the local soil         consideration of applied conservation
                                                                                             subdivision of a State, or any agency
conservation district in consultation        practices or management.
                                                                                             thereof, and such person’s affiliates as
with the local committees established           FSA means the Farm Service Agency,
                                                                                             provided in § 12.8 of this part.
under section 8(b)(5) of the Soil            an agency of USDA which is generally               Restoration of a wetland means the re-
Conservation and Domestic Allotment          responsible for administering                   establishment of wetland conditions,
Act (16 U.S.C. 590h(b)(5)) and the           commodity production adjustment and             including hydrologic condition or
Natural Resources Conservation Service       certain conservation programs of USDA.          native hydrophytic vegetation, to an
(NRCS) for purposes of compliance with          Field means a part of a farm that is         area where a wetland had previously
this part.                                   separated from the balance of the farm          existed.
   Conservation system means a               by permanent boundaries such as                    Secretary means the Secretary of
combination of one or more                   fences, roads, permanent waterways, or          USDA.
conservation measures or management          other similar features. At the option of           Sharecropper means a person who
practices that are—                          the owner or operator of the farm,              performs work in connection with the
   (1) Based on local resource               croplines may also be used to delineate         production of a crop under the
conditions, available conservation           a field if farming practices make it            supervision of the operator and who
technology, and the standards and            probable that the croplines are not             receives a share of such crop for such
guidelines contained in the NRCS field       subject to change. Any highly erodible          labor.
office technical guides (available from      land on which an agricultural                      Soil map unit means an area of the
NRCS State offices); and                     commodity is produced after December            landscape shown on a soil map which
   (2) Designed for purposes of this part    23, 1985, and is not exempt under               consists of one or more soils.
to achieve, in a cost-effective and          § 12.5(a), shall be considered part of the         State means each of the 50 states, the
technically practicable manner, a            field in which the land was included on         District of Columbia, the
substantial reduction in soil erosion or     December 23, 1985, unless, to carry out         Commonwealth of Puerto Rico, Guam,
a substantial improvement in soil            this title, the owner and FSA agree to          the Virgin Islands of the United States,
conditions on a field or group of fields     modify the boundaries of the field.             American Samoa, the Commonwealth of
containing highly erodible cropland             Highly erodible land means land that         the Northern Mariana Islands, or the
when compared to the level of erosion        has an erodibility index of 8 or more.          Trust Territory of the Pacific Islands.
or soil conditions that existed before the      Hydric soils means soils that, in an            Tenant means a person usually called
application of the conservation              undrained condition, are saturated,             a ‘‘cash tenant’’, ‘‘fixed-rent tenant’’, or
measures and management practices.           flooded, or ponded long enough during           ‘‘standing rent tenant’’ who rents land
   Conservation use or set aside means       a growing season to develop an                  from another for a fixed amount of cash
cropland that is designated as               anaerobic condition that supports the           or a fixed amount of a commodity to be
conservation-use acreage, set aside, or      growth and regeneration of hydrophytic          paid as rent; or a person (other than a
other similar designation for the            vegetation.                                     sharecropper) usually called a ‘‘share
purpose of fulfilling provisions under          Hydrophytic vegetation means plants          tenant’’ who rents land from another
any acreage-limitation or land-diversion     growing in water or in a substrate that         person and pays as rent a share of the
program administered by the Secretary        is at least periodically deficient in           crops or proceeds therefrom. A tenant
of Agriculture requiring that the            oxygen during a growing season as a             shall not be considered the farm
producer devote a specified acreage to       result of excessive water content.              operator unless the tenant is determined
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to be the operator pursuant to this part     December 23, 1985, did not support            digital imagery, other graphic
and 7 CFR part 718.                          woody vegetation and met the following        representation of the area, or on the
    Wetland, except when such term is a      hydrologic criteria:                          land.
part of the term ‘‘converted wetland’’,        (i) Is inundated for 15 consecutive           (b) Terms for FSA operations. In the
means land that—                             days or more during the growing season        regulations in this part, and in all
    (1) Has predominance of hydric soils;    or 10 percent of the growing season,          instructions, forms, and documents in
    (2) Is inundated or saturated by         whichever is less, in most years (50          connection therewith, all other words
surface or groundwater at a frequency        percent chance or more), or                   and phrases specifically relating to FSA
and duration sufficient to support a           (ii) If a pothole, playa, or pocosion, is   operations shall, unless required by the
prevalence of hydrophytic vegetation         ponded for 7 or more consecutive days         subject matter or the specific provisions
typically adapted for life in saturated      during the growing season in most years       of this part, have the meanings assigned
soil conditions; and                         (50 percent chance of more) or is             to them in the regulations at part 718 of
    (3) Under normal circumstances does      saturated for 14 or more consecutive          this title that govern reconstitutions of
not support a prevalence of such             days during the growing season in most        farms, allotments, and bases and any
vegetation, except that this term does       years (50 percent chance or more);            subsequent amendment thereto.
not include lands in Alaska identified as      (5) Farmed-wetland pasture is
having a high potential for agricultural     wetland that was manipulated and              § 12.3 Applicability.
development and a predominance of            managed for pasture or hayland prior to          (a) Geographic scope. The provisions
permafrost soils.                            December 23, 1985, and on December            of this part shall apply to all land,
    Wetland determination means a            23, 1985, met the following hydrologic        including Indian tribal land, in the fifty
decision regarding whether or not an         criteria:                                     States, the District of Columbia, the
area is a wetland, including                   (i) Inundated or ponded for 7 or more       Commonwealth of Puerto Rico, Guam,
identification of wetland type and size.     consecutive days during the growing           the Virgin Island of the United States,
A wetland determination may include          season in most years (5) percent chance       American Samoa, the Commonwealth of
identification of an area as one of the      or more), or                                  the Northern Mariana Islands, and the
following types of wetland—                    (ii) Saturated for 14 or more               Federated States of Micronesia, the
    (1) Artificial wetland is an area that   consecutive days during the growing           Republic of Palau, and the Republic of
was formerly non-wetland, but now            season in most years (50 percent chance       the Marshall Islands.
meets wetland criteria due to human          or more);                                        (b) Effective date. The provisions of
activities, such as:                           (6) Not-inventoried land, is an area for    this part apply to all actions taken after
    (i) An artificial lake or pond created   which no evaluation of soils, vegetation,     July 3, 1996, and to determinations
by excavating or diking land that is not     or hydrology has been conducted to            made after or pending on July 3, 1996,
a wetland to collect and retain water        determine if wetland criteria are met;        except to the extent that § 12.5(a)(5) and
that is used primarily for livestock, fish     (7) Non-wetland is;                         12.5 (b)(4) through (b)(8) specify
production, irrigation, wildlife, fire         (i) Land that under natural conditions      retroactive application on December 23,
control, flood control, cranberry            does not meet wetland criteria, or            1985, and November 28, 1990, for
growing, or rice production, or as a           (ii) Is converted wetland the               certain actions and determinations
settling pond; or                            conversion of which occurred prior to         regarding wetlands and converted
    (ii) A wetland that is temporarily or    December 23, 1985, and on that date,          wetlands. Actions taken and
incidentally created as a result of          the land did not meet wetland criteria        determinations made prior to July 3,
adjacent development activity;               but and agricultural commodity was not        1996, are subject to regulations set forth
    (2) Commenced-conversion wetland is      produced and the area was not managed         in this part as of July 2, 1996, except as
a wetland, farmed wetland, farmed-           for pasture or hay;                           otherwise provided in this part. Further,
wetland pasture, or a converted wetland        (8) Prior-converted cropland is a           to the extent that a person may be
on which conversion began, but was not       converted wetland where the                   eligible for an exemption for an action
completed, prior to December 23, 1985.       conversion occurred prior to December         taken before July 3, 1996, the action is
    (3) Converted wetland is a wetland       23, 1985, an agricultural commodity had       subject to the provisions of this part.
that has been drained, dredged, filled,      been produced at least once before
leveled, or otherwise manipulated            December 23, 1985, and as of December         § 12.4 Determination of ineligibility.
(including the removal of woody              23, 1985, the converted wetland did not          (a) Actions. Except as provided in
vegetation or any activity that results in   support woody vegetation and met the          § 12.5, a person shall be ineligible for all
impairing or reducing the flow and           following hydrologic criteria:                or a portion of USDA program benefits
circulation of water) for the purpose of       (i) Inundation was less than 15             listed in this section if:
or to have the effect of making possible     consecutive days during the growing              (1) The person produces an
the production of an agricultural            season or 10 percent of the growing           agricultural commodity on a field in
commodity without further application        season, whichever is less, in most years      which highly erodible land is
of the manipulations described herein        (50 percent chance or more); and              predominant, or designates such a field
if:                                            (ii) If a pothole, playa or pocosin,        for conservation use;
    (i) Such production would not have       ponding was less than 7 consecutive              (2) The person produces an
been possible but for such action, and       days during the growing season in most        agricultural commodity on wetland that
    (ii) Before such action such land was    years (50 percent chance or more) and         was converted after December 23, 1995;
wetland, farmed wetland, or farmed-          saturation was less than 14 consecutive       or
wetland pasture and was neither highly       days during the growing season most              (3) After November 28, 1990, the
erodible land nor highly erodible            years (50 percent chance or more); or         person converts a wetland by draining,
cropland;                                      (9) Wetland, as defined above in this       dredging, filling, leveling, removing
    (4) Farmed wetland is a wetland that     section.                                      woody vegetation, or other means for
prior to December 23, 1985, was                Wetland delineation means outlining         the purpose, or to have the effect, of
manipulated and used to produce an           the boundaries of a wetland                   making the production of an agricultural
agricultural commodity, and on               determination on aerial photography,          commodity possible.
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   (b) Highly erodible land. A person          (2) A farm credit program loan made         use, to have produced an agricultural
determined to be ineligible under            or guaranteed under the Consolidated          commodity on converted wetland, or to
paragraph (a)(1) of this section may be      Farm and Rural Development Act (7             have converted a wetland if:
ineligible for all program benefits listed   U.S.C. 1921 et seq.) or any other                (1) NRCS has determined that—
in (d) and (e) of this section.              provision of law administered by FSA if          (i) Highly erodible land is
   (c) Wetland conservation. A person        the Secretary determines that the             predominant in such field, or
determined to be ineligible under            proceeds of such loan will be used for           (ii) All or a portion of the field is
paragraph (a)(2) of this section shall be    a purpose that contributes to the             converted wetland; and
ineligible for all or a portion of the       conversion of wetlands that would make           (2) FSA has determined that the
USDA program benefits listed in              production of an agricultural                 person is or was the owner or operator
paragraph (d) of this section for which      commodity possible or for a purpose           of the land, or entitled to share in the
the person otherwise would have been         that contributes to excessive erosion of      crops available from the land, or in the
eligible during the crop year of the         highly erodible land (i.e., production of     proceeds thereof; and
commodity that was planted on the            an agricultural commodity or highly              (3) With regard to the provisions of
converted wetland. A person                  erodible land without a conservation          paragraph (a)(1) and (a)(2) of this
determined to be ineligible under            plan or conservation system as required       section, FSA has determined that the
paragraph (a)(3) of this section for the     by this part);                                land is or was planted to an agricultural
conversion of a wetland shall be               (3) A payment made pursuant to a            commodity or was designated as
ineligible for all or a portion of the       contract entered into under the               conversation use during the year for
USDA program benefits listed in              Environmental Quality Incentives              which the person is requesting benefits.
paragraph (d) of this section for which      Program under chapter 4 of subtitle D of         (h) Intent to participate in USDA
the person otherwise would have been         the Food Security Act of 1985, as             programs. Persons who wish to
eligible during the crop year which is       amended; or a payment under any other         participate in any of the USDA
equal to the calendar year during which      provision of Subtitle D of that Act;          programs described in paragraph (d) or
the violation occurred and each                (4) A payment made under section
                                                                                           (e) of this section are responsible for
subsequent crop year until the               401 or 402 of the Agricultural Credit Act
                                                                                           contacting the appropriate agency of
converted wetland is restored or the loss    of 1978 (16 U.S.C. 2201 or 2202);
                                               (5) A payment, loan, or other               USDA well in advance of the intended
of wetland functions and values have                                                       participated date so that Form AD–1026
been mitigated prior to the beginning of     assistance under section 3 or 8 of the
                                             Watershed Protection and Flood                can be completed. This contact will
such calendar year in accordance with                                                      help assure that the appropriate
§ 12.5(b)(4)(i) (A) and (C) through (F) of   Prevention Act (16 U.S.C. 1003 or
                                             1006a).                                       determinations regarding highly
this part. Ineligibility under paragraph                                                   erodible land or wetland, and
                                               (e) Programs subject to highly erodible
(a)(2) or (a)(3) of this section may be                                                    conversation plans or conversation
                                             land only. In addition to programs listed
reduced, in lieu of the loss of all                                                        systems are scheduled in a timely
                                             in paragraph (d) of this section, a person
benefits specified under paragraph (d) of                                                  manner. A late contact may not allow
                                             determined to be ineligible under
this section for such crop year, based on                                                  sufficient time for USDA to service the
                                             paragraph (a)(1) of this section shall be
the seriousness of the violation, as                                                       request and could result in a substantial
                                             ineligible as determined by FSA for the
determined by the FSA Deputy                                                               delay in receiving a USDA
                                             following USDA program benefits for
Administrator for Farm Programs or                                                         determination of eligibility or
                                             which the person otherwise would have
designee upon recommendation by the                                                        ineligibility.
                                             been eligible during the crop year for
FSA County Committee. Factors such as
                                             which the determination applies:              § 12.5 Exemption.
the information that was available to the      (1) A farm storage facility loan made
affected person prior to the violation,      under section 4(h) of the Commodity              (a) Exemptions regarding highly
previous land use patterns, the              Credit Corporation Charter Act (15            erodible land.
existence of previous wetland violations     U.S.C. 714b(h));                                 (1) Highly erodible cropland in
under this part or under other Federal,        (2) A disaster payment made under           production or in USDA programs during
State, or local wetland provisions, the      the Federal Agricultural Improvement          1981 through 1985 crop years. During
wetland functions and values affected,       and Reform Act, Pub. L. 104–127, or any       the period beginning on December 23,
the recovery time for full mitigation of     other act; and                                1985, and ending on the later of January
the wetland functions and values, and          (3) A payment made under section 4          1, 1990, or the date that is two years
the impact that a reduction in payments      or 5 of the Commodity Credit                  after the date the cropland on which an
would have on the person’s ability to        Corporation Charter Act (15 U.S.C. 714b       agricultural commodity is produced was
repay a USDA farm loan shall be              or 714c) for the storage of an agricultural   surveyed by NRCS to determine if such
considered to making this                    commodity acquired by the Commodity           land is highly erodible, no person shall
determination.                               Credit Corporation.                           be determined to be ineligible for
   (d) Programs subject to either highly       (f) Prior loans. The provisions of          benefits as provided in § 12.4 as the
erodible land or wetland conservation.       paragraphs (a), (b), and (c) of this          result of the production of an
USDA program benefits covered by a           section do not apply to any loan              agricultural commodity on any highly
determination of ineligibility under this    described in paragraphs (d) or (e) of this    erodible land:
rule are:                                    section that was made prior to                   (i) That was planted to an agricultural
   (1) Contract payments under a             December 23, 1985.                            commodity in any year 1081 through
production flexibility contract,               (g) Determination of ineligibility. For     1985; or
marketing assistance loans, and any          the purpose of paragraph (a) of this             (ii) That was set aside, diverted, or
type of price support or payment made        section, a person shall be determined to      otherwise not cultivated in any such
available under the Agricultural Market      have produced an agricultural                 crop years under a program
Transition Act, the Commodity Credit         commodity on a field in which highly          administered by the Secretary for any
Corporation Charter Act (15 U.S.C. 714       erodible land is predominant or to have       such crops to reduce production of an
et seq.), or any other Act;                  designated such a field for conservation      agricultural commodity.
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   (2) Compliance with a conservation        converted from native vegetation, i.e.       determined by NRCS, or upon such
plan or conservation system. as further      rangeland or woodland, to crop               other factors as FSA deems appropriate.
specified in this part, no person shall be   production before December 23, 1985, if         (iv) Any person whose benefits are
ineligible for the program benefits          FSA determines such person has acted         reduced in a crop year under paragraph
described in § 12.4 as the result of         in good faith and without the intent to      (a)(5) of this section may be eligible for
production of an agricultural                violate the provisions of this part and if   all of the benefits specified under § 12.4
commodity on highly erodible land or         NRCS determines that the person              (d) and (e) for any subsequent crop year
the designation of such land for             complies with paragraph (a)(5)(ii) of this   if NRCS determines that such person is
conservation use if such production or       section.                                     applying a conservation plan according
designation is in compliance with a             (ii) A person is who determined to        to the schedule set forth in the plan on
conservation plan or conservation            meet the requirements of paragraph           all highly erodible land planted to an
system approved under paragraph              (a)(5)(i) of this section shall be allowed   agricultural commodity or designated as
(a)(2)(i) or (a)(2)(ii) of this section. A   a reasonable period of time, as              conservation use.
person shall not be ineligible for           determined by NRCS, but not to exceed           (6) Allowable variances.
program benefits under § 12.4 as the         one year, during which to implement             (i) Notwithstanding any other
result of the production of an               the measures and practices necessary to      provisions of this part, no person shall
agricultural commodity on highly             be considered applying the person’s          be determined to be ineligible for
erodible land or as the result of            conservation plan. If a person does not      benefits as a result of the failure of such
designation of such land as conservation     take the required corrective actions, the    person to apply a conservation system if
use if the production or designation is:     person may be determined to be               NRCS determines that—
   (i) In an area within a CD, under a       ineligible for the crop year during which       (A) The failure is technical and minor
conservation system that has been            such actions were to be taken as well as     in nature and that such violation has
approved by the CD after the CD              any subsequent crop years.                   little effect on the erosion control
determines that the conservation system      Notwithstanding the good-faith               purposes of the conservation plan
is in conformity with technical              requirements of paragraph (a)(5)(i) of       applicable to the land on which the
standards set forth in the NRCS field        this section, if NRCS observes a possible    violation has occurred; or
office technical guide for such district;    compliance deficiency while providing           (B) The failure is due to
or                                           on-site technical assistance, NRCS shall     circumstances beyond the control of the
   (ii) In an area not within a CD, under    provide to the responsible person, not       person; or
a conservation system that has been          later than 45 days after observing the          (C) NRCS grants a temporary variance
approved by NRCS to be adequate for          possible violation, information              from the practices specified in the plan
the production of such agricultural          regarding actions needed to comply           for the purpose of handling a specific
commodity on highly erodible land or         with the plan and this subtitle. NRCS        problem, including weather, pest, and
for the designation of such land as          shall provide this information in lieu of    disease problems, which NRCS
conservation use.                            reporting the observation as a violation,    determines cannot reasonably be
   (3) Reliance upon NRCS                    if the responsible person attempts to        addressed except through such variance.
determination for highly erodible land.      correct the deficiencies as soon as             (ii) If the person’s request for a
A person may be relieved from                practicable, as determined by NRCS,          temporary variance involves the use of
ineligibility for program benefits as the    after receiving the information, and if      practices or measures to address
result of the production of an               the person takes corrective action as        weather, pest, or disease problems,
agricultural commodity which was             directed by NRCS not later than one          NRCS shall make a decision on whether
produced on highly erodible land or for      year after receiving the information. If a   to grant the variance during the 30-day
the designation of such land as              person does not take the required            period beginning on the date of receipt
conservation use in reliance on a            corrective actions, the person may be        of the request. If NRCS fails to render a
determination by NRCS that such land         determined to be ineligible for the crop     decision during the period, the
was not highly erodible land, except         year during which the compliance             temporary variance shall be considered
that this paragraph shall not apply to       deficiencies occurred as well as any         granted unless the person seeking the
any agricultural commodity that was          subsequent crop years.                       variance had reason to know that the
planted on highly erodible land, or for         (iii) No person shall become ineligible   variance would not be granted. In
the designation of highly erodible land      under § 12.4 as a result of failure to       determining whether to grant a variance
as conservation use after NRCS               apply a conservation system with             for natural disasters such as weather,
determines that such land is highly          respect to highly erodible cropland that     pest, or disease problems, NRCS will
erodible land, and the person is notified    was converted from native vegetation,        consider such factors as:
of such determinations.                      i.e., rangeland or woodland, to crop            (A) The percent of a stand damaged or
   (4) Areas of 2 acres or less. No person   production after December 23, 1985, if       destroyed by the event;
shall be determined to be ineligible         such person has acted in good faith and         (B) The percent of expected crop
under § 12.4 for noncommercial               without an intent to violate the             production compared to normal
production of agricultural commodities       provisions of this part. The person shall,   production for that crop;
on highly erodible land on an area of 2      in lieu of the loss of all benefits             (C) The documented invasion of non-
acres or less if it is determined by FSA     specified under § 12.4 (d) and (e) for       native insects, weeds, or diseases for
that such production is not intended to      such crop year, be subject to a reduction    which no recognized treatment exists;
circumvent the conservation                  in benefits of not less than $500 nor           (D) Whether an event is severe or
requirements otherwise applicable            more than $5,000 depending upon the          unusual based on historical weather
under this part.                             seriousness of the violation, as             records; and
   (5) Good faith.                           determined by FSA. The dollar amount            (E) Other specific circumstances
   (i) No person shall become ineligible     of the reduction will be determined by       caused by a natural event that prevented
under § 12.4 as a result of the failure of   FSA and may be based on the number           the implementation of conservation
such person to apply a conservation          of acres and the degree of erosion           practices or systems, installation of
system on highly erodible land that was      hazard for the area in violation, as         structures, or planting of cover crops.
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   (b) Exemptions for wetlands and           functions and values of wetlands in the         the activities of the district or entity
converted wetlands.                          area;                                           were beyond the control of the person
   (1) General exemptions. A person             (vi) (A) After December 23, 1985, the        and the wetland converted is not used
shall not be determined to be ineligible     Army Corps of Engineers issued an               by the person for the production of an
for program benefits under § 12.4 as the     individual permit pursuant to section           agricultural commodity or a forage crop
result of the production of an               404 of the Clean Water Act, 33 U.S.C.           for harvest by mechanical means or
agricultural commodity on converted          1344, authorizing such action and the           mitigation for the converted wetland
wetland or the conversion of wetland if:     permit required mitigation that                 occurs in accordance with this part.
   (i) The land is a prior-converted         adequately replaced the functions and              (2) Commenced conversion wetlands.
cropland and meets the definition of a       values of the wetlands converted, as               (i) The purpose of a determination of
prior-converted cropland as of the date      determined by NRCS, or                          a commenced conversion made under
of a wetland determination by NRCS;             (B) After December 23, 1985, the             this paragraph is to implement the
   (ii) The land has been determined by      action is encompassed under section             legislative intent that those persons who
NRCS to be a prior-converted cropland        404 of the Clean Water Act, 33 U.S.C.           had actually started conversion of a
and such determination has been              1344, by an Army Corps of Engineers             wetland or obligated funds for
certified, and NRCS determines that the      nationwide or regional general permit           conversion prior to December 23, 1985,
wetland characteristics returned after       and the wetland functions and values            would be allowed to complete the
the date of the wetland certification as     were adequately mitigated, as                   conversion so as to avoid unnecessary
a result of—                                 determined by NRCS; or                          economic hardship.
   (A) The lack of maintenance of               (vii) The land is determined by NRCS            (ii) All persons who believed they had
drainage, dikes, levees, or similar          to be—                                          a wetland or converted wetland for
structures,                                     (A) An artificial wetland,                   which conversion began but was not
   (B) The lack of management of the            (B) A wet area created by a water            completed prior to December 23, 1985,
lands containing the wetland, or             delivery system, irrigation, irrigation         must have requested by September 19,
   (C) Circumstances beyond the control      system, or application of water for             1988, FSA to make a determination of
of the person;                               irrigation,                                     commencement in order to be
   (iii) The land was determined by             (C) A nontidal drainage or irrigation        considered exempt under this section.
NRCS to be a farmed wetland or a             ditch excavated in non-wetland, or                 (iii) Any conversion activity
farmed-wetland pasture and—                     (D) A wetland converted by actions of        considered by FSA to be commenced
   (A) Such land meets wetland criteria      persons other than the person applying          under this section lost its exempt status
through a voluntary restoration,             for USDA program benefits or any of the         if such activity as not completed on or
enhancement, or creation action after        person’s predecessors in interest after         before January 1, 1995. For purposes of
that determination,                          December 23, 1985, if such conversion           this part, land on which such
   (B) The technical determinations          was not the result of a scheme or device        conversion activities were completed by
regarding the baseline site conditions       to avoid compliance with this part.             January 1, 1995, shall be evaluated by
and the restoration, enhancement, or         Further drainage improvement on such            the same standards and qualify for the
creation action have been adequately         land is not permitted without loss of           same exemptions as prior-converted
documented by NRCS,                          eligibility for USDA program benefits,          croplands. For purposes of this part,
   (C) The proposed conversion action is     unless NRCS determines under                    land on which such conversion
documented by the NRCS prior to              paragraph (b)(1)(v) of this section that        activities were not completed by
implementation, and                          further drainage activities applied to          January 1, 1995, shall be evaluated by
   (D) The extent of the proposed            such land would have minimal effect on          the same standards and qualify for the
conversion is limited so that the            the wetland functions and values in the         same exemptions as wetlands or famed
conditions will be at least equivalent to    area. In applying this paragraph, a             wetlands, as applicable.
the wetland functions and values that        converted wetland shall be presumed to             (iv) Only those wetlands for which
existed at the time of implementation of     have been converted by the person               the construction had begun, or to which
the voluntary wetland restoration,           applying for USDA program benefits              the contract or purchased supplies and
enhancement, or creation action;             unless the person can show that the             materials related, qualified for a
   (iv) NRCS has determined that the         conversion was caused by a third party          determination of commencement.
conversion if for a purpose that does not    with whom the person was not                    However, in those circumstances where
make the production of an agricultural       associated through a scheme or device           the conversion of wetland did not meet
commodity possible, such as                  as described under § 12.10 of this part.        the specific requirements of this
conversions for fish production, trees,      In this regard, activities of a water           paragraph, the person could have
vineyards, shrubs, cranberries,              resource district, drainage district, or        requested a commencement of
agricultural waste management                similar entity will be attributed to all        conversion determination from the FSA
structures, livestock ponds, fire control,   persons within the jurisdiction of the          Deputy Administrator for Farm
or building and road construction and        district or other entity who are assessed       Programs, upon a showing that undue
no agricultural commodity is produced        for the activities of the district or entity.   economic hardship would have resulted
on such land;                                Accordingly, where a person’s wetland           because of substantial financial
   (v) NRCS has determined that the          is converted due to the actions of the          obligations incurred prior to December
actions of the person with respect to the    district or entity, the person shall be         23, 1985, for the primary and direct
conversion of the wetland or the             considered to have caused or permitted          purpose of converting the wetland.
combined effect of the production of an      the drainage. Notwithstanding the                  (3) Wetlands farmed under natural
agricultural commodity on a wetland          provisions of the preceding sentences           conditions. A person shall not be
converted by the person or by someone        and as determined by FSA to be                  determined to be ineligible for program
else, individually and in connection         consistent with the purposes of this            benefits under § 12.4 of this part as a
with all other similar actions authorized    part, the activities of a drainage district     result of the production of an
by NRCS in the area, would have only         or other similar entity will not be             agricultural commodity on a wetland on
a minimal effect on the wetland              attributed to a person to the extent that       which the owner or operator of a farm
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or ranch uses normal cropping or              Conservationist determines that               action was taken in reliance on an
ranching practices to produce                 mitigation will not achieve equivalent        incorrect technical determination by
agricultural commodities in a manner          replacement of wetland functions and          NRCS as to the status of such land. If the
that is consistent for the area, where        values within a reasonable time frame or      error caused the person to make a
such production is possible as a result       for other reasons identified by the State     substantial financial investment, as
of natural conditions, such as drought,       Conservationist. Any type or class of         determined by the NRCS, for the
and is without action by the producer         wetland that a State Conservationist          conversion of a wetland, the person may
that alters the hydrology or removes          identifies as not eligible for exemption      be relieved of ineligibility for actions
woody vegetation.                             under paragraph (b)(4)(i) of this section     related to that portion of the converted
   (4) Mitigation.                            will be published in the Federal              wetland for which the substantial
   (i) No person shall be determined to       Register for inclusion in this part.          financial investment was expended in
be ineligible under § 12.4 for any action        (5) Good Faith Violations.                 conversion activities. The relief
associated with the conversion of a              (i) A person who is determined under       available under this paragraph shall not
wetland if the wetland functions and          § 12.4 to be ineligible for benefits as the   apply to situations in which the person
values are adequately mitigated, as           result of the production of an                knew or reasonably should have known
determined by NRCS, through the               agricultural commodity on a wetland           that the determination was in error
restoration of a converted wetland, the       converted after December 23, 1985, or as      because the characteristics of the site
enhancement of an existing wetland, or        the result of the conversion of a wetland     were such that the person should have
the creation of a new wetland, if the         after November 28, 1990, may regain           been aware that a wetland existed on
mitigation—                                   eligibility for benefits if—                  the subject land, or for other reasons.
   (A) Is in accordance with a mitigation        (A) FSA determines that such person           (7) Responsibliity to provide evidence.
plan approved by NRCS;                        acted in good faith and without the           It is the responsibility of the person
   (B) Is in advance of, or concurrent        intent to violate the wetland provisions      seeking an exemption related to
with, the wetland conversion or the           of this part, and                             converted wetlands under this section
production of an agricultural                    (B) NRCS determines that the person        to provide evidence, such as receipts,
commodity, as applicable;                     within an agreed to period, not to            crop-history data, drawings, plans or
   (C) Is not at the expense of the federal   exceed 1 year, is implementing all            similar information, for purposes of
government in either supporting the           practices in a mitigation plan.               determining whether the conversion or
direct or indirect costs of the restoration      (ii) In determining whether a person       other action is exempt in accordance
activity or costs associated with             acted in good faith under paragraph           with this section.
acquiring or securing mitigation sites,       (b)(5)(i)(A) of this section, the FSA shall
except if conducted under a mitigation        consider such factors as whether—             § 12.6 Administration.
banking pilot program established by             (A) The characteristics of the site were      (a) General. A determination of
USDA;                                         such that the person should have been         ineligibility for benefits in accordance
   (D) Occurs on lands in the same            aware that a wetland existed on the           with the provisions of this part shall be
general area of the local watershed as        subject land,                                 made by the agency of USDA to which
the converted wetlands, provided that            (B) NRCS had informed the person           the person has applied for benefits. All
for purposes of this paragraph, lands in      about the existence of a wetland on the       determinations required to be made
the same general area of the local            subject land,                                 under the provisions of this part shall be
watershed may include regional                   (C) The person did not convert the         made by the agency responsible for
mitigation banks;                             wetland, but planted an agricultural          making such determinations, as
   (E) Is on lands for which the owner        commodity on converted wetland when           provided in this section.
has granted an easement to USDA,              the person should have known that a              (b) Administration by FSA.
recorded the easement on public land          wetland previously existed on the                (1) The provisions of this part which
records, and has agreed to the                subject land,                                 are applicable to FSA will be
maintenance of the restored, created, or         (D) The person has a record of             administered under the general
enhanced wetland for as long as the           violating the wetland provisions of this      supervision of the Administrator, FSA,
converted wetland for which the               part or other Federal, State, or local        and shall be carried out in the field in
mitigation occurred remains in                wetland provisions, or                        part by State FSA committees and
agricultural use or is not returned to its       (E) There exists other information that    county FSA committees (COC).
original wetland classification with          demonstrates that the person acted with          (2) The FSA Deputy Administrator for
equivalent functions and values; and          the intent to violate the wetland             Farm Programs may determine any
   (F) Provides the equivalent functions      provisions of this part.                      question arising under the provisions of
and values that will be lost as a result         (iii) After the requirements of            this part which are applicable to FSA
of the wetland conversion.                    paragraph (b)(5)(i) of this section are       and may reverse or modify any
   (ii) A mitigation plan is a record of      met, USDA may waive applying the              determination of eligibility with respect
decisions that document the actions           ineligibility provisions of § 12.4.           to programs administered by FSA made
necessary to compensate for the loss of          (6) Reliance upon NRCS wetland             by a State FSA committee or COC or any
wetland functions and values that result      determination. (i) A person shall not be      other FSA office or FSA official (except
from converting a wetland. The                ineligible for program benefits as a          the Administrator) in connection with
mitigation plan may be a component of         result of taking an action in reliance on     the provisions of this part.
a larger natural resources conservation       a previous certified wetland                     (3) FSA shall make the following
plan.                                         determination by NRCS.                        determinations which are required to be
   (iii) The State Conservationist, in           (ii) A person who may be ineligible        made in accordance with this part:
consultation with the State Technical         for program benefits as the result of the        (i) Whether a person produced an
Committee, may name certain types or          production of an agricultural                 agricultural commodity on a particular
classes of wetland not eligible for           commodity on converted wetland or for         field as determined under § 12.5(a)(1);
exemption under paragraph (b)(4)(i) of        the conversion of a wetland may seek             (ii) The establishment of field
this section where the State                  relief under § 12.11 of this part if such     boundaries;
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   (iii) Whether land was planted to an          (2) An NRCS representative shall          to FSA for making payment-reduction
agricultural commodity in any of the          make the following determinations            determinations; and
years, 1981 through 1985, for the             which are required to be made in                (xiv) Whether or not a commenced-
purposes of § 12.5(a)(1);                     accordance with this part:                   conversion activity was completed by
   (iv) Whether land was set aside,              (i) Whether land is highly erodible or    January 1, 1995.
diverted, or otherwise not cultivated         has a wetland type or a converted               (3) NRCS may provide such other
under a program administered by the           wetland identified in accordance with        technical assistance for implementation
Secretary for any crop to reduce              the provisions of this part;                 of the provisions of this part as is
production of an agricultural                    (ii) Whether highly erodible land is      determined to be necessary.
commodity under § 12.4(g) and                 predominant on a particular field under         (4) A person may obtain a highly
§ 12.5(a)(1);                                 § 12.22;                                     erodible land or a wetland scope-and-
   (v) Whether for the purposes of § 12.9,       (iii) Whether the conservation plan       effect determination by making a
the production of an agricultural             that a person is applying is based on the    written request on Form AD–1026. The
commodity on highly erodible land or          local NRCS field office technical guide      determination will be made in writing,
converted wetland by a landlord’s             and is approved by—                          and a copy will be provided to the
tenant or sharecropper is required under         (A) The CD and NRCS, or                   person.
                                                                                              (5) A determination of whether or not
the terms and conditions of the                  (B) By NRCS;
                                                                                           an area meets the highly erodible land
agreement between the landlord and               (iv) Whether the conservation system
                                                                                           criteria or whether wetland criteria,
such tenant or sharecropper;                  that a person is using has been approved
                                                                                           identified in accordance with the
   (vi) Whether the conversion of a           by the CD under § 12.5(a)(2) or, in an
                                                                                           current Federal wetland delineation
particular wetland was commenced              area not within a CD, a conservation
                                                                                           methodology in use at the time of the
before December 23, 1985, for the             system approved by NRCS to be
                                                                                           determination and that are consistent
purposes of § 12.5(b)(3);                     adequate for the production of an
                                                                                           with current mapping conventions, may
   (vii) Whether the conversion of a          agricultural commodity on highly
                                                                                           be made by the NRCS representative
wetland was caused by a third party           erodible land;
                                                                                           based upon existing records or other
under § 12.5(b)(1)(vii)(D);                      (v) Whether the actions of a person(s)
                                                                                           information and without the need for an
   (viii) Whether certain violations were     with respect to the conversion of a
                                                                                           on-site determination. This
made in good faith under §§ 12.5(a)(5)        wetland or production of an agricultural
                                                                                           determination will be made by the
or 12.5(b)(5);                                commodity on converted wetland
                                                                                           NRCS representative as soon as possible
   (ix) The determination of the amount       would have only a minimal effect on the
                                                                                           following a request for such a
of reduction in benefits based on the         functions and values of wetlands in the
                                                                                           determination.
seriousness of the violation, based on        area;                                           (6) An on-site determination as to
technical information provided by                (vi) Whether an approved                  whether an area meets the applicable
NRCS;                                         conservation plan is being applied on        criteria shall be made by an NRCS
   (x) The determination of whether the       highly erodible fields in accordance         representative if the person has
application of the producer’s                 with the schedule specified therein or       disagreed with the determination made
conservation system would impose an           whether a failure to apply the plan is       under paragraph (c)(5) of this section, or
undue economic hardship on the                technical and minor in nature, due to        if adequate information is not otherwise
producer; and                                 circumstances beyond the control of the      available to an NRCS representative on
   (xi) Whether the proceeds of a farm        person, or whether a temporary variance      which to make an off-site determination.
loan made, insured, or guaranteed by          form the requirements of the plan               (7) An on-site determination, where
FSA will be used for a purpose that will      should be granted;                           applicable, will be made by the NRCS
contribute to excessive erosion of highly        (vii) Whether an approved                 representative as soon as possible
erodible land or to the conversion of         conservation system is being used on a       following a request for such a
wetland.                                      highly erodible field;                       determination, but only when site
   (4) A representative number of farms          (viii) Whether the conversion of a        conditions are favorable for the
selected in accordance with instructions      wetland is for the purpose or has the        evaluation of soils, hydrology, or
issued by the Deputy Administrator            effect of making the production of an        vegetation.
shall be inspected by an authorized           agricultural commodity possible;                (8) With regard to wetland
representative of FSA to determine               (ix) Whether a farmed wetland or          determinations, if an area is
compliance with any requirement               farmed-wetland pasture is abandoned;         continuously inundated or saturated for
specified in this part as a prerequisite         (x) Whether the planting of an            long periods of time during the growing
for obtaining program benefits.               agricultural commodity on a wetland is       season to such an extent that access by
   (5) FSA may consult with U.S. Fish         possible under natural conditions;           foot to make a determination of
and Wildlife Service on third-party              (xi) Whether maintenance of existing      predominance of hydric soils or
determinations.                               drainage of a wetland described in           prevalence of hydrophytic vegetation is
   (c) Administraiton by NRCS.                § 12.33 exceeds the scope and effect of      not feasible, the area will be determined
   (1) The provisions of this part that are   the original drainage;                       to be a wetland.
applicable to NRCS shall be                      (xii) Whether a plan for the mitigation      (9) Persons who are adversely affected
administered under the general                of a converted wetland will be approved      by a determination made under this
supervision of the Deputy Chief for           and whether the mitigation of a              section and believe that the
Natural Resources Conservation                converted wetland is accomplished            requirements of this part were
Programs, and shall be carried out in the     according to the approved mitigation         improperly applied may appeal, under
field by the regional conservationist,        plan;                                        § 12.12 of this part, any determination
state conservationist, area                      (xiii) Whether all technical              by NRCS.
conservationist, and district                 information relating to the                     (d) Administration by CSREES. The
conservationist or other NRCS                 determination of a violation and             CSREES shall coordinate the related
representative.                               severity of a violation has been provided    information and education program for
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USDA concerning implementation of             (b) Availability to other agencies. Each    of benefits, including those instances in
this rule.                                  agency of USDA shall make all                 which the business enterprise has an
  (e) Assistance of other Federal           certifications of compliance received by      interest in the land where the violation
agencies. If NRCS determines, through       such agency and the results of                occurred or where the business
agreement or otherwise, that the            investigations concerning such                enterprise had an interest in the crops
purposes of this part would be furthered    certifications of compliance available to     produced on the land.
by the assistance of other Federal          other agencies.                                 (e) Avoidance of this part. Limitations
agencies with wetland responsibilities,       (c) Compliance. A certification made        on affiliation shall not apply as needed
NRCS may accept such assistance and         in accordance with this section does not      to correct for any action that would
adopt any or all such actions by these      relieve any person from compliance            otherwise tend to defeat the purposes of
agencies as an action by an NRCS            with provisions of this part.                 this part.
representative under this part.
                                            § 12.8 Affiliated persons.                    § 12.9 Landlords and tenants.
§ 12.7 Certification of compliance.            (a) Ineligibility of affiliated persons.      (a) Landlord eligibility.
  (a) Self-certification. In order for a    Ineligibility of an individual or entity         (1) Except as provided in paragraph
person to be determined to be eligible      under this part for benefits shall also be    (a)(2) of this section, the ineligibility of
for any of the benefits specified in        an ineligibility for benefits for             a tenant or sharecropper for benefits (as
§ 12.4:                                     ‘‘affiliated persons’’ as defined in this     determined under § 12.4) shall not cause
  (1) It must be determined by USDA         section.                                      a landlord to be ineligible for USDA
whether any field in which the person          (b) Affiliated persons of an individual.   program benefits accruing with respect
applying for the benefits has an interest   If the person requesting benefits is an       to land other than those in which the
and intends to produce an agricultural      individual, the affiliated persons are:       tenant or sharecropper has an interest.
                                               (1) The spouse and minor child of             (2) The provisions of paragraph (a)(1)
commodity contains highly erodible
                                            such person or guardian of such child;        of this section shall not be applicable to
land;
                                            except that spouses who establish to the      a landlord if the production of an
  (2) The person applying for or            satisfaction of the COC that operations
receiving the benefits must certify in                                                    agricultural commodity on highly
                                            of the husband and wife are maintained        erodible land or converted wetland by
writing on Form AD–1026 that such           separately and independently shall not
person will not produce an agricultural                                                   the landlord’s tenant or sharecropper is
                                            be considered affiliates;                     required under the terms and conditions
commodity on highly erodible land, or          (2) Any partnership, joint venture, or
designate such land for conservation                                                      of the agreement between the landlord
                                            other enterprise in which the person or       and such tenant or sharecropper and
use; or plant an agricultural commodity     any person listed in paragraphs (b)(1)
on a converted wetland; or convert a                                                      such agreement was entered into after
                                            has an ownership interest or financial        December 23, 1985, or if the landlord
wetland to make possible the                interest; unless such interest is held
production of an agricultural                                                             has acquiesced in such activities by the
                                            indirectly through another business           tenant or sharecropper.
commodity during the crop year in           enterprise; or
which the person is seeking such                                                             (b) Tenant or renter eligibility.
                                               (3) Any trust in which the individual,        (1) The ineligibility of a tenant or
benefits, unless such actions are           business enterprise, or any person listed     renter may be limited to the program
exempt, under § 12.5, from the              in paragraph (b)(1) is a beneficiary or       benefits listed in § 12.4(c) accruing with
provisions of § 12.4 of this part;          has a financial interest, unless such         respect to only the farm on which the
  (3) A person may certify application      interest is held indirectly through           violation occurred if:
of practices required by the person’s       another business enterprise.                     (i) The tenant or renter shows that a
conservation plan. NRCS shall permit a         (c) Affiliated persons of an entity. If    good-faith effort was made to comply by
person who makes such a certification       the person who has requested benefits         developing an approved conservation
with respect to a conservation plan to      from USDA is a corporation,                   plan for the highly erodible land in a
revise the conservation plan in any         partnership, or other joint venture, the      timely manner and prior to any
manner, if the same level of                affiliated persons are any participant or     violation of the provisions of this part;
conservation treatment provided for by      stockholder therein of the corporation,       and
the conservation system under the           partnership, or other joint venture,             (ii) The owner of such farm refuses to
person’s conservation plan is               except for persons who have an indirect       apply such a plan and prevents the
maintained. NRCS may not revise the         interest through another business             tenant or renter from implementing
person’s conservation plan without the      enterprise in such corporation,               certain practices that are a part of the
concurrence of the person;                  partnership, or other joint venture or        approved conservation plan; and
  (4) The person applying for a FSA         persons with a 20 percent or less share          (iii) FSA determines that the lack of
direct or guaranteed farm credit program    in a corporation.                             compliance is not a part of a scheme or
loan must certify that such person shall       (d) Limitation. Any reduction in           device as described in § 12.10.
not use the proceeds of the loan for a      payments which results only from the             (2) If relief is granted under paragraph
purpose that will contribute to excessive   application of the affiliation provisions     (b)(1) of this section, the tenant or renter
erosion on highly erodible land or to       of this section to a partnership, joint       must actively apply those conservation
conversion of wetlands for the purpose,     venture, trust, or other enterprise shall     treatment measures that are determined
or to have the effect, of making the        be limited to the extent of interest held     to be within the control of the tenant or
production of an agricultural               in such partnership, joint venture, trust,    renter.
commodity possible; and                     or other enterprise by the person or
  (5) The person applying for the           business enterprise that committed the        § 12.10 Scheme or device.
benefits must authorize and provide         violation. However, for violations for          All or any part of the benefits listed
representatives of USDA access to all       which the business enterprise is              in § 12.4 otherwise due a person from
land in which such person has an            considered directly responsible under         USDA may be withheld or required to
interest for the purpose of verifying any   the provisions of this part, the business     be refunded if the person adopts or
such certification.                         enterprise shall be subject to a full loss    participates in adopting any scheme or
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device designed to evade, or which has          (d) Provide technical guidance to          8, the soil map unit will be entered on
the effect of evading, the provisions of      conservation districts which approve         the list of highly erodible soil map units
this part. Such acts shall include, but       conservation plans and systems, in           as ‘‘potentially highly erodible.’’ The
are not limited to, concealing from           consultation with local county FSA           final determination of erodibility for an
USDA any information having a bearing         committees, for the purposes of this         individual field containing these soil
on the application of the provisions of       part.                                        map unit delineations will be made by
this part or submitting false information                                                  an on-site investigation.
to USDA or creating entities for the          § 12.21 Identification of highly erodible
                                              lands criteria.                              § 12.22 Highly erodible field determination
purpose of concealing the interest of a
                                                 (A) Basis for identification as highly    criteria.
person in a farming operation or to
otherwise avoid compliance with the           erodible. Soil map units and an                 (a) Predominance. Highly erodible
provisions of this part. Such acts shall      erodibility index will be used as the        land shall be considered to be
also include acquiescence in, approval        basis for identifying highly erodible        predominant on a field if either:
of, or assistance to acts which have the      land. The erodibility index for a soil is       (1) 33.33 percent or more of the total
effect of, or the purpose of,                 determined by dividing the potential         field acreage is identified as soil map
circumventing these regulations.              average annual rate of erosion for each      units which are highly erodible; or
                                              soil by its predetermined soil loss             (2) 50 or more acres in such field are
§ 12.11 Action based upon advice or           tolerance (T) value. The T value             identified as soil map units which are
action of USDA.                               represents the maximum annual rate of        highly erodible.
   The provisions of part 718 of this         soil erosion that could occur without           (b) Modification of field boundaries. A
Title, as amended, relating to                causing a decline in long-term               person may request the modification of
performance based upon the action or          productivity. The equation for               field boundaries for the purpose of
advice of a County Committee (COC) or         measuring erosion is described below.        excluding highly erodible land from a
State FSA Committee shall be                     (1) The potential average annual rate     field. Such a request must be submitted
applicable to the provisions of this part.    of sheet and rill erosion is estimated by    to, and is subject to the approval of,
In addition, if it is determined by the       multiplying the following factors of the     FSA. FSA shall use the technical
appropriate USDA agency that the              Universal Soil Loss Equation (USLE):         determination of NRCS in approving
action of a person which would form              (i) Rainfall and runoff (R);              this request.
the basis of any ineligibility under this        (ii) The degree to which the soil            (C) Impact of changing field
part was taken by such person in good-        resists water erosion (K); and               boundaries. When field boundaries are
faith reliance on erroneous advice,              (iii) The function (LS), which            changed to include areas of land that
information, or action of any other           includes the effects of slope length (L)     were included in a field that was
authorized representative of USDA, the        and steepness (S).                           previously determined to be
appropriate agency may make such                 (2) The potential average annual rate     predominately highly erodible
benefits available to the extent that         of wind erosion is estimated by              according to paragraph (a) of this
similar relief would be allowed under 7       multiplying the following factors of the     section, such areas shall continue to be
CFR part 718.                                 Wind Erosion Equation (WEQ): Climatic        subject to the requirements for
                                              characterization of windspeed and            predominately highly erodible fields,
§ 12.12 Appeals.                              surface soil moisture (C) and the degree     except as provided in paragraph (b) of
  Any person who has been or who              to which soil resists wind erosion (I).      this section.
would be denied program benefits in              (3) The USLE is explained in the U.S.        (d) Small area of noncropland. Small
accordance with § 12.4 as the result of       Department of Agriculture Handbook           areas of noncropland within or adjacent
any determination made in accordance          537, ‘‘Predicting Rainfall Erosion           to the boundaries of existing highly
with the provisions of this part may          Losses.’’ The WEQ is explained in the        erodible crop fields such as abandoned
obtain a review of such determination in      paper by Woodruff, N.P., and F. H.           farmsteads, areas around filled or
accordance with the administrative            Siddaway, 1965, ‘‘A Wind Erosion             capped wells, rock piles, trees, or brush
appeals procedures of the agency which        Equation,’’ Soil Science Society of          which are converted to cropland are
rendered such determination. Agency           America Proceedings, Vol. 29. No. 5,         considered to meet the requirement of
appeal procedures are contained in the        pages 602–608. Values for all the factors    § 12.5(a)(2) if they are included in an
Code of Federal Regulations as follows:       used in these equations are contained in     approved conservation plan for the
FSA, part 780 of this title; NRCS, part       the NRCS field office technical guide        entire highly erodible field.
614 of this title; Rural Utilities Service,   and the references which are a part of
                                              the guide. The Universal Soil Loss           § 12.23 Conservation plans and
part 1900, subpart B of this title.                                                        conservation systems.
                                              Equation, the Revised Universal Soil
Subpart B—Highly Erodible Land                Loss Equation, and the Wind Erosion             (a) Use of field office technical guide.
Conservation                                  Equation and the rules under which           A conservation plan or conservation
                                              NRCS uses the equations are published        system developed for the purposes of
§ 12.20 NRCS responsibilities regarding       at §§ 610.11 through 610.15 of this title.   § 12.5(a) must be based on, and to the
highly erodible land.                            (b) Highly erodible. A soil map unit      extent practicable conform with, the
  In implementing the provisions of this      shall be determined to be highly             NRCS field office technical guide in use
part, NRCS shall, to the extent               erodible if either the RKLS/T or the CI/     at the time the plan is developed or
practicable:                                  T value for the map unit equals or           revised. For highly erodible croplands
  (a) Develop and maintain criteria for       exceeds 8.                                   which were used to produce agricultural
identifying highly erodible lands;               (c) Potentially highly erodible.          commodities prior to December 23,
  (b) Prepare and make available to the       Whenever a soil map unit description         1985, the applicable conservation
public lists of highly erodible soil map      contains a range of a slope length and       systems in the field office technical
units;                                        steepness characteristics that produce a     guide are designed to achieve
  (c) Make soil surveys for purposes of       range of LS values which result in           substantial reductions in soil erosion.
identifying highly erodible land; and         RKLS/T quotients both above and below        Conservation systems shall be
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technically and economically feasible;         control of the person. The person shall          (j) Undue economic hardship. After a
based on local resource conditions and         not be required to meet a higher              technical determination has been made,
available conservation technology; cost-       conservation standard than the standard       the FSA county committee shall, if a
effective; and shall not cause undue           applied to other highly erodible              person asserts that the application of the
economic hardship on the person                cropland located within the area served       person’s conservation system would
applying the conservation system. Any          by the field office technical guide for the   impose an undue economic hardship on
conservation plans or systems that were        area in which the field is located.           the person, make a recommendation to
approved prior to July 3, 1996, are              (e) Information regarding                   the State FSA Committee as to whether
deemed to be in compliance with this           conservation options. NRCS, in                or not the application of the
paragraph.                                     providing assistance to a person for the      conservation system would impose an
   (b) Substantial reduction in soil           preparation or revision of a conservation     undue economic hardship. The State
erosion. For the purpose of determining        plan under this part, will provide such       FSA Committee may provide the person
whether there is a substantial reduction       person with information concerning            with a variance on the basis of the
in soil erosion on a field containing          cost-effective and applicable erosion         hardship. Under this variance, and any
highly erodible cropland which was             control alternatives, crop flexibility, or    conditions that may be required in the
used to produce an agricultural                other conservation assistance options         variance, the person will be considered
commodity prior to December 23, 1985,          that may be available.                        to be in compliance with the applicable
the measurement of erosion reduction             (f) Timely request for assistance.          provisions of this part. The State FSA
achieved by applying a conservation            Persons who require NRCS assistance           Committee will consider relevant
plan or system shall be based on a             for the development of a conservation         factors, such as the cost of installation
comparison of the estimated annual             plan or the installation of a conservation    of required conservation practices and
level of erosion that is expected to occur     system are encouraged to request this         benefits earned through programs
on that portion of the field for which a       assistance well in advance of deadline        subject to compliance with this part,
conservation plan or system was                dates for compliance; otherwise the           and the person’s general economic
developed and is being applied, to the         person may not be able to comply with         situation.
estimated annual level of erosion that         these provisions and maintain eligibility
existed on that same portion of the field      for USDA program benefits.                    Subpart C—Wetland Conservation
before the application of a conservation         (g) Action by conservation districts.
plan or system. On a field that is                                                           § 12.30 NRCS responsibilities regarding
                                               Conservation districts approve or             wetlands.
converted from native vegetation after         disapprove conservation plans or
July 3, 1996, and where any crop                                                                (a) Technical and coordination
                                               conservation systems after NRCS               responsibilities. In carrying out the
production will result in increased
                                               determines that the plans or systems          provisions of this part, NRCS shall:
erosion, in no case will the required
                                               conform to the NRCS field office                 (1) Oversee the development and
conservation plan or system permit a
                                               technical guide. If a conservation            application of criteria to identify hydric
substantial increase in erosion.
   (c) Field trials. NRCS may allow a          district fails, without due cause, to act     soils in consultation with the National
person to include in the person’s              on a request for conservation plan or         Technical Committee for Hydric Soils
conservation plan or a conservation            conservation system approval within 45        and make available to the public an
system under the plan, on a field-trial        days, or if no conservation district          approved county list of hydric soil map
basis, practices that are not currently        exists, NRCS will approve or                  units, which is based upon the National
approved but that NRCS considers have          disapprove, as appropriate, the               List of Hydric Soils;
a reasonable likelihood of success.            conservation plan or system in question.         (2) Coordinate with the U.S. Fish and
These trials must have prior approval by         (h) Application of a conservation plan      Wildlife Service and others in updating
NRCS, and must be documented in the            or system. A person is considered to be       the National List of Plant Species that
person’s conservation plan specifying          applying a conservation plan for              Occur in Wetlands;
the limited time period during which           purposes of § 12.5(a) if the conservation        (3) Make or approve wetland
the field trial is in effect. If, at the end   system or plan being applied achieves         determinations, delineations and
of the conservation field trial period,        or exceeds the substantial reduction in       certifications, functional assessments,
NRCS finds that the practice does not          soil erosion as described in paragraph        mitigation plans, categorical minimal
meet conservation compliance                   (b) which the conservation system or          effects, and other technical
requirements, the person will not be           plan was designed to achieve. It is the       determinations relative to the
ineligible for USDA program benefits           responsibility of the person to:              implementation of the wetland
during the period of the field trial.            (1) Certify that the conservation plan      conservation provisions of this part;
   (d) Highly erodible land previously         or system is being applied; and                  (4) Develop and utilize off-site and
under a Conservation Reserve Program             (2) Arrange for a revision of the           on-site wetland identification
contract. Any person who owns or               conservation plan with NRCS, if               procedures;
operates highly erodible land that was         changes are made in land use, crop               (5) Assure quality of service and
under a Conservation Reserve Program           rotation or management, conservation          determinations through procedures
contract as authorized by section 1231         practices, or in the original schedule of     developed by NRCS in consultation
of the Food Security Act of 1985, as           practice installation that would affect       with other Federal agencies that have
amended, shall have 2 years after the          the achievement of substantial                wetland responsibilities;
expiration of termination of the contract      reduction in soil erosion in a given crop        (6) Investigate complaints and make
to fully apply a conservation system if        year.                                         technical determinations regarding
the conservation plan for such land              (i) Appeal to FSA. Persons who are          potential violations;
requires the installation of structural        adversely affected by the determinations         (7) Develop a process at the state
measures for the production of an              made under this subpart and believe           level, in coordination with the U.S. Fish
agricultural commodity. NRCS officials         that the requirements of this subpart         and Wildlife Service, to ensure that
may extend this period one additional          were improperly applied may appeal            these provisions are carried out in a
year for circumstances beyond the              the decision to FSA under § 12.12.            technically defensible and timely
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manner, seek assistance as appropriate,        appeal, NRCS will conduct an on-site          criteria for hydric soils (i.e., riverwash,
and annually review the progress being         investigation of the subject land.            playas, beaches, or water) the soil map
made on implementation; and                       (4) Before any benefits are withheld,      unit shall be determined to have a
   (8) Conduct reviews of                      an on-site investigation of a potential       predominance of hydric soils; or
implementation and provide the Army            wetland violation will be made by                (iii) If a soil map unit contains
Corps of Engineers, Environmental              NRCS. The affected person will be             inclusions of hydric soils, that portion
Protection Agency, and the U.S. Fish           provided an opportunity to appeal the         of the soil map unit identified as hydric
and Wildlife Service an opportunity to         on-site determination to USDA if the on-      soil shall be determined to have a
participate in this review.                    site determination differs from the           predominance of hydric soils.
   (b) Technical assistance from others        original determination. Such action by           (3) List of hydric soils.
In carrying out the provisions of this         NRCS shall be considered a review of             (i) Hydric soils are those soils which
part, NRCS may request technical               the prior determination and certification     meet criteria set forth in the publication
assistance from the U.S. Fish and              of the delineation. If the prior              ‘‘Hydric Soils of the United States 1985’’
Wildlife Service, State or local agencies      determination was a certified wetland         which was developed by the National
conservation districts, or qualified           determination, an appeal of the NRCS          Technical Committee for Hydric Soils
private entities when NRCS determines          on-site determination shall be limited to     and which is incorporated by reference.
that additional staff resources or             the determination that the wetland was        This publication may be obtained upon
technical expertise are needed to              converted in violation of this part.          request by writing NRCS at U.S.
address adequately the requirements of            (5) A copy of the information from the     Department of Agriculture, P.O. Box
this part or to enhance the quality of         final certified wetland determination         2890, Washington, DC 20013, and is
implementation of this part.                   and the wetland delineation shall be          available for inspection at the Office of
   (c) Certification of wetland                recorded on official USDA aerial              the Federal Register Information Center,
determinations and wetland                     photography, digital imagery, or other        800 North Capitol Street NW., Suite 700,
delineations.                                  graphic representation of the area.           Washington, DC 20408. Incorporation of
   (1) Certification of a wetland                 (6) As long as the affected person is      this publication by reference was
determination means that the wetland           in compliance with the wetland                approved by the Director of the Federal
determination is of sufficient quality to      conservation provision of this part, and      Register on June 24, 1986. The materials
make a determination of ineligibility for      as long as the area is devoted to the use     are incorporated as they exist on the
program benefits under § 12.4 of this          and management of the land for                date of the approval and a notice of any
part. Certification of a wetland               production of food, fiber, horticultural      change in these materials will be
determination shall be completed               crops, a certification made under this        published in the Federal Register.
according to delineation procedures            section will remain valid and in effect          (ii) An official list of hydric soil map
agreed to by the Army Corps of                 until such time as the person affected by     units shall be maintained at the local
Engineers, the Environmental Protection        the certification requests review of the      NRCS office and shall include—
Agency, the U.S. Fish and Wildlife             certification by NRCS. A person may              (A) All soils from the National List of
Service and NRCS. NRCS may certify a           request review of a certification only if     Hydric Soils that can be found in that
wetland determination without making           a natural event alters the topography or      field office area, and
a field investigation. NRCS will notify        hydrology of the subject land to the             (B) Any soil map units or areas which
the person affected by the certification       extent that the final certification is no     the state conservationist determines to
and provide an opportunity to appeal           longer a reliable indication of site          meet such hydric soil criteria.
the certification prior to the certification   conditions, or if NRCS concurs with an           (iii) Any deletions of a hydric soil
becoming final. All wetland                    affected person that an error exists in       unit from the hydric soil map unit list
determinations made after July 3, 1996,        the current wetland determination             must be made according to the
will be done on a tract basis and will be                                                    established procedure contained in the
considered certified wetland                   § 12.31 On-site wetland identification        publication ‘‘Hydric Soils of the United
determinations. A not-inventoried              criteria.                                     States 1985’’ for adding or deleting soils
designation within a certified wetland is        (a) Hydric soils.                           from the National List of Hydric Soils.
subject to change when the soil,                 (1) NRCS shall identify hydric soils           (b) Hydrophytic vegetation.
hydrology, and vegetation evaluation is        through the use of published soil maps        Hydrophytic vegetation consists of
completed and identified as to type of         which reflect soil surveys completed by       plants growing in water or in a substrate
wetland or as a non-wetland. This              NRCS or through the use of on-site            that is at least periodically deficient in
change from a not-inventoried                  reviews. If a published soil map is           oxygen during a growing season as a
designation to an approved wetland             unavailable for a given area, NRCS may        result of excessive water content.
designation will be done at the request        use unpublished soil maps which were             (1) A plant shall be considered to be
of the landowner or during a formal            made according to the specifications of       a plant species that occurs in wetland if
investigation of a potential violation.        the National Cooperative Soil Survey or       such plant is listed in the National List
   (2) The wetland determination and           may conduct an on-site evaluation of          of Plant Species that Occur in Wetlands.
wetland delineation shall be certified as      the land.                                     The publication may be obtained upon
final by the NRCS official 30 days after         (2) NRCS shall determine whether an         request from the U.S. Fish and Wildlife
providing the person notice of                 area of a field or other parcel of land has   Service at National Wetland Inventory,
certification or, if an appeal is filed with   a predominance of hydric soils that are       Monroe Bldg. Suite 101, 9720 Executive
USDA, after the administrative appeal          inundated or saturated as follows:            Center Drive, St. Petersburg, Florida
procedures are exhausted.                        (i) If a soil map unit has hydric soil      33702.
   (3) In the case of an appeal, NRCS will     as all or part of its name, that soil map        (2) For the purposes of the definition
review and certify the accuracy of the         unit or portion of the map unit related       of ‘‘wetland’’ in § 12.2 of this part, land
determination of all lands subject to the      to the hydric soil shall be determined to     shall be determined to have a
appeal to ensure that the subject lands        have a predominance of hydric soils;          prevalence of hydrophytic vegetation if:
have been accurately delineated. Prior           (ii) If a soil map unit is named for a         (i) NRCS determines through the
to a decision being rendered on the            miscellaneous area that meets the             criteria specified in paragraph (b)(3) of
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this section that under normal                determination of whether the effect          drainage or other altering activity is not
circumstances such land supports a            continues to be minimal. The loss of a       clearly discernible, NRCS will compare
prevalence of hydrophytic vegetation.         minimal effect determination will cause      the site with other sites containing the
The term ‘‘normal circumstances’’ refers      a person who produces an agricultural        same hydric soils in a natural condition
to the soil and hydrologic conditions         commodity on the converted wetland           to determine if the hydric soils can or
that are normally present, without            after such change in status to be            cannot be used to produce an
regard to whether the vegetation has          ineligible, under § 12.4, for certain        agricultural commodity under natural
been removed; or                              program benefits. In situations where        conditions. If the soil on the comparison
   (ii) In the event the vegetation on such   the wetland functions and values are         site could not produce an agricultural
land has been altered or removed, NRCS        replaced by the restoration,                 commodity under natural conditions,
will determine if a prevalence of             enhancement or creation of a wetland in      the subject wetland will be considered
hydrophytic vegetation typically exists       accordance with a mitigation plan            to be converted wetland.
in the local area on the same hydric soil     approved by NRCS, the exemption                 (2) Where woody hydrophytic
map unit under non-altered hydrologic         provided by the determination will be        vegetation has been removed from
conditions.                                   effective after NRCS determines that all     hydric soils for the purpose of or
   (3) The determination of prevalence of     practices in a mitigation plan are being     permitting the production of an
hydrophytic vegetation will be made in        implemented.                                 agricultural commodity, the area will be
accordance with the current Federal              (e) Categorical Minimal Effect            considered to be converted wetland.
wetland delineation methodology in use        Exemptions.                                     (b) A wetland shall not be considered
by NRCS at the time of the                       (1) The state conservationist, in         to be converted if:
determination.                                consultation with the state technical           (1) Production of an agricultural
   (c) Mitigation wetlands.                   committee established under 16 U.S.C.        commodity on such land is possible as
Notwithstanding the provisions of this        3861, shall identify any categories of       a result of a natural condition, such as
section, wetlands which are created in        conversion activities and conditions         drought, and it is determined that the
order to mitigate the loss of other           which are routinely determined by            actions of the person producing such
wetlands as a result of irrigation,           NRCS to have minimal effect on               agricultural commodity does not
recreation, municipal water, flood            wetland functions and values, as             permanently alter or destroy natural
control, or other similar projects shall      described in paragraph (d) of this           wetland characteristics. Destruction of
not be considered to be artificial            section, and recommend to the Chief,         herbaceous hydrophytic vegetation (i.e.,
wetland for the purposes of                   NRCS, or a designee, inclusion on a list     plants other than woody shrubs or trees)
§ 12.5(b)(1)(vii)(A) of this part.            of categorical minimal effect                as a result of the production of an
   (d) Minimal effect determination. For      exemptions.                                  agricultural commodity shall not be
the purposes of § 12.5(b)(1)(v) of this          (2) The Chief, or designee, shall         considered as altering or destroying
part, NRCS shall determine whether the        evaluate the conversion practices            natural wetland characteristic if such
effect of any action of a person              recommended by the state                     vegetation could return following
associated with the conversion of a           conservationists in the region to ensure     cessation of the natural condition which
wetland, the conversion of wetland and        consistency across State and regional        made production of the agricultural
the production of an agricultural             lines, and to determine whether any          commodity possible; or
commodity on converted wetland, or            categories of conversion activities             (2) Such land is correctly identified as
the combined effect of the production of      identified pursuant to paragraph (e)(1)      farmed wetland or farmed-wetland
an agricultural commodity on a wetland                                                     pasture.
                                              of this section, if such activities were
converted by someone else has a
                                              exempt from the ineligibility provisions     § 12.33 Use of wetland and converted
minimal effect on the functions and
                                              of § 12.4, would only have a minimal         wetland.
values of wetlands in the area. Such
                                              effect on wetland functions and values          (a) The provisions of § 12.32(b)(2) are
determination shall be based upon a
                                              in a wetland system within the region.       intended to protect remaining functions
functional assessment of functions and           (3) Any categories of conversion
values of the wetland under                                                                and values of the wetlands described
                                              activities which meet the criteria of
consideration and other related                                                            therein. Persons may continue to farm
                                              paragraph (e)(2) of this section will be
wetlands in the area, and will be made                                                     such wetlands under natural conditions
                                              published in the Federal register for
through an on-site evaluation. A request                                                   or as they did prior to December 23,
                                              inclusion in this part and shall be
for such determination will be made                                                        1985. However, no action can be taken
                                              exempt under § 12.5(b)(1)(v) of this part.
prior to the beginning of activities that        (4) The NRCS local field office shall     to increase effects on the water regime
would convert the wetland. If a person        maintain a list of any activities and        beyond that which existed on such
has converted a wetland and then seeks        conditions which are determined by the       lands on or before December 23, 1985,
a determination that the effect of such       Chief, or designee, exempt pursuant to       unless NRCS determines the effect on
conversion on wetland was minimal,            this section and will provide the list to    losing remaining wetland values would
the burden will be upon the person to         a person upon request.                       be minimal under § 12.5(b)(1)(v). If, after
demonstrate to the satisfaction of NRCS                                                    December 23, 1985, changes due to
that the effect was minimal.                  § 12.32 Converted wetland identification     human activity occurred in the
   The production of an agricultural          criteria.                                    watershed and resulted in an increase in
commodity on any portion of a                   (a) Converted wetland shall be             the water regime on a person’s land, the
converted wetland in conformance with         identified by determining whether the        person may be allowed to adjust the
a minimal-effect determination by NRCS        wetland was altered so as to meet the        existing drainage system to
is exempt under § 12.5(b)(1)(v) of this       definition of converted wetland. In          accommodate the increased water
part. However, any additional action of       making this determination, the               regime on the condition that the person
a person that will change the functions       following factors are to be considered:      affected by this additional water
and values of a wetland for which a             (1) Where hydric soils have been used      provides NRCS with appropriate
minimal-effect determination has been         for production of an agricultural            documentation of the increased water
made shall be reported to NRCS for a          commodity and the effect of the              regime, the causes thereof, and the
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planned changes in the existing              § 12.34 Paperwork Reduction Act assigned     court. Under section 608c(15)(A) of the
drainage system. In order to maintain        number.                                      Act, any handler subject to an order may
program eligibility, a person must             The information collection                 file with the Secretary a petition stating
provide sufficient documentation and         requirements contained in this               that the order, any provision of the
receive approval from NRCS prior to          regulation (7 CFR part 12) have been         order, or any obligation imposed in
making any changes that will have the        approved by the Office of Management         connection with the order is not in
effect of increasing the capacity of the     and Budget under provisions of 44            accordance with the law and requesting
existing drainage systems.                   U.S.C. chapter 35 and have been              a modification of an order or to be
   (b) Unless otherwise provided in this     assigned OMB Number 0560–0004.               exempted from the order. A handler is
part, the production of an agricultural        Signed at Washington, D.C. on August 23,   afforded the opportunity for a hearing
commodity on land determined by              1996.                                        on the petition. After a hearing, the
NRCS to be prior-converted cropland is       Dan Glickman,                                Secretary would rule on the petition.
exempted by law from these regulations                                                    The Act provides that the District Court
                                             Secretary.
for the area which was converted.                                                         of the United States in any district in
Maintenance or improvement of                [FR Doc. 96–22784 Filed 9–5–96; 8:45 am]
                                                                                          which the handler is an inhabitant, or
drainage systems on prior-converted          BILLING CODE 3410–01–M                       has its principal place of business, has
croplands are not subject to this rule so                                                 jurisdiction in equity to review the
long as the prior-converted croplands                                                     Secretary’s ruling on the petition,
are used for the production of food,         Agricultural Marketing Service               provided a bill in equity is filed not
forage, or fiber and as long as such         7 CFR Part 1075                              later than 20 days after the date of the
actions do not alter the hydrology of                                                     entry of the ruling.
nearby wetlands or do not make               [DA–96–12]                                      This order of termination is issued
possible the production of an                                                             pursuant to the provisions of the
agricultural commodity on these other        Milk in the Black Hills, South Dakota,       Agricultural Marketing Agreement Act
wetlands. Other wetlands under this          Marketing Area; Termination of the           and of the order regulating the handling
section means any natural wetland,           Order                                        of milk in the Black Hills, South Dakota,
farmed wetland, farmed-wetland               AGENCY: Agricultural Marketing Service,      marketing area.
pasture, or any converted wetland that       USDA.                                        Small Business Consideration
is not exempt under § 12.5 of this part.
                                             ACTION: Final rule; termination order.          During June 1996, the representative
   (c) Abandonment is the cessation for
five consecutive years of management or      SUMMARY: This document terminates all        period determined for this action, 58
maintenance operations related to the        but certain administrative sections of       producers (all members of the Black
use of a farmed wetland or a farmed-         the order regulating the handling of         Hills Milk Producers cooperative
wetland pasture. Unless the criteria for     milk in the Black Hills, South Dakota,       association) had their milk pooled
receiving an exemption under                 marketing area. Termination of this          under the Black Hills order. The Small
§ 12.5(b)(1)(iii) are met, such land is      order was requested by Black Hills Milk      Business Administration (SBA) criterion
considered to be abandoned when the          Producers, a cooperative association         of $500,000 in annual receipts, adjusted
land meets the wetland criteria of           that represents all of the producers         to reflect the information for one month
§ 12.31. In order for documentation of       whose milk is pooled under the order.        ($500,000 divided by 12, divided by the
site conditions to be considered             Thus, termination of the order is            1995 average order blend price of $13.95
adequate under § 12.5(b)(1)(iii), the        required under the Agricultural              per hundredweight) was used to
affected person must provide to NRCS         Marketing Agreement Act of 1937, as          determine that dairy farmers marketing
available information concerning the         amended.                                     less than 300,000 pounds of milk meet
extent of hydrological manipulation, the                                                  the description of a small dairy farm. On
                                             EFFECTIVE DATE: October 1, 1996.
extent of woody vegetation, and the                                                       the basis of the pounds of milk
history of use. In accordance with           FOR FURTHER INFORMATION CONTACT:             marketed during the representative
§ 12.5(b)(1)(iii), participation in a USDA   Clifford M. Carman, Marketing                period, 54 of the 58 dairy farmers would
approved wetland restoration, set-aside,     Specialist, USDA/AMS/Dairy Division,         be small businesses. Of these, 27
diverted acres, or similar programs shall    Order Formulation Branch, Room 2971,         marketed less than 100,000 pounds
not be deemed to constitute                  South Building, P.O. Box 96456,              during June, 20 marketed between
abandonment.                                 Washington, DC 20090–6456, (202) 720–        100,000 and 200,000 pounds, and 7
   (d) The maintenance of the drainage       9368.                                        marketed between 200,000 and 300,000
capacity or any alteration or                SUPPLEMENTARY INFORMATION: The               pounds.
manipulation, including the                  Department is issuing this rule in              In addition to the cooperative, there is
maintenance of a natural waterway            conformance with Executive Order             one other milk handler regulated under
operated and maintained as a drainage        12866.                                       the Black Hills order in South Dakota.
outlet, that affects the circulation and       This termination order has been            Under SBA criterion, this handler
flow of water made to a farmed wetland       reviewed under Executive Order 12988,        would be considered a small business.
or farmed-wetland pasture would not          Civil Justice Reform. This action is not     Consequently, nearly all of the parties
cause a person to be determined to be        intended to have retroactive effect. This    affected by the Black Hills milk order
ineligible under this part, provided that    rule will not preempt any state or local     would be classified as small entities.
the maintenance does not exceed the          laws, regulations, or policies, unless          The current reporting, recordkeeping
scope and effect of the original             they present an irreconcilable conflict      and other compliance requirements of
alteration or manipulation, as               with this rule.                              the rule would cease with termination
determined by NRCS, and provided that          The Agricultural Marketing                 of the order. None of the currently-
the area is not abandoned. Any resultant     Agreement Act of 1937, as amended (7         affected entities would be subject to any
conversion of wetlands is to be at the       U.S.C. 601–674), provides that               additional reporting or recordkeeping
minimum extent practicable, as               administrative proceedings must be           requirements for purposes of the Federal
determined by NRCS.                          exhausted before parties may file suit in    milk order program as a result of the
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                         Summary Report
United States
Department of
Agriculture

Natural Resources
Conservation Service     1997 National
Iowa State University
Statistical Laboratory   Resources Inventory
                         (revised December 2000)
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                                                                             Summary Report
                                   1997 National Resources Inventory (revised December 2000)




Figure 3. Losses and gains in Palustrine and Estuarine wetlands between 1992 and 1997, by NRCS Region




Figure 4. Causes of Palustrine and Estuarine wetland losses between 1992 and 1997, by NRCS Region




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                                           United States Department of Agriculture
                                           Natural Resources Conservation Service

                                           State Office                                          Phone (608) 276-8732
                                           6515 Watts Road, Suite 200                              Fax (608) 276-5890
                                           Madison, Wisconsin 53719-2726




April 24, 2001



NATIONAL FOOD SECURITY ACT MANUAL (NFSAM)
Third Edition, Amendment 2
180-V-NFSAM, Amendment WI22


Purpose: To provide a state supplement to the NFSAM to all Wisconsin NRCS offices.

SUBJECT: Release of NRCS Wetland Inventory Maps

Effective Date. Upon receipt.



Background: In an effort to be consistent statewide and based on guidance from the NRCS
National Headquarters, NRCS wetland inventory maps are not to be released to the general
public. The inventories are available as a tool to our partners: WDOT, WDNR, DATCP, LCD,
Zoning, FWS, and COE. Released maps must be labeled "Draft" or "Not Official." Anyone can
view the inventory maps in our offices, but may not be allowed to make copies.

The Food Security Act of 1985 contained wetland conservation provisions that denied program
benefits to landowners who manipulated wetlands. NRCS is the agency responsible for
informing producers where wetlands occur on their property and any associated restrictions by
making wetland determinations. To help locate and classify Farm Bill wetlands, NRCS used
teams from 1989 to 1991 to make wetland inventory maps. The maps were made by reviewing
soil surveys, topographic maps, Wisconsin Wetland Inventory maps, rainfall data, stereo pair air
photos, and Farm Service Agency 35mm aerial slides. Some counties had ten years of slides to
review while others only had five. NRCS wetland inventories only show potential wetlands and
were produced as a tool to predict the presence and approximate boundary of wetlands (NFSAM
p. 513-21). NRCS does not contend that the inventory is accurate. Inventory labels are only
relevant to USDA programs.

Pre-July 3, 1996, wetland determinations were based solely on the wetland inventory map. The
producer would appeal inaccurate determinations and NRCS would go to the field to document,
make corrections to, and accurately delineate any wetlands.




The Natural Resources Conservation Service works hand-in-hand with
the American people to conserve natural resources on private lands.                  AN EQUAL OPPORTUNITY EMPLOYER
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       1985

              514.30 Prior Converted Cropland (PC)

              514.31 Farmed Wetlands (FW)

              514.32 Farmed Wetland Pasture or Hayland (FWP)

              514.33 Abandonment


       Subpart E - Labels: Wetlands Converted After December 23, 1985

              514.40 Converted Wetlands (CW or CW+Year)

              514.41 Converted Wetland Technical Error (CWTE)

              514.42 Third-Party Conversion Exemption (TP)


       Subpart F - Labels: Prior Manuals

              514.50 Commenced Conversion (CC)

              514.51 Converted Wetland for Non-Agricultural Purposes (CWNA)

              514.52 Not Inventoried (NI)


       Subpart G - Authorized Activities for Wetland Compliance

              514.60 Uses and Maintenance

                                 [M180.514 Fourth Edition, Amendment 4 - January 2008]




                  Subpart A - Wetland Determination and Delineation

       514.0 Background

              A. The Food Security Act of 1985, as amended, requires NRCS to delineate, determine, and certify wetlands
              located on land subject to the wetland conservation (WC) provisions on a farm or ranch in order to establish a
              producer’s eligibility for certain USDA program benefits. (16 U.S.C. Sec. 3822; 7 CFR 12.30)

              B. This manual provides policy pertaining to the WC provisions. Policy concerning NRCS technical and
              financial assistance and the protection of wetlands is located in the NRCS General Manual at Title 190, Part
              410, Section 410.26. In addition, wetlands may be subject to other Federal, State, or local regulations.

              C. In carrying out the provisions of the Act, NRCS may request technical assistance from the U.S. Fish and
              Wildlife Service (FWS) and State or local conservation agencies. (7 CFR 12.30)


       514.1 Certification

              A. Certification of Wetland Determinations

                     (1) Certification of a wetland determination means that the wetland determination is of sufficient




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             D. Appeals of Certified Wetland Determinations

                    (1) Before finalizing a certified wetland determination, NRCS will notify the person affected by the
                    certification and provide an opportunity to appeal it. NRCS will certify the wetland determination as
                    final 30 days after providing the person notice of certification or, if an appeal is filed with USDA, after
                    the administrative appeal procedures are exhausted or discontinued by the affected person. (See the
                    440-Conservation Programs Manual, Part 510 for NRCS policy and procedure regarding appeals.)
                    NRCS appeal procedures are contained in 7 CFR 614.

                    (2) In the case of an appeal, NRCS must review and certify the accuracy of the determination for all
                    lands subject to the appeal to ensure that it is accurate. Before a decision is rendered on the appeal,
                    NRCS will conduct an onsite investigation of the subject land.

             E. Preparing the Certified Wetland Determination

                    (1) NRCS will delineate all wetlands subject to the WC provisions by outlining the boundaries of the
                    wetland on aerial photography, digital imagery, or other graphic representation. If possible, NRCS
                    will use GPS to digitally map the wetland boundary in the field and to import that data onto digital
                    orthophotoquadrangle maps (DOQs) or other GIS digital photographic imagery. Refer to Part 514,
                    Subparts B-E, to determine the appropriate labels to apply to the delineated wetlands.

                    (2) The complete boundaries and acreage of all fields that were delineated and identified must be
                    shown on the map, including areas identified as non-wetland (NW). This must be clearly depicted on
                    the wetland determination map. The label and acreage information from the map will be used to
                    prepare the CPA-026e. A copy of the CPA-026e, along with the delineation map, will be provided to
                    the USDA program participant and Farm Service Agency (FSA). A copy should be retained in the
                    participant’s file located in the NRCS office.

             F. Duration of Ineligibility

                    (1) Persons who plant an agricultural commodity on wetland converted between December 23, 1985,
                    and November 28, 1990, are ineligible for USDA benefits for any year in which an agricultural
                    commodity crop is planted or until the functions or values of the converted wetland are mitigated. [7
                    CFR 12.4(a)(2)]

                    (2) Persons who convert wetlands for the purpose of, or in such a way as to make the production of
                    an agricultural commodity possible after November 28, 1990, remain ineligible for USDA benefits until
                    the functions or values of the converted wetland are mitigated. [7 CFR 12.4(a)(3)] Ineligibility will
                    remain with the person even if the person is no longer associated with the land. Subsequent owners
                    and operators will not be in violation as long as the converted wetland is not planted to an agricultural
                    commodity and the new owner or operator was not affiliated with the conversion action. [7 CFR 12.4
                    (g)]

             G. Coordination with the U.S. Army Corps of Engineers (COE)

                    Wetland determinations performed by NRCS may not be valid for COE Clean Water Act (CWA)
                    jurisdiction and permitting requirements. NRCS will include the following language in all wetland
                    determinations provided to the USDA participant:

                            “This certified wetland determination/delineation has been conducted for the purpose of
                            implementing the wetland conservation provisions of the Food Security Act of 1985. This
                            determination/delineation may not be valid for identifying the extent of the COE’s Clean Water
                            Act jurisdiction for this site. If you intend to conduct any activity that constitutes a discharge of
                            dredged or fill material into wetlands or other waters, you should request a jurisdictional
                            determination from the local office of the COE prior to starting the work.”


       514.2 Definitions

             A. Agricultural Commodity

                    An agricultural commodity is defined as any crop planted and produced by annual tilling of the soil,




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Technical Assistance for
Agriculture Conservation

Updated January 7, 2011




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                                                              Technical Assistance for Agriculture Conservation




with the introduction of conservation compliance.22 It was not until the 1990s that NRCS assumed
greater responsibility in USDA’s financial assistance programs for conservation. As part of the
Federal Crop Insurance Reform and Department of Agriculture Reorganization Act of 1994 (P.L.
103-354), USDA was reorganized. On October 13, 1994, through a USDA memorandum (1010-
1) the Soil Conservation Service was renamed the Natural Resources Conservation Service. The
newly created NRCS also received responsibility for the Wetlands Reserve Program (WRP),
Water Bank, Colorado River Basin Salinity Control, and Forestry Incentives programs from the
Agricultural Stabilization and Conservation Service (now known as the Farm Service Agency).23
While leadership for these programs transferred to NRCS, the function of making payments to
program participants remained with FSA.
Following enactment of the 1996 farm bill (P.L. 104-127), NRCS became responsible for
administering the Environmental Quality Incentives Program (EQIP), a combination of several
financial assistance programs. NRCS was given the leadership role for the financial as well as the
technical aspects of the conservation programs, including developing the type of practices
available, assisting producers with preparation of applications, ranking applications, and checking
on installation of practices. The payment function for EQIP, WRP, and other conservation
programs administered by NRCS remained with FSA. It was not until the enactment of the 2002
farm bill (P.L. 107-171) that NRCS became responsible for most of the conservation programs
under the conservation title, including payment responsibility. FSA retained the administration of
the Conservation Reserve Program (CRP), with NRCS continuing to provide technical assistance;
administration of the Grasslands Reserve Program (GRP) was split between NRCS and FSA. The
increase in responsibility following the 2002 farm bill came with an expanding list of natural
resource concerns and a significant increase in funding authority.24
Despite the transition of program leadership, some functions continue to be maintained by each
agency. NRCS continues to be the leader for the technical assistance of conservation programs
(e.g., planning, practice standards, etc.). FSA continues to be the leader for participant eligibility
determinations (e.g., adjusted gross income, compliance records, etc.). For programs that involve
both agencies (e.g., CRP and GRP) NRCS and FSA have a memorandum of agreement (MOA) or
memorandum of understanding (MOU) that divide responsibilities (Appendix B).


Non-Federal Technical Assistance
The current conservation technical assistance network includes more than just the federal USDA
component. State and local governments, for-profit businesses, non-profit organizations,
universities, and other entities expand the capacity to deliver technical assistance beyond the


22 The 1985 farm bill (P.L. 99-198) authorized conservation compliance (commonly referred to as sodbuster) and

wetlands compliance (commonly referred to as swampbuster) requirements, transforming many technical assistance
functions that NRCS historically performed by requiring enforcement of conservation under certain circumstances.
Sodbuster prohibits participation in numerous specified USDA programs when annually tilled commodity crops are
produced on highly erodible land (HEL) without adequate erosion protection. Swampbuster provisions prohibit
participation in numerous specified USDA programs when annually tilled commodity crops are produced, or land is
drained to make production possible, on certified wetlands. SCS had, and NRCS (successor to SCS) continues to have,
primary responsibility for providing technical assistance to determine whether land should be classified as highly
erodible or a wetland.
23 Helms, Douglas, “Technical Assistance—The Engine of Conservation,” March 2005, at http://www.nrcs.usda.gov/

about/history/articles/CTA_17Mar_Draft3.pdf.
24 Ibid.




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                                                       Advanced Wetland Determination    ...


  Wetland Determination for FSA Purposes – An Advanced Course for Experienced
                                     Staff.


                                          Target Audience

NRCS staff who -
    Have previously completed a Corps Regulatory IV Course or the NRCS (NEDC) Wetland ID
       for FSA Purposes; Phase 2 course.
    Have experience in conducting wetland determinations.
    Have the responsibility to support such determinations at the agency level (NRCS
       reconsiderations) or department level (USDA-National Appeals Division hearings).
    National and State staff in technical and leadership positions in need of understanding the
       complexities of NRCS responsibilities associated with the WC Provisions.

                                         Course Objective

This advanced refresher course is specifically designed to upgrade the knowledge-base of NRCS
staff with significant past experienced in conducting wetland determinations. Because of the
assumption that the participants have experience in the identification of field indicators provided
for in Chapters 2-4 of the Corps Regional Supplements, those skills (rapid test, dominance text,
hydric soils indicators and hydrology indicators) are not covered in detail. Rather this course is a
process/procedure-based session targeting staff who routinely conduct wetland determinations or
those staff who represent the agency in appeals of adverse decisions associated with the Wetland
Conservation (WC) provisions of the Food Security Act (FSA) of 1985, as amended.

It has been discovered that most NRCS staff erroneously use the Corps Data Form (Data Form 1) as
their procedural guide rather than the actual procedural manuals (Corps Wetland Delineation
Manual, Corps Regional Supplements and FSA Wetland ID Procedures). It has also been discovered
that the training material and approach provided in the Corps Regulatory IV courses lack the
procedural integrity needed by NRCS staff. This commonly results in flawed decisions not
supported by law, regulation or agency policy. In this course, participants are presented the
structure, opportunities and limitations provided for by the Corps’ Methods (Corps Manual and
Supplements). Additionally, participants are provided a detail review and discussion on the
purpose, structure and requirements of the FSA variances to the Corps methods provided in the
NFSAM; Part 527; FSA Wetland Identification Procedures released as NRCS policy via Circular 6
(December 1, 2010). Lastly, specific case-law decisions related to the identification of wetlands are
provided and discussed. Although, this course is not designed to teach the appeals process, it has
been discovered that few understand the process provided in the NRCS Appeal Procedures rule.
This rule is discussed to assure full understanding of the appeal procedures.

Following completion of this refresher course, the observant participant will have new appreciation
of the proper application of procedures used render an adverse technical decision regarding each of
the 3 steps of the FSA Wetland Determination Process as defined in the FSA Wetland ID Procedures
(NFSAM; Part 527; December 1, 2010), paragraph (2-18).

      Step 1: Wetland ID;
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       o   Policy reference to complete this step is the FSA Wetland ID Procedures is Part 527 of
           the NFSAM. NRCS NEDC courses titled Wetland ID for FSA Purposes (Phases 1 and 2)
           target this step.
      Step 2: Identification of Wetland Conservation Type (WC Label)
           o Policy references are 7CFR12.2 and 12.5(b) and NFSAM Part 514, subpart B and
               subpart C.
      Step 3: Determination of Size
           o Policy reference NFSAM Part 514.1 E. (1) and (2).


 How does this course differ from the NEDC courses Wetland ID for FSA Purposes: Phase 1; Basic
               Concepts and Wetland ID for FSA Purposes; Phase 2; Application?

The two NEDC courses are designed for inexperienced staff or those with limited experience in
conducting wetland determinations. The emphasis of these two courses is to present basic skills
and procedures required in rendering a decision if a site is a wetland (Step 1 of the FSA Wetland
Determination Process). These two NEDC courses primarily provide hands-on training on field
identification of indicators for hydrophytic vegetation, hydric soils and wetland hydrology.
Conversely, this advance course is designed for experienced staff and includes detailed discussion
of all three steps in the FSA wetland determination process (wetland ID, assignment of WC labels
and delineation/size/certified wetland map) with additional discussions on case law decision, the
statute, the regulations and the NRCS reconsideration and appeal process. Administrative (forms
and correspondence) procedures used in transmittal of an adverse technical decisions related to
the WC provisions are also discussed.

Lee Davis, Technical Assistance Biologist, NRCS Central National Technical Support Center,
provides this course to States and other national staff as part of his technical assistance
responsibilities. Leander Brown, Soil Scientist, East National Technical Support Center provides
support during the field visit portion related to is supported by identification of hydric soils,
delineation of sampling units and location of representative observation points. This advanced
course is not currently in Ag-Learn. Approval of this course is granted by the Director of the CNTSC
in response to requests by State Conservationists. The host State(s) arranges for the meeting room,
designation of hotels and the development of the list of participants and any certifications of
completion.


Required Prerequisites

   1. Regulatory IV course, training on the Corps regional supplements and/or NEDC’s Wetland
      ID for FSA Purposes (Phases 1 and 2).
   2. Experience in identifying wetlands using the Corps methods (Corps of Engineers Wetland
      Delineation Manual and Regional Supplements).

Participant Pre-course Responsibilities. (10-hours) - To increase efficiency and retention of
material, participants should read the following material. Each will be provided electronically to the
course participants. Note: These are listed in order of priority.

   1. Modules 1, 2 and 6 of the NEDC Course – Wetland ID for FSA Purposes; Phase 1, Basic
      Principles.
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          2-hours
   2. FSA Wetland ID Procedures “Circular 6” with special consideration of each of the 20 FSA
      Variances to the Corps Methods.
          1-hour
   3. B&D, Barthel and Koshman Decisions.
          2-hours
   4. 1990 Conference Managers Report, with comments
          30 minutes
   5. Wetland Conservation (WC) Provisions from the statute (FSA)
          1-hour
   6. Portion of the HELC and WC rule (7CFR12) related to the WC Provisions
          1.5 hours
   7. Portions of the HELC and WC rule related to exemptions (labels) with comments
          1-hour
   8. NRCS Appeal Rule, with comments
          1-hour

Recommended activities following completion of this course.

   1. Successful completion of the NEDC course Wetland ID for FSA Purposes; Phase 1; Basic
      Principles (16-24 hours).

   2. Study and then apply Chapter 4 (Hydrology) and Chapter 5 (Difficult Situations) of the
      Corps Regional Supplements with special consideration of the limitations and mandates.


                                          Course Materials

Course materials (below) will be provided electronically (document or link) to each participant.
Each participant (or State) will print the material, assembled into a 3-ring binder and bring to the
session. This assembled material can be used as a “WC desk reference” following completion of the
course.
    1. Portions of the Corps Manual
             flexibility paragraph 23 and Part IV (without Section E)
             Copy in Black and White (B&W)
    2. Applicable Corps Regional Supplement–
             suggested to be bound separately for field use
             Copy in color
    3. FSA Wetland ID Procedures “Circular 6”
             Transmittal (Circular) and body (FSA Procedures)
             Copy in B&W
    4. 1990 Conference Report, with comments
             Copy in color
    5. “Exemptions portions” from the rule, with comments
             Copy in color
    6. Entire HELC and WC rule (7CFR12)
             Copy in B&W
    7. WC portions of the statute (Food Security Act), with comments
             Copy in color
    8. B&D Decision
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        Copy in B&W
9. Barthel Decision
        Copy in B&W
10. Koshman Decision
        Copy in B&W
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To facilitate flexibility regarding logistics at different locations, this course is divided into 5
sessions requiring a total of 12 hours in the office. The optional field session, if selected by the
host State, requires an additional 3- 4 hours. Typically -
     Courses with a field exercise begins at noon on Tuesday and end at noon on Thursday, with
         Wednesday having ½ day in the office and ½ in the field.
     Courses without a field trip are 2 full office days.


               SESSION 1: INTRODUCTION, TECHNICAL and LEGAL FOUNDATIONS
                                   (2 hours, 30 minutes)

       o   Introductions
       o   Housekeeping
       o   Legal and Policy Foundations
       o   Civics 101
       o   Statute
       o   Regulations (7CFR12)
            7CFR12.31: On-Site Wetland Identification Criteria
       o   Food Security Act Wetland Determination (3-Step Process)
       o   Overview: What Did NRCS Actually Adopt as Policy? (15 minutes)



           SESSION 2: REVIEW OF THE FSA WETLAND ID PROCEDURES DOCUMENT
                                  (1 hours, 30 minutes)

       o   FSA Wetland ID Procedures Part I: Introduction
       o   Part II: Definitions
       o   Part III: FSA Wetland Definition
       o   Part IV: The Indicator-Based Approach
       o   Part V: FSA Wetland Identification Method
           o General Variances (n=3)
           o Variances to the Corps Manual (n=10)
           o Variances to the Regional Supplements (n=7)
       o   On-Site “Visit” , “Determination” and “Methods”


 SESSION 3: DETAILED REVIEW OF STEP 1 OF THE FSA WETLAND DETERMINATION PROCESS
                                  (WETLAND ID)
                                     (4 hours)

       o   Paragraph 23: Flexibility Provision (FSA Variances: None)
       o   Part IV; Section A: Introduction (FSA Variances: None)
       o   Part IV; Section B: Preliminary Data Gathering (FSA Variance 5-17)
       o   Part IV; Section C: Selection of Method (FSA Variances 5-21)
                Level 1
                Level 2
                Level 3
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    o   Part IV; Section D: Routine Determinations as supplemented with Chapters 2‐4
             Subsection 1: On-Site Inspection Unnecessary
                    
             Subsection 2 (FSA Variances
                     Routine Less than or Equal To 5 Acres in Size
                     Routine Greater than 5 Acres in Size
    o   Part IV; Section E
    o   Part IV; Section F, as supplemented with Chapter 5
    o   Part IV; Section G, as supplemented with Chapter 5
    o   Further review of Chapter 5


SESSION 4: SAMPLING UNIT AND REPRESENTATIVE OBSERVATION POINT FIELD EXERCISE
                                 (OPTIONAL)


                    SESSION 5: STEP 2: ASSIGNMENT OF WC LABELS
                                       (2 hours)

    o   Statute
    o   Regulations
    o   Policy
    o   Labels
             Commenced Conversion (CC)
             Categorical Minimal Effect (CWE)
             Converted Wetland, prior to 11/28/1990 (CW)
             Converted Wetland after 1990 (CW-year)
             Non-Wetland and Not PC (NW)
             Non-Manipulated Wetland (W)
             Prior Converted Cropland (PC)
             Farmed Wetland (FW)
             Farmed Wetland Pasture (FWP)
             Artificial Wetland (AW)
             Corps Permit, with Mitigation (CPD)
             Mitigation (MIW)
             Minimal Effect (MW)
             Third Party (TP)
             Mitigation Site (MWM)
             Wetland Not Fully Converted (WX)
             PC/NW


         SESSION 6: STEP 2: APPEALS, CASE-LAW AND WORKFLOW PROCESS
                                    (2 hours)

o   1990 Conference Report
o   B&D Decision
o   Barthel Decision
o   Koshman Decision
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o   NRCS Appeal Rule
         Request for Reconsideration
         Request for Appeal
o   AD-1026
o   CPA-026
o   FSA-569
o   CPA-38
o   Letters of Transmittals
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                                  1990 Farm Bill Conference Report:

   Disclaimer: This was cut and pasted from an email and should not be used outside of
information only. – red print are comments added for training purposes and are not part of the
                                     managers report.

Background and Comments: To understand the issues at the time, remember that the 1989
Federal Manual for Identifying and Delineating Jurisdictional Wetlands had been developed
with MUCH controversy. Per the mandate by Congress and the President, the four federal
agencies released the 1991 Proposed Revisions to the 1989 Manual. The result was the eventual
directive to stop using the 1989 manual (and its 1991 proposed revisions) and go back to what
was being used previously – that being the1987 manual for 404 and NFSAM (SCS) for FSA.
However, understand how controversial the issue of the identification of wetland was at the time,
you can understand some of the comments in the managers’ report. It also explains why they
were so firm on the 3-factor approach when the 1985 statute and USDA regulation (1987) used a
2-factor approach (soils and vegetation). Because SCS wetland experts at NHQ had been so
ingrained in the 1989 manual effort, they had bought off on the 3-factor approach (in direct
conflict with the 1985 Farm Bill and 1987 rule). This managers’ report provides value to our
question about the two-factor option provided in Section F of the Corps Manual. Because this
managers’ report is tied to the 1990 Farm Bill, the two-factor approach in the 1985 is replaced
with the 3-factor approach in the 1990 Farm Bill - Lee Davis

Subtitle B‐Wetland Conservation
(12) Wetland Definition

The House amendment places into statute a definition of wetlands that is consistent with the current
definition, but emphasizes that for the land in question: 1) the frequency of inundation or saturation by
surface or groundwater is sufficient to support hydrophytic vegetation; and 2) under normal
circumstances supports such wetland vegetation. (Section 1602)

The Senate bill has no comparable provision. The Conference substitute adopts the House
provision. (Section 1421)

The Managers note that there has been considerable confusion and controversy generated by attempts
to apply the provisions of Subtitle C of Title XII of the Food Security Act of 1985. The provisions of this
section, while restating the three characteristics that apply to a wetland, are not intended to indicate a
change, in any way, in the intent of the original provision.

A wetland possesses three essential characteristics: (1) hydrophytic vegetation, (2) hydric soils, and (3)
wetland hydrology, which is the driving force creating all wetland. The Managers intend that the three
criteria for identifying the specific characteristics of a wetland must all be met for an area to be
identified as wetland for the purposes of this section. Wetlands generally include swamps, marshes,
bogs, prairie potholes, and other similar areas.

The Managers' intent continues to be that an agricultural area cannot be designated a wetland on the
basis of a single characteristic (e.g., the predominance of hydric soils). All three criteria must be satisfied
in order for an area to be designated a wetland. The Managers do not intend that designations be made
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solely on the basis of the existence of a single characteristic. All three characteristics must be present to
arrive at a wetland designation, unless interrupted by temporary weather conditions or if hydrophytic
vegetation has been removed by farming or ranching practices.

Clearly the manager’s report REQUIRES that “all 3 factors be present” (under Normal Circumstances) and
all “3 criteria must be met for an area to be identified as a wetland” for FSA purposes. This is why NRCS
State Offsite Methods (SOSM) replace State Mapping Conventions (SMC). SMC’s fail to meet this
mandate as they target “wetland signatures” rather than remote indicators for each factor (hydric soils,
hydrophytic vegetation or wetland hydrology).

When evaluating agricultural land to determine the presence or absence of wetland, the Managers
recognize that agricultural lands are disturbed areas and must be viewed in that context. Cropping
practices that can result in the removal of hydrophytic vegetation, or other conditions such as
temporary drought or excessive moisture, can complicate the process of identifying wetland.

The Managers also reaffirm that unconverted wetland acreage may continue to be farmed without
penalty, when conditions permit, and so long as the producer does not drain, dredge, fill, or level the
farmed wetland so as to cause its conversion.

The Managers recognize that a farmed wetland often will not exhibit hydrophytic vegetation, since the
act of cultivation will frequently remove such vegetation. In that regard, the Managers intend the term
"under normal circumstances" to mean that a prevalence of hydrophytic vegetation must be present to
allow a wetland designation unless such vegetation has been removed, or if disturbed by farming,
ranching, or related activities, or eliminated as the result of unusual natural events and a determination
made that hydrophytic vegetation would have been present but for the disturbance.

The Managers intend that the term "prevalence of hydrophytic vegetation" refers to a condition in
which, under normal circumstances", a majority of the plant life species present require saturated or
inundated soil conditions, as well as those that can tolerate saturated or inundated soil conditions but
are capable of surviving in upland areas.

The Managers further intend that the term "frequency and duration" of inundation or saturation
required in the definition of the term "wetland" means that permanent or periodic inundation, or soil
saturation to the surface, exists during a significant portion of the growing season, conforming the
hydrology of the area to the wetland definition, and that this condition occurs in years of normal
precipitation. Such condition may also exist seasonally. The Managers do not intend that land subject to
infrequent flooding or occasional, brief pooling, such as from abnormally heavy rains or unusually heavy
snowmelt, be construed to meet the hydrological requirements of a wetland.

This statement provides an idea of ‐ How wet must an area be to be a wetland? Answer: “permanent or
periodic inundation, or soil saturation to the surface, exist during a significant portion of the growing
season and these wetting event must occur under normal climatic years.



(4) Timing of Violation
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The Senate bill establishes that a swampbuster violation is deemed to have occurred at either the point
of planting an agricultural commodity on a converted wetland, or after the date of enactment of this
Act, at the point of converting a wetland for the purpose of, or to have the effect of making possible, the
production of a commodity. (Section 1286)

The House amendment is essentially identical to the Senate bill (House language replaces "date of
enactment of this Act" with 'December 23, 1985". (Section 1602)

The Conference substitute adopts the House provision with technical amendments. (Section 1421)



(5) Wetland Delineation

The House amendment directs the Secretary to delineate wetland on a map and to make a reasonable
effort to make an on‐site wetland determination whenever requested by an owner or operator. The
Secretary is also directed to provide notice to affected owners or operators, to certify each map as
sufficient evidence for the purpose of making determinations of ineligibility for program benefits under
section 1221, and to provide an opportunity to appeal the delineations to the Secretary prior to the
certification. The Secretary also must maintain a public listing of all completed certifications. (Section
1602)

The Secretary is directed to review and certify the accuracy of the mapping of all lands mapped prior to
the date of enactment of the Food and Agricultural Resources Act of 1990 for the purpose of wetland
delineations to ensure that wetland on such lands have been accurately delineated. The Secretary must
provide by regulation a process for the periodic review and update of wetland delineations, as
determined appropriate by the Secretary.

We never did this, so those conducted prior to 1990 were never certified.

Persons are exempted from being "adversely affected because of having taken an action based on a
previous determination by the Secretary.

In the 1996 rule, USDA made it clear that this protection was only provided to certified determinations.
No such protect is provided to non‐certified (A.K.A. “official determinations” or “inventories”)
determinations.

The Senate bill has no comparable provision.

The Conference substitute adopts the House provision with amendments. The House requirement for
the review of all lands mapped for wetland delineation purposes prior to enactment of this Act is
deleted. All maps will be certified, as required in the House provision, and such maps may be appealed,
but no appeal will be allowed on maps completed prior to the date of enactment of this Act that had not
been changed, and where such maps had already been appealed and for which an on‐site visit had been
conducted. (Section 1602)
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Here they state that no review of pre‐1990 is required. This suggests that the idea for pre‐1990
determinations that were appealed AND an onsite visit conducted, that they could not be appealed. It is
unclear if these determinations (pre‐1990 and appealed) are certified.

The Managers agree that the certification process is to provide farmers with certainty as to which of
their lands are to be considered wetlands for purposes of Swampbuster. The Managers note that the
current USDA wetland delineation process involves the use of substantial materials to make an initial
determination in the field office, developed in consultation with other appropriate Federal and State
agencies. Wetlands identified in this process are delineated on maps which are then mailed to producers
for review. If the producer finds such map to be in error, and the USDA agrees that an error has been
made, then the map is corrected. If the USDA does not agree that there is an error in the map, and the
producer continues to believe so, then the producer may appeal such determination.

The Managers find that this process is adequate for certification of any new maps delineated after the
date of enactment of this Act. For maps completed prior to the date of enactment of this Act, the
Managers intend for producers to be notified that their maps are to be certified and that they have
some appropriate time for appeal. In this circumstance, producers who had not already been mailed
their maps should be given a map for their review.

This suggest that for those determinations conducted prior to 1990 (“official determinations”), that NRCS
must notify them that their maps are now certified, with appeal rights. That never happened. Thus,
determinations conducted prior to 1990 are not certified. The exception might be those that were
appealed prior to 1990. Some could argue that those are certified. The 1991 rule did not speak to
certification. The 1996 rule basically stated that all determination conducted after July 3, 1996 (90 days
after the 1996 rule was published) are certified, but did not speak to those conducted between 11‐28‐
1990 and 7‐3‐1996, nor those conducted prior to 11‐28‐1990.
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                            NOAA’S 1981–2010
                         U.S. CLIMATE NORMALS
                                                             An Overview
                          by Anthony Arguez, Imke Durre, Scott Applequist, Russell S. Vose,
                      Michael F. Squires, Xungang Yin, Richard R. Heim Jr., and Timothy W. Owen


            The latest 30-year U.S. Climate Normals, available from the National Climatic Data Center,
                were calculated for over 9,800 weather stations and include several new products
                                        and methodological enhancements.




      C
           limate normals are typically defined as 30-yr                     In the United States, the term normals is also
           averages of meteorological conditions, such as air             commonly used in a broader sense to refer to a full
           temperature, precipitation, etc. They are argu-                suite of products issued by the National Oceanic and
      ably the most fundamental attributes of the climate                 Atmospheric Administration (NOAA) that describes
      of a given locale. In fact, the terms normal and                    climatological conditions with 30-yr averages and
      climatology are often used interchangeably. As a                    other statistics (e.g., standard deviations). The
      measure of central tendency, climate normals char-                  new 1981–2010 set of NOAA’s climate normals are
      acterize the background state about which anomalous                 described herein and replace the 1971–2000 normals
      conditions and even extremes are allowed to operate.                that were released in the early 2000s. The overarching
      They can be used to determine what crops to plant,                  goals of NOAA’s 1981–2010 U.S. Climate Normals
      what clothes to pack for an extended trip, the rates a              are sixfold:
      power company can charge its customers, where and
      when to schedule an outdoor wedding, and countless                  • to produce high-quality climate normals for as
      other applications.                                                   many U.S. stations as possible, including estimates
                                                                            for short-record stations;
                                                                          • to compute the climate normals in a manner that
AFFILIATIONS: A rguez, D urre, A pplequist, Vose, Squires , Heim ,
                                                                            is representative of the 1981–2010 time period,
and O wen —NOAA/National Climatic Data Center, Asheville,
North Carolina; Yin*—STG, Inc., Asheville, North Carolina                   including stations with incomplete observing
CORRESPONDING AUTHOR: Anthony Arguez, NOAA/NCDC,                            records;
Room 506, 151 Patton Avenue, Asheville, NC 28801                          • to compute the climate normals such that they
*Current affiliation: ERT, Inc., Asheville, North Carolina                  reflect the station locations and their observing
E-mail: anthony.arguez@noaa.gov                                             practices at the end of 2010;
The abstract for this article can be found in this issue, following the   • to add new products to meet user needs as identi-
table of contents.                                                          fied via user engagement during the development
DOI:10.1175/BAMS-D-11-00197.1                                               process;
In final form 13 April 2012                                               • to develop new statistical techniques as needed to
                                                                            meet the goals listed above; and

      AMERICAN METEOROLOGICAL SOCIETY                                                                    november 2012         | 1687
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                                                                                                                   000950

                                         United States Department of Agriculture


~NRCS
Natural Resources Conservation Service
Post Office Box 2890
Washington, D.C. 20013




THROUGH:


FROM:             Jason A. Weller
                  Acting Chief                                                            1 8 2013
SUBJECT:          Wetland Conse              wn Compliance Changes and Clarifications


ISSUE:

Producers participating in most U.S. Department of Agriculture (USDA) programs must comply
with wetland conservation compliance provisions as required by the Food Security Act of 1985,
as amended (1985 Farm Bill). To meet this requirement, producers with wetlands on their
agricultural land work with the Natural Resources Conservation Service (NRCS) to obtain
certified wetland determinations. In the past several years, certified determination requests have
outpaced NRCS capacity. In order to address the increasing determination backlog and gain
efficiencies, NRCS, in consultation with the Office of General Counsel, proposes several
clarifications and administrative and regulatory changes to the wetland compliance provisions
under 7 CFR part 12. Departmental leadership discussed and concurred with the proposal at a
February 21 , 2013 meeting.

BACKGROUND:

Since 2009, producers expanded their production of com and soybeans in response to increasing
commodity prices. Most of this expanded production occurred in the Northern Great Plains
region of Eastern North Dakota, Eastern South Dakota, Central Iowa, and Western Minnesota.
This region, also known as the Prairie Pothole Region, contains numerous small, temporary
wetlands (potholes) that provide important wildlife habitat for migrating waterfowl. The
changing economics of com and soybean production have also led to a surge in producer interest
in drainage improvements on their land through installation of subsurface tile systems.

The 1985 Farm Bill requires producers participating in most USDA programs to comply with the
wetland conservation compliance provisions at 7 CFR part 12 on any of their agricultural land
that is determined to be a wetland. In particular, to remain eligible for USDA program benefits,


                                            Helping People Help the Land
                                             An Equal Opportunity Provider and Employer
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DECISION MEMORANDUM FOR THE SECRETARY                                                             2

producers must not plant an agricultural commodity on a wetland converted after December 23,
1985, or convert a wetland to make possible the production of an agricultural commodity after
November 29, 1990.

NRCS assists producers with meeting their wetland conservation compliance responsibilities by
issuing certified wetland determinations. Certified wetland determinations identify the location
of all wetlands on their land and the scope of protection that must be provided for a producer to
maintain eligibility for USDA program benefits. Producers' requests for certified wetland
determinations within the Prairie Pothole Region have outpaced NRCS ' capacity to service them
in a timely manner.

In 2011 , NRCS responded to the surge in requests by establishing a wetland initiative in the
Prairie Pothole Region States and providing funding dedicated to hire non-permanent staff for
the purpose of reducing the backlog of requests. The initiative has proven successful, reducing
the net backlog of requests that exceeded 12,000 in the spring of2012 to approximately 7,000.

Central to NRCS ' efforts to further reduce the backlog is the implementation of procedural
changes and clarifications to improve consistency and increase efficiency. NRCS has proposed
several clarifications and changes to the wetland compliance provisions under 7 CFR part 12 to
provide USDA program participants with greater transparency and predictability in wetlands
determinations, while also gaining efficiencies in the agency's wetland determinations process.
NRCS, in consultation with the Office of the General Counsel, analyzed the agency' s options to
implement these changes and concluded that some of the changes required rulemaking with
notice and comment.

The attached proposal explains these revisions and the methods of implementation in full. The
regulatory changes would ensure (1) continued use ofthe 1971-2000 precipitation dataset, which
best represents the normal climatic conditions as ofDecember 23, 1985 when wetlands
compliance was enacted; (2) consistent setback distance calculations for proposed drainage
improvements near a wetland and allow for categorical exemptions; (3) better use of mitigation
banks and involvement of third parties; and (4) consistency in identification of playas, poco sins,
and potholes to provide transparency and predictability for producers. The regulatory preamble
also will provide clarification regarding historic wetland determinations. NRCS began making
wetland determinations in 1987, but the certified wetland determination process did not begin
until the 1990 Farm Bill. The preamble will clarify that certified determinations are considered
to be final and explain the extent to which producers' can use and rely non-certified wetland
determinations.

Non-regulatory actions to be implemented will further streamline and increase consistency in the
wetlands determinations process. These include (1) developing and publishing in the Federal
Register consistent State Off-Site Methods (SOSM) that NRCS may use to make wetland
determinations, and (2) revising the National Food Security Act Manual to more fully describe
the basis and use of the Department of the Army Corps of Engineers' wetland delineation
procedures and other technical resources used in making wetland determinations.
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DECISION MEMORANDUM FOR THE SECRETARY                                                            3

On February 21 , 2013, the NRCS Acting Chief presented the NRCS proposal to Deputy
Secretary Kathleen Merrigan, Deputy Chief of Staff Carole J ett, Associate General Counsel
Ralph Linden, Senior Advisor Robert Bonnie, Under Secretary Harris D. Sherman, Deputy
Under Secretary Ann C. Mills, and Deputy Director Chris Zehren. These leaders voiced support
for the agency proposal, and recommended that it be provided to the Secretary of Agriculture for
fmal concurrence.

RECOMMENDATION:

NRCS recommends approval to implement the proposed changes and clarifications to the
wetland conservation compliance provisions under 7 CFR part 12 through the combination of
rulemaking and preamble discussion , public notice, and administrative updates to the National
Food Security Act Manual as described in the attached proposal.

DECISION BY THE SECRETARY:

Approve

Disapprove

Discuss with me

Date                        4ld13
Reviewed by

cc:
Kathleen Merrigan, Deputy Secretary of Agriculture
Carole Jett, Deputy Chief of Staff for the Secretary
Robert Bonnie, Senior Advisor for Environment and Climate
Ann C. Mills, Deputy Under Secretary, Natural Resources and Environment
Ralph Linden, Associate General Counsel
Chris Zehren, Deputy Director, Office of Budget and Program Analysis
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  Summary of Proposed Wetland Conservation Compliance Changes and Clarifications
                                               February 12, 2013

NRCS seeks to achieve better administrative consistency and efficiency in its implementation of the Wetland
Conservation Compliance (WCC) provisions. This paper defines the Agency’s proposed method to address
several implementation issues through changes and clarifications to the WCC regulation at 7 CFR part 12 and to
policy in the National Food Security Act Manual (NFSAM).

The Office of the General Counsel (OGC) has recommended that any change to the WCC criteria that may
affect a producer’s eligibility to receive USDA payments be made through a rule-making. After consulting with
OGC, NRCS reviewed each proposed change and has placed them into one of the following categories:
    I.      Regulatory – To address a change in current procedures or criteria that define the existence and size
            of wetlands and which therefore may impact an individual producer’s eligibility, NRCS recommends
            the change be made through an addition or change to the WCC regulation at 7 CFR part 12.
    II.     Preamble to the Rule – To address issues that are currently supported by regulatory language but
            where inconsistent implementation can be addressed through clarification of policy, NRCS
            recommends the clarification be made through an amendment to the National Food Security Act
            Manual (NFSAM), with public notice included in the preamble of the rule used to promulgate
            regulatory changes.
    III.    Federal Register Notices by States – To address proposed changes that involve State or regionally
            developed criteria that will be reviewed by State Technical Committees, NRCS recommends the
            changes be made through a notice posted in the Federal Register consistent with procedures that
            have been used for such changes to State procedures since 1996.
    IV.     Administrative – To address revisions to NFSAM procedures that do not impact a producer’s
            eligibility, NRCS recommends that revisions be made through clarifications to NFSAM policy.

I. Proposed Regulatory Changes
    1) Determining “normal” precipitation
The WCC provisions define wetlands in reference to whether, “under normal circumstances,” the land supports
a prevalence of hydrophytic vegetation (defined as a plant growing in water or in a water-saturated soil deficient
in oxygen). Therefore, the existence of wetlands and their size is largely dependent on climatic conditions,
most notably precipitation, that represent “normal conditions.” The procedures NRCS uses to determine the
existence of wetlands includes comparing aerial imagery to “normal conditions,” which are in part defined by a
precipitation data set collected by the National Weather Service and analyzed by the NRCS National Water and
Climate Center (NWCC). The NWCC standard, which is not outlined in either statute or regulation, is to use a
sliding 30-year precipitation data set that is updated every 10 years and is scheduled soon to slide forward with
data representing the 1981–2010 period. The data currently used is from 1971–2000. In many areas, the
updated precipitation data set shows an increase or decrease in the amount of normal precipitation. These
changes appear to be significant (greater than 10 percent increase) for much of the Prairie Pothole Region
(South Dakota, North Dakota, Minnesota, and Iowa). In these cases, using the updated precipitation data
(1981–2010) will likely result in: 1) more areas being identified as wetlands, and 2) larger wetland areas subject
to the USDA wetland compliance provisions.

To maintain consistency in WCC wetland determinations, the precipitation data set will be frozen to the existing
timeframe (1971–2000). NRCS believes the data from this timeframe best represents conditions on December
23, 1985, when the WCC statute was enacted in the Food Security Act. This date is consistent with USDA
wetland labels (Prior Converted Cropland [PC], Farmed Wetland [FW], and Farmed Wetland Pasture [FWP])
that have full or limited exemption from WCC provisions, which is tied to their condition when the 1985 law
was enacted.
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    2) Setback distance calculations for drainage improvements near a wetland
One of the most common requests for assistance from producers who desire to remain in compliance with the
WCC provisions is for an agency-determined setback distance, which defines how close to a protected wetland
a producer may install a new drainage improvement (ditches or tile) and still have only a minimal effect on the
wetland’s functions and values. NRCS believes that this activity-based wetland manipulation would be handled
most efficiently under the “Categorical Minimal Effect” provision cited in 7 CFR §12.31(e), which requires that
any categories of conversion activities that meet the criteria of Categorical Minimal Effect be published in the
Federal Register. Using the Categorical Minimal Effect provision will streamline the process of determining
setback distances and provide greater certainty for producers.
    3) Mitigation
The WCC provisions provide producers with a wetland mitigation option to remain in compliance or regain
compliance when they convert or plan to convert a wetland. Many states have developed mitigation banks as a
tool to meet wetland mitigation requirements under various legal requirements and wetland jurisdictions.
Existing regulatory language at 7 CFR §12.5(b)(4)(E) specifies that USDA is required to hold the easement on
mitigated acres. Allowing only USDA to hold the easement creates a barrier to a streamlined mitigation process
and, in the case of multiple jurisdictions, can require multiple easements on the same acres. To address these
barriers, NRCS recommends revising the regulation to allow mitigation easements to be held by other entities.
Other entities that could hold easements include state and local agencies and land trusts with an interest in
conservation.

    4) Definition of pothole, playa, pocosin
Current regulatory language at 7 CFR §12.2(a)(4)(ii) distinguishes farmed wetland (FW) hydrology criteria in
areas considered to be a pothole, playa, or pocosin. However, these three landforms and their extent are not
defined in regulation or existing administrative procedure. The rule will further clarify wetland criteria by
defining these landforms and identifying the locations where they generally exist. Because this clarification
may result in hydrology criteria that are more restrictive than what some states currently use, it may affect some
producers’ eligibility to receive USDA funding and therefore reaches a threshold for inclusion in regulation.
Including these definitions will provide greater consistency across states and allow greater transparency.

Recommended implementation: Write a proposed rule with language that will:
   • Identify and maintain the precipitation criteria used in USDA wetland determinations to the 1971–2000
     timeframe;
   • Explain the Categorical Minimal Effect process for setback distances;
   • Revise current regulatory language to allow mitigation easements to be held by other entities other than
     USDA; and
   • Define the landforms and locations for the pothole, playa, and pocosin criteria.

II.    Preamble to the Rule
     5) Certainty—historic determinations
Beginning in the late 1980s, NRCS completed and distributed wetland determinations and maps to producers.
Many of these original determinations have limitations because of the technology and reference data available
at the time they were produced. The 1990 Farm Bill addressed this problem by creating a wetland
determination certification process. NRCS is proposing to clarify the question of when a wetland determination
is considered certified under the law and how NRCS will address wetland determinations that were official at
the time they were issued, but are not certified in accordance with statutory and regulatory requirements. This
clarification is not a change from current NRCS procedures but will provide consistency within and across
states and will provide greater transparency to producers.

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   •   By regulation at 7 CFR §12.30(c)(1), all determinations issued after July 3, 1996, are considered
       certified.
   •   For determinations issued between April 23, 1991, and July 3, 1996, prior regulatory language at 7 CFR
       §12.30 (c) indicated that these determinations were certified when producer appeal rights were provided.
       Case file records do not uniformly include documentation of appeal rights. Administrative guidance
       will be developed to consider determinations from this era as certified when documentation exists to
       show that producers were provided appeal rights. Where appeal documentation doesn’t exist, producers
       will be allowed to either accept their determination as certified or request a new certified determination.
       All newly issued determinations will be completed using the most current certification procedures.
   •   Determinations issued between 1985 and April 23, 1991, are not certified unless they were appealed to
       the State Conservationist or National Appeals Division, or settled through litigation. In locations where
       the number of producer-requested wetland determinations exceeds NRCS’s capacity to provide
       assistance in a timely manner, producers who take actions resulting in a wetland conversion while
       relying on their non-certified wetland determination may seek relief through an agency technical error
       process. These situations will be resolved on a case-by-case basis using existing procedures in the
       NFSAM.

Recommended implementation: Explain the date-specific wetland certification requirements in the preamble
of the proposed rule (outlined in Section I above) and provide notice on the use of non-certified (official)
wetland determinations.

III.   Federal Register Notice by States
    6) Consistent State Off-Site Methods (SOSM)
NRCS is required to make an on-site wetland determination only if: 1) insufficient information exists to make
an off-site determination; 2) a producer appeals an off-site wetland determination; or 3) USDA is making a
determination of ineligibility for USDA program benefits based upon a violation of the WCC provisions.
Therefore, many of NRCS’s initial wetland determinations are made off-site, using methods and data that are
developed at the State level. NRCS is authorized to develop and use off-site methods at 7 CFR § 12.30(a)(4),
and current policy requires each State to define its procedures for these determinations in a SOSM document
that is posted for public information in their State’s Field Office Technical Guide. All revisions to the NRCS
State technical guides that are used to implement the WCC provisions must be published for notice and
comment in accordance with Section 343 of the Federal Agriculture Improvement and Reform Act of 1996 (PL
104-127). Each State’s SOSM is reviewed by its State Technical Committee. NRCS will also pilot the
development of a Regional SOSM in the Prairie Pothole Region of Iowa, North Dakota, Minnesota, and South
Dakota.

Recommended implementation: Each State will develop SOSM to be implemented after review with its State
Technical Committee and publication for notice and comment in the Federal Register. Precedent for publishing
this type of state technical document occurred in 2010 when North and South Dakota published their wetland
mapping conventions.

IV.    Administrative
    7) Defining NRCS technical and policy references for conducting certified wetland determinations in
        relation to the U.S. Army Corps of Engineers` wetland delineation procedures
Since 1994 NRCS has used portions of the U. S. Army Corps of Engineers (Corps) wetland delineation
procedures when making wetland determinations under the wetland conservation compliance (WCC) provisions
of the Food Security Act of 1985. In 2010 NRCS clarified various exceptions to the Corps procedures related to
the unique WCC statutory and regulatory requirements. These exceptions and further guidance are detailed in
the “NRCS Food Security Wetland Identification Procedures” (FSA Procedures), last revision issued as Circular
                                                                                                                 3
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6 to the National Food Security Act Manual, Part 527, Appendix. One outside stakeholder has expressed
concern that NRCS does not have authority to use the Corps wetland delineation procedures when making
WCC wetland determinations. NRCS disagrees with this stakeholder and believes that our current use of the
Corps procedures, with USDA exceptions, provides consistency and the best possible science for wetland
determinations. Further clarifying NRCS’s use of Corps procedures will provide greater transparency for all
stakeholders.

Recommended implementation NRCS will revise the National Food Security Act Manual (NFSAM) to
strengthen the language regarding the use of the NRCS Food Security Act Wetland Identification Procedures
and further define the similarities and differences between NRCS’s FSA Procedures and the Corps methods.




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This form is available electronically.                                              (See Page 2 for Privacy Act and Paperwork Reduction Act Statements)
AD-1026                                                       U.S. DEPARTMENT OF AGRICULTURE
(10-30-14)                                                             FarmServiceAgency
                                       HIGHLY ERODIBLE LAND CONSERVATION (HELC) AND
                                         WETLAND CONSERVATION (WC) CERTIFICATION
 Read attached AD-1026 Appendix before completing form.
  PART A – BASIC INFORMATION
  1. Name of Producer                                                                             2. Tax Identification Number (Last 4 digits)     3. Crop Year

  4. Names of affiliated persons with farming interests . Enter “None,” if applicable.




  Affiliated persons with farming interests must also file an AD-1026. See Item 7 in the Appendix for a definition of an affiliated person.
  5. Check one of these boxes if the statement applies ; otherwise continue to Part B.
      A.        The producer in Part A does not have interest in land devoted to agriculture. Examples include bee keepers who place their hives on another
                person’s land, producers of crops grown in greenhouses, and producers of aquaculture AND these producers do not own/lease any agricultural
                land themselves. Note: Do not check this box if the producer shares in a crop.

     B.         The producer in Part A meets all three of the following:
                 does not participate in any USDA program that is subject to HELC and WC compliance except Federal Crop Insurance.
                 only has interest in land devoted to agriculture which is exclusively used for perennial crops, except sugarcane, and
                 has not converted a wetland after February 7, 2014.
           Perennial crops include, but are not limited to, tree fruit, tree nuts, grapes, olives , native pasture and perennial forage. A producer that produces alfalfa
           should contact the Natural Resources Conservation Service at the neares t USDA Service Center to determine whether such production qualifies as
           production of a perennial crop.

      Note: If either box is checked, and the producer in Part A does not participate in Farm Service Agency(FSA) or Natural Resources Conservation Service
            (NRCS) programs, the full tax identification number of the producer must be provided, but establishment of detailed farm records with FSA is not
            required. Go to Part D and sign and date.

  PART B - HELC/WC COMPLIANCE QUESTIONS
      Indicate YES or NO to each question.
      If you are unsure of whether a HEL determination, wetland determination, or NRCS evaluation has been completed, contact your local                   YES      NO
      USDA Service Center.
  6. During the crop year entered in Part A or the termof a requested USDA loan, did or will the producer in Part A plant or produce an
     agricultural commodity (including sugarcane) on land for which an HEL determination has not been made?
   7. Has anyone performed (since December 23, 1985), or will anyone perform any activities to:

      A. Create new drainage systems,conduct land leveling, filling, dredging, land clearing, or excavation that has NOT been evaluated
         by NRCS? If “YES”, indicate the year(s):
      B. Improve or modify an existing drainage systemthat has NOT been evaluated by NRCS? If “YES”, indicate the year(s):
     C. Maintain an existing drainage system that has NOT been evaluated by NRCS? If "YES", indicate the year(s):
        Note: Maintenance is the repair, rehabilitation, or replacement of the capacity of existing drainage systems to allow for the
               continued use of wetlands currently in agricultural production and the continued management of other areas as they
               were used before December 23, 1985. This allows a person to reconstruct or maintain the capacity of the original
               system or install a replacement system that is more durable or will realize lower maintenance or costs.
        Note: If “YES” is checked for Item 7A or 7B, then Part C must be completed to authorize NRCS to make an HELC/WC and/or certified
              wetland determination on the identified land. If “YES” is checked for Item 7C, NRCS does not have to conduct a certified wetland
              determination.
  8. Check one or both boxes, if applicable; otherwise, continue to Part C or D.

      A.         Check this box only if the producer in Part A has FCIC reinsured crop insurance and f iling this form represents the first time the producer in
                 Part A, including any affiliated person, has been subject to HELCand WC provisions.

      B.         Check this box if either of the following applies to the producer and crop year entered in Part A:
                  • Is a tenant on a farm that is/will not be in compliance with HELC and WC provisions because the landlord refuses to allow compliance, but all
                    other farms not associated with that landlord are in compliance. (AD-1026B, Tenant Exemption Request, must be completed).
                  • Is a landlord of a farm that is/will not be in compliance with HELC and WC provisions because of a violation by the tenant on that farm, but all
                    other farms not associated with that tenant are in compliance. (AD-1026C, Landlord or Landowner Exemption Request, must be completed).
  PART C – ADDITIONAL INFORMATION
 9. If “YES” was checked in Item 6 or 7, provide the following information for the land to which the answer applies:
     A.      Farm and/or tract/field number:
                                                 If unknown, contact the Farm Service Agency at the nearest USDA Service Center.
     B.      Activity:
     C.      Current land use (specify crops):
     D.      County:
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June 23, 2015

Mr. Daniel McGlynn
Production, Emergencies and Compliance Division
Farm Service Agency, United States Department of Agriculture
1400 Independence Avenue SW.
Washington, DC 20250-0517

        Via the Federal e-Rulemaking Portal at www.regulations.gov.


RE:     Comments regarding the Interim Final Rule with amendments dealing with the U.S.
        Department of Agriculture (USDA) regulations that specify the conservation
        compliance requirements that participants in USDA programs must meet to be eligible
        for certain USDA benefits; Docket Number USDA-2015-0001.

Dear Mr. McGlynn:

The National Corn Growers Association (NCGA) offers below comments on the amendments
dealing with the U.S. Department of Agriculture (USDA) regulations that specify the
conservation compliance requirements that participants in USDA programs must meet to be
eligible for certain USDA benefits; Docket Number USDA-2015-0001.

NCGA represents approximately 41,000 dues-paying corn growers across the country and the
interests of more than 300,000 farmers who contribute through corn check-off programs.
NCGA has been a consistent advocate for many of the USDA conservation programs, and the
resources they are intended to protect, including Swampbuster and the Highly Erodible Land
(HEL) “conservation compliance” program. Many of our producer members will be directly and
profoundly affected by the application of this Interim Final Rule.



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Congress, in adopting the 2014 farm bill’s amendments adding eligibility for crop insurance
premium subsidies to the list of benefits subject to the conservation compliance provisions, was
not seeking to create a mechanism to diminish in any way the scope and effectiveness of the
crop insurance program. Congress recognized in the farm bill the immense importance of the
crop insurance program to farmers and the US agricultural system. Today it is the largest and
most important piece of the federal farm safety net to help producers and the agricultural
economy cope with weather and related disasters that threaten the livelihood of farmers,
individually and collectively. This program must continue to be broadly available, efficient and
straight forward for farmers to obtain coverage, and it must be the same for the insurance
industry and its efforts to service the farming community’s insurance needs. The goal of the
conservation compliance program, and hence this rule, therefore should be to advance
farmers’ efforts to protect HEL and valuable wetland resources while also ensuring that crop
insurance and the other covered programs remain highly effective as part of the farm safety
net. We offer these comments with this goal in mind.

Notice and Comment Program Change Ideas that May Emerge from Questions--We
understand and applaud USDA’s desire to seek comment during this period on conservation
compliance matters not directly associated with the regulatory changes required by the farm
bill with respect to eligibility for crop insurance premium subsidies. Program modernization
and updating to take into account new information and conditions is important and valuable.
We caution USDA, though, against making rule changes on the basis of the answers USDA might
receive in response to the questions it has posed without subjecting those changes to further
notice and comment rulemaking. The questions USDA has posed are sound and relevant. Yet
they are also extremely broad and the answers USDA receives could well involve important new
directions for the conservation compliance program. As a result, USDA should not go directly
from the answers it receives into an interim final rulemaking. An intermediate step must be
taken; publish those possible changes to the program for a round of public comments. Failure
to do so would certainly violate the spirit, if not the letter, of the Administrative Procedures
Act.

Restoring Eligibility for the Subsequent Reinsurance Year--The farm bill requires that a
producer who converts a wetland or is in violation of their HEL conservation plan be made
ineligible for crop insurance premium subsidies in the subsequent reinsurance year. There may
be instances where a producer in this circumstance has sufficient time to correct the resource
issue in the current year and would actively undertake work with the Natural Resources
Conservation Service and the Farm Services Agency in that crop year to correct the problem.
We strongly urge USDA to consider policies that would give such producers the incentive to
take these steps as quickly as possible. If the producer is willing during that crop year to restore

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United States
Department of
Agriculture
Natural Resources
Conservation Service




            2012
National Resources Inventory
      Summary Report
                            August 2015
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Table 10 - Cropland use, by State and year
In thousands of acres, with margins of error

                                     Cultivated Cropland                       Noncultivated Cropland

     State        Year                                                                                           Total cropland
                         Irrigated      Nonirrigated       Total     Irrigated      Nonirrigated        Total



  New Mexico      1982    988.4           1,012.9          2,001.3    380.9             28.4            409.3       2,410.6
                          ±111.5           ±100.1          ±155.6      ±75.3            ±23.5           ±77.2        ±165.6


                  1987    750.2            752.8           1,503.0    419.3             31.3            450.6       1,953.6
                          ±124.1           ±114.3          ±181.2      ±52.2            ±23.9           ±63.1        ±183.3


                  1992    725.8            740.8           1,466.6    402.9             22.0            424.9       1,891.5
                           ±93.6           ±114.9          ±163.0      ±93.3            ±22.4           ±93.0        ±187.2


                  1997    639.1            741.6           1,380.7    458.2             26.0            484.2       1,864.9
                           ±91.1           ±106.6          ±147.6      ±85.8            ±29.4           ±85.4        ±174.4


                  2002    544.4            576.5           1,120.9    424.4             10.0            434.4       1,555.3
                           ±84.2           ±108.4          ±148.6     ±100.6            ±7.8            ±101.4       ±190.0


                  2007    540.4            580.5           1,120.9    400.2             5.7             405.9       1,526.8
                           ±71.5           ±127.9          ±158.8     ±114.0            ±6.6            ±115.6       ±199.3


                  2012    528.2            587.2           1,115.4    384.6             37.8            422.4       1,537.8
                           ±77.2           ±135.3          ±149.9      ±69.4            ±67.7           ±112.1       ±199.5

   New York       1982     44.9           3,342.7          3,387.6     13.4           2,453.7       2,467.1         5,854.7
                           ±18.5           ±175.9          ±179.8      ±11.0           ±131.5           ±130.7       ±232.3


                  1987     56.4           3,066.0          3,122.4     18.5           2,548.7       2,567.2         5,689.6
                           ±19.1           ±156.0          ±161.6      ±12.8           ±133.9           ±135.1       ±225.8


                  1992     58.9           2,767.2          2,826.1     18.9           2,709.4       2,728.3         5,554.4
                           ±21.7           ±164.1          ±163.6      ±11.5           ±144.4           ±146.1       ±212.4


                  1997     66.2           2,639.2          2,705.4     18.5           2,613.0       2,631.5         5,336.9
                           ±22.3           ±175.1          ±173.8      ±12.9           ±130.3           ±132.1       ±223.1


                  2002     63.5           2,307.0          2,370.5     29.1           2,826.0       2,855.1         5,225.6
                           ±27.7           ±190.8          ±186.7      ±18.8           ±215.4           ±211.1       ±201.1


                  2007     51.1           2,231.1          2,282.2     24.7           2,698.6       2,723.3         5,005.5
                           ±26.2           ±180.9          ±178.3      ±18.3           ±196.9           ±192.3       ±220.0


                  2012     57.7           2,458.6          2,516.3     25.7           2,580.6       2,606.3         5,122.6
                           ±27.5           ±189.4          ±187.7      ±17.3           ±184.8           ±183.0       ±227.4

 North Carolina   1982    271.0           6,097.2          6,368.2     4.5             338.6            343.1       6,711.3
                           ±51.6           ±267.6          ±261.9      ±5.7             ±63.6           ±63.8        ±256.6


                  1987    317.0           5,744.3          6,061.3     4.3             317.4            321.7       6,383.0
                           ±65.0           ±266.9          ±260.7      ±7.6             ±55.3           ±55.3        ±272.5


                  1992    325.1           5,237.7          5,562.8     9.8             397.7            407.5       5,970.3
                           ±73.0           ±231.1          ±240.9      ±9.0             ±78.1           ±79.3        ±255.5


                  1997    328.9           4,788.1          5,117.0     16.6            553.2            569.8       5,686.8
                           ±71.8           ±216.9          ±233.0      ±15.6            ±65.6           ±64.7        ±248.8


                  2002    242.5           4,608.0          4,850.5     29.1            569.9            599.0       5,449.5
                           ±98.8           ±230.7          ±203.0      ±12.7           ±109.1           ±110.8       ±237.3


                  2007    187.9           4,430.4          4,618.3     31.2            641.1            672.3       5,290.6
                           ±67.4           ±207.3          ±185.2      ±12.7           ±126.1           ±126.8       ±231.4


                  2012    178.5           4,287.3          4,465.8     33.4            650.1            683.5       5,149.3
                           ±73.2           ±229.7          ±216.6      ±17.7           ±110.4           ±112.4       ±258.2




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Table 10 - Cropland use, by State and year
In thousands of acres, with margins of error

                                   Cultivated Cropland                         Noncultivated Cropland

     State      Year                                                                                             Total cropland
                       Irrigated      Nonirrigated         Total     Irrigated      Nonirrigated        Total



   Wisconsin    1982    311.5           9,133.1           9,444.6      21.7           2,001.1       2,022.8         11,467.4
                         ±66.1           ±243.0           ±244.5       ±13.0           ±127.7           ±131.5       ±286.8


                1987    327.3           9,104.3           9,431.6      11.8           1,896.8       1,908.6         11,340.2
                         ±58.4           ±272.2           ±273.0       ±9.3            ±114.4           ±112.4       ±312.0


                1992    341.7           8,501.5           8,843.2      35.0           1,957.1       1,992.1         10,835.3
                         ±59.5           ±285.3           ±271.6       ±20.2           ±119.5           ±119.2       ±290.3


                1997    365.6           8,388.3           8,753.9      30.2           1,822.5       1,852.7         10,606.6
                         ±66.9           ±290.0           ±290.2       ±21.8           ±141.0           ±148.6       ±305.7


                2002    395.4           7,904.9           8,300.3      37.9           1,935.0       1,972.9         10,273.2
                         ±93.8           ±381.9           ±377.8       ±29.5           ±191.9           ±199.0       ±284.4


                2007    415.6           7,828.5           8,244.1      26.8           1,889.5       1,916.3         10,160.4
                         ±93.6           ±425.8           ±423.8       ±21.4           ±252.9           ±257.7       ±293.8


                2012    429.1           8,140.1           8,569.2      33.0           1,762.7       1,795.7         10,364.9
                         ±92.8           ±395.0           ±406.3       ±29.0           ±234.4           ±244.9       ±285.4

   Wyoming      1982    500.5            922.4            1,422.9     928.6            172.4        1,101.0         2,523.9
                         ±90.9           ±243.8           ±266.7      ±145.7            ±94.7           ±151.0       ±303.2


                1987    518.6            685.8            1,204.4     886.6            270.0        1,156.6         2,361.0
                         ±89.1           ±194.7           ±226.2      ±132.8           ±182.2           ±214.6       ±329.0


                1992    494.0            493.1            987.1       912.3            300.6        1,212.9         2,200.0
                         ±92.7           ±183.6           ±229.0      ±137.6           ±160.6           ±183.5       ±332.6


                1997    470.2            507.5            977.7       859.3            294.9        1,154.2         2,131.9
                        ±116.5           ±206.0           ±250.4      ±133.0           ±123.3           ±152.2       ±339.9


                2002    494.0            456.5            950.5       901.8            352.9        1,254.7         2,205.2
                        ±148.1           ±157.2           ±214.7      ±154.9           ±197.3           ±171.2       ±301.7


                2007    445.7            378.8            824.5       940.6            383.2        1,323.8         2,148.3
                        ±155.1           ±124.0           ±180.7      ±179.7           ±201.7           ±185.0       ±285.0


                2012    433.3            396.6            829.9       941.0            388.6        1,329.6         2,159.5
                        ±143.0           ±124.8           ±185.0      ±172.1           ±199.3           ±193.9       ±297.8

     Total      1982   49,824.8        326,424.4         376,249.2   12,294.1         32,044.3      44,338.4       420,587.6
                        ±901.5          ±2,014.2          ±2,148.2    ±513.8           ±618.2           ±837.5      ±2,087.1


                1987   49,480.9        313,453.4         362,934.3   12,293.2         31,147.5      43,440.7       406,375.0
                        ±1,039.4        ±1,875.4          ±2,065.7    ±518.6           ±728.5           ±927.5      ±2,026.7


                1992   49,540.4        285,839.0         335,379.4   13,018.3         33,603.4      46,621.7       382,001.1
                        ±938.3          ±1,948.9          ±1,981.0    ±610.2           ±643.1           ±926.5      ±1,985.1


                1997   49,098.7        277,631.2         326,729.9   13,370.7         36,260.2      49,630.9       376,360.8
                        ±979.6          ±2,217.2          ±2,091.1    ±642.6           ±688.9        ±1,032.4       ±2,046.7


                2002   48,392.1        266,263.3         314,655.4   14,471.5         38,548.2      53,019.7       367,675.1
                        ±949.5          ±2,387.6          ±2,285.1    ±796.9           ±903.6        ±1,266.7       ±2,080.0


                2007   47,472.3        258,505.6         305,977.9   14,276.6         38,611.8      52,888.4       358,866.3
                        ±950.0          ±2,037.6          ±2,111.8    ±673.3           ±981.6        ±1,272.8       ±2,009.3


                2012   48,263.9        262,057.8         310,321.7   14,002.0         38,402.4      52,404.4       362,726.1
                        ±962.5          ±1,984.1          ±2,096.6    ±638.9           ±840.2        ±1,046.4       ±1,933.0




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Table 12 - Cropland and pastureland, by specific land cover/use and year
In thousands of acres, with margins of error


                      Specific land
 Land cover/use                              1982        1987        1992        1997        2002        2007        2012
                       cover/use




Cultivated        Fruits, nuts & flowers    205.0       177.3       112.4        37.4        59.8        92.1       133.3
cropland                                     ±37.3       ±33.9       ±20.8       ±21.7       ±29.5       ±34.1       ±60.7


                       Small grain         128,114.3   109,484.1   104,740.3   94,843.7    80,841.7    79,572.1    72,459.9
                                            ±1,537.5    ±1,620.3    ±1,292.1    ±1,207.7    ±1,094.4    ±1,395.0    ±1,499.0


                          Corn             91,642.3    83,396.3    86,909.4    84,581.3    81,239.1    95,276.8    98,355.0
                                             ±880.0      ±970.4      ±929.6      ±936.1     ±1,008.8    ±1,290.4    ±1,036.7


                       Soybeans            66,574.7    63,909.7    59,290.8    67,513.9    76,147.5    66,763.1    77,021.3
                                             ±619.8      ±741.7      ±856.8      ±767.3      ±864.4     ±1,098.0    ±1,249.8


                         Cotton            17,316.1    16,113.7    14,080.7    17,399.1    16,288.8    13,506.9    14,730.6
                                             ±651.9      ±699.4      ±468.2      ±526.5      ±886.4      ±758.3      ±512.7


                        Peanuts             1,759.1     1,807.7     2,114.2     1,882.3     1,684.7     1,500.4     1,388.3
                                             ±133.7      ±137.9      ±107.4      ±148.8      ±192.0      ±216.9      ±184.9


                        Tobacco             1,347.2     1,046.0     1,298.2     1,366.3     640.8       574.6       519.4
                                             ±88.8       ±113.2      ±106.1      ±105.3      ±133.2      ±99.7       ±117.5


                      Sugar beets           1,275.9     1,155.0     1,338.5     1,230.0     1,204.3     990.0       1,032.4
                                             ±140.2      ±148.7      ±139.8      ±186.6      ±245.4      ±197.8      ±129.0


                        Potatoes            1,247.8     1,394.4     1,340.1     1,199.4     1,335.0     1,214.4     1,129.7
                                             ±88.5       ±155.3      ±129.2      ±131.5      ±204.4      ±200.9      ±139.2


                       Sunflowers           3,598.0     1,888.5     1,869.8     2,411.3     2,406.3     1,892.8     1,765.6
                                             ±182.2      ±135.3      ±166.3      ±205.2      ±381.5      ±305.8      ±196.1


                     Summer fallow         28,097.1    28,286.1    23,461.4    20,868.5    17,139.9    15,269.5    14,694.6
                                             ±742.9      ±903.4      ±958.6      ±837.7     ±1,084.9     ±876.7      ±876.6


                      Aquaculture             4.1        17.9        53.6        20.7        46.5        97.3        39.8
                                              ±5.6       ±17.6       ±18.9       ±12.1       ±31.9       ±38.7       ±29.8


                   Other cropland not       8,086.3    20,988.7    12,412.3     7,675.2     5,862.7     4,713.0     5,418.8
                        planted              ±375.4      ±390.1      ±563.6      ±445.6      ±508.0      ±432.6      ±452.8


                        Hayland            13,579.1    18,008.4    13,274.1    12,522.0    13,254.8    10,492.1     9,016.1
                                             ±461.7      ±499.6      ±470.6      ±394.6      ±463.8      ±621.8      ±414.9


                      Pastureland           1,986.8     3,514.9     1,709.5     1,336.9     3,634.3     2,398.4     1,522.1
                                             ±136.3      ±279.0      ±114.6      ±143.5      ±191.0      ±235.4      ±213.5


                      Other crops          11,415.4    11,745.6    11,374.1    11,841.9    12,869.2    11,624.4    11,094.8
                                             ±528.9      ±528.6      ±439.6      ±433.5      ±763.3      ±673.1      ±591.7


                    Total Cultivated       376,249.2   362,934.3   335,379.4   326,729.9   314,655.4   305,977.9   310,321.7
                       Cropland             ±2,148.2    ±2,065.7    ±1,981.0    ±2,091.1    ±2,285.1    ±2,111.8    ±2,096.6




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                                    National Food Security Act Manual, Fifth Edition
                                     Part 514 ­ Wetland Determination and Labels




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                  CloverAdams, Jamie - OSEC, Washington, DC; Finley, Amanda - RMA; Fritscher, Justin - NRCS, Washington, DC;
                  Boozer, Astor - NRCS, Washington, DC; Montoya, Xavier - NRCS, Albuquerque, NM; Taylor, Myron - NRCS,
                  Washington, DC; Erickson, Terrell - NRCS, Washington, DC
Subject:          Acting Chief"s Meeting with Agriculture Stakeholders - July 25
Date:             Thursday, July 19, 2018 4:23:00 PM


SENT ON BEHALF OF LESLIE DEAVERS

All,

Acting Chief Jordan is hosting a stakeholder meeting on July 25 at 1:00 p.m. in Room 5006-S to
discuss updates that are planned for the Wetland Conservation provisions at 7 CFR Part 12. These
updates were included on the USDA Spring Regulatory Agenda that was published on May 9th,
2018. Although you are likely familiar with several of the changes which have been discussed in
meetings over the past several years, NRCS would like to present the changes in total and bring you
up to date with the current effort.

The updates are being developed to ensure the regulatory provisions are consistent with statutory
requirements, apply current technical standards, and provide the public with transparency and
consistency in implementation of the provisions. Key changes include:
        Following up on past administrative actions by confirming the certification status of
        wetland determinations completed between November 28, 1990, and July 3, 1996, to
        ensure consistency with statutory requirements.
        Specifying the continued use of the 1971-2000 precipitation dataset for consistent
        determinations.
        Adding definitions of pothole, playa, and pocosins to provide consistency and
        predictability.
        Updating hydrology criteria to focus on observations in-field rather than on days of
        saturation and flooding.
        Streamlining wetland minimal effect exemptions.

Please RSVP to Mary Katharine Grady if you plan on attending. Mary Katharine can be reached at
202-720-3210 or by e-mail at mary.grady@wdc.usda.gov.
   Case 1:19-cv-02416-TSC           Document 35-1         Filed 06/18/21      Page 208 of 211           001387




July 25, 2018

Sonny Perdue, Secretary
U.S. Department of Agriculture
1400 Independence Ave., S.W.
Washington, DC 20250

Leonard Jordan, Acting Chief
Natural Resource Conservation Service, Office of the Chief
1400 Independence Ave., S.W., Room 5105-A
Washington, DC 20250

       Re:      Preliminary Comments on Proposed Changes to the Wetland Conservation
                Provisions at 7 C.F.R. part 12

On behalf of the National Wildlife Federation and Izaak Walton League of America (IWLA) we
are submitting preliminary comments on the Natural Resource Conservation Service’s (NRCS)
proposed changes to the wetland conservation provisions at 7 C.F.R. part 12. NRCS proposes to
implement several significant changes to the wetland conservation provisions with an interim
final rule, to be published in August 2018.

The undersigned groups, representing millions of people across the country, are concerned about
procedural and substantive flaws in this proposal, and urge the agency to correct these errors and
offer ample time for public input before proceeding further with this ill-advised rulemaking.
Wetlands are among the most important habitats in the world, and provide an essential ecological
functions and values, including nutrient cycling, water filtration and purification, nutrient sinks,
and water storage. Despite the myriad benefits and significant economic value of wetlands, well
over half of the wetlands that once existed in the coterminous US have been drained or filled for
development or agriculture.

Serious concerns over the continued destruction and degradation of wetland habitat due to
agricultural practices led Congress to take definitive action to protect agricultural wetlands in the
1985 Farm Bill. Congress renewed protections for agricultural wetlands in subsequent Farm Bills
passed in 1990, 1996, 2002, 2008, and 2014, affirming the importance of wetland conservation
to the administration of USDA benefits, and repeatedly expressing Congress’s intent to continue
and improve the conservation program. It is critical to ensure that wetland conservation
compliance remains a strong conservation tool.

Based upon the information provided, we are extremely concerned that NRCS’s proposed action
is contrary to the very purposes of these wetland conservation provisions, and threatens to hasten
the destruction and degradation of agricultural wetlands, particularly seasonal prairie pothole
wetlands. Additionally, the undersigned groups remind NRCS that it must issue an
Environmental Impact Statement pursuant to the National Environmental Policy Act, and
undergo Section 7 consultation pursuant to the Endangered Species Act, prior to issuing any
interim rule in order to comply with federal environmental statutes.
   Case 1:19-cv-02416-TSC         Document 35-1       Filed 06/18/21    Page 209 of 211          001388




Before publishing this rule, we urge NRCS to provide more opportunities for public engagement,
to undergo an EIS and Section 7 consultation, and to ensure that any changes to wetland
compliance do not undermine the program.

Signed,

Jan Goldman-Carter
Senior Director, Wetlands and Water Resources
National Wildlife Federation

Duane Hovorka
Agriculture Program Director
Izaak Walton League of America
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July 27, 2018

Via Certified Mail and Email Delivery

Sonny Perdue, Secretary
U.S. Department of Agriculture
1400 Independence Ave., S.W.
Washington, DC 20250

Leonard Jordan, Acting Chief
Natural Resource Conservation Service, Office of the Chief
1400 Independence Ave., S.W., Room 5105-A
Washington, DC 20250

James E. Tillman, Sr., Acting Associate Chief for Conservation
Natural Resource Conservation Service, Office of the Chief
1400 Independence Ave., S.W., Room 5105-A
Washington, DC 20250

       Re:      Preliminary Comments on Proposed Changes to the Wetland Conservation
                Provisions at 7 C.F.R. part 12

        On behalf of the National Wildlife Federation (“NWF”), I am submitting comments on
the Natural Resource Conservation Service’s (“NRCS”) proposed changes to the wetland
conservation provisions at 7 C.F.R. part 12. NRCS proposes to implement several significant
changes to the wetland conservation provisions with an interim final rule, to be published in
August 2018. NWF was notified of this intent by way of an email inviting its participation in a
stakeholder meeting scheduled to take place only one week after the email was received. The
invitation did not contain any draft language or supporting materials that would have been useful
to developing robust comments and fostering meaningful public participation prior to the
publication of the interim rule. As a result of NRCS’s failure to provide necessary information
about its proposed action, these comments are preliminary, and NWF expects NRCS to comply
with its statutory mandate and the Administrative Procedure Act (“APA”) by providing a full
opportunity for comment.

        With these comments, NWF alerts NRCS to serious procedural and substantive flaws
already apparent in its proposal, in order to provide the agency the opportunity to correct the
errors before it proceeds further with this ill-advised rulemaking. Additionally, NWF reminds
NRCS that it must issue an Environmental Impact Statement (“EIS”) pursuant to the National
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        Moreover, there can be no legitimate dispute that the impacts from NRCS’s proposed
regulation will be “significant” within the meaning of NEPA. In fact, NRCS’ action implicates
numerous “significance” factors that necessitate the preparation of an EIS, including the policy’s
impacts to wetlands and other ecologically significant areas, the uncertainty of the policy’s
effects on the environment, the degree to which the environmental effects are likely to be highly
controversial, the precedential nature of this change in policy, and the policy’s potential impacts
on endangered and threatened species. 40 C.F.R. § 1508.27. Finally, the large-scale draining of
agricultural wetlands will unquestionably result in ecological, aesthetic, cultural, economic, and
social effects on the natural and physical environment. Id. §§ 1508.14, 1508.27. Therefore, under
NEPA, NRCS is required to prepare an EIS to assess the alternatives to, and impacts of, its
proposed changes to the wetlands conservation provisions. Accord Humane Soc’y of the U.S. v.
Johanns, 520 F. Supp. 2d 8 (D.D.C. 2007) (finding that promulgation of interim final rule
governing the administration of a federal program constitutes a major federal action with
reasonably foreseeable significant impacts such that the agency was required to subject its
interim rule to NEPA analysis prior to its promulgation).

       NRCS’ obligation to prepare an EIS is only compounded by the fact that the proposed
changes to the wetland conservation provisions will be published as interim rules that are
immediately effective. The NEPA process represents the only opportunity for the public to
provide meaningful input on the environmental impacts of the proposed changes before they are
implemented. Therefore, to serve NEPA’s goal of ensuring “fully informed and well-considered
decision[s] by federal agencies, ” See Sierra Club v. U.S. Dep’t of Energy, 867 F.3d 189, 196
(D.C. Cir. 2017), NRCS must prepare and issue an EIS prior to any interim rule.

III.     The ESA Requires that NRCS Undergo Section 7 Consultation Prior to
         Promulgating its Proposed Interim Rule.

         Completion of the ESA’s consultation process is vital to compliance with the Act’s
substantive mandates. “Absent consultation with [the FWS], there is no confirmation that [the
agency’s action] would avoid jeopardizing threatened or endangered species or adversely
modifying critical habitat.” Nat’l Parks Conservation Ass’n v. Jewell, 62 F. Supp. 3d 7, 21
(D.D.C. 2014) (citations omitted). NRCS must undertake the legally mandated process for
analyzing and addressing impacts to listed species and their habitat before implementing this
final interim rule that will indisputably harm myriad listed species in various ways.

        Wetlands are crucial habitat for at least one third of all plants and animals listed as
threatened or endangered under the ESA. See, e.g., Nat’l Park Serv., Why Are Wetlands
Important?, https://www.nps.gov/subjects/wetlands/why.htm. Nearly half of all listed species use
wetlands at some point during their lifecycle. See, e.g., Roddy Scheer & Doug Moss, Why Are
Wetlands So Important to Preserve?, Scientific Am., https://www.scientificamerican.
com/article/why-are-wetlands-so-important-to-preserve/. Since the 1700s, more than half of the
221 million acres of wetlands that once existed in the lower forty-eight states have been


A at 4-5. Additionally, NRCS seeks to use a static 30-year precipitation data set precisely
because it will result in fewer protected wetlands subject to the wetland conservation provisions.
See Attach. C at 1.
                                                10
